Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 1 of
                                          155



                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF LOUISIANA

       IN RE:                                                  §    Case No. 20-10846
                                                               §
       THE ROMAN CATHOLIC CHURCH                               §    Section “A”
       OF THE ARCHDIOCESE OF NEW                               §
       ORLEANS,                                                §    Chapter 11
                                                               §
                      Debtor.1                                 §
                                                               §


            SUMMARY COVER SHEET TO EIGHTH INTERIM APPLICATION FOR
          ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
               OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS
         CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
             FOR THE PERIOD NOVEMBER 1, 2022 THROUGH FEBRUARY 28, 2023

       Name of Applicant:                                                       Pachulski Stang Ziehl & Jones LLP

                                                                                Co-Counsel to the Official Committee of
       Applicant’s Professional Role in Case
                                                                                Unsecured Creditors

                                                                                Effective May 22, 2020 pursuant to Order
       Date Order of Employment Signed
                                                                                dated July 17, 2020 [Docket No. 257]

                                                                                Beginning of
                                                                                                         End of Period
                                                                                  Period

       Time period covered by this Application (the “Application
                                                                                11/01/2022         02/28/2023
       Period”):

                                                                                05/22/2020         09/30/2020
                                                                                10/01/2020         03/31/2021
                                                                                04/01/2021         08/31/2021
       Time period(s) covered by prior Applications:
                                                                                09/01/2021         10/31/2021
                                                                                11/01/2021         02/28/2022
                                                                                03/01/2022         06/30/2022
                                                                                07/01/2022         10/31/2022
                                                                                                   $3,370,200.50 (fees)
                                                                                                      $99,735.40 (expenses)
       Total amounts awarded in all prior Applications:
                                                                                                   Total Awarded:
                                                                                                   $3,469,935.90



   1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of business
   is located at 7887 Walmsley Ave., New Orleans, LA 70125.



   DOCS_LA:348064.4 05067/002
      Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 2 of
                                                155



             Total professional fees requested in this Application:                                                   $384,902.502

             Total professional hours covered by this Application:                                                           555.10

             Reimbursable expenses sought in this Application:                                                          $18,259.44


                     PSZJ professionals who rendered services for the Official Committee of Unsecured Creditors

           (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and debtor-in-

           possession (the “Debtor”) during this Application Period are listed below.

             SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS
                        NOVEMBER 1, 2022 THROUGH FEBRUARY 28, 2023

                                                                                                  TOTAL
      NAME OF                            YEAR OF              YEAR OF              HOURLY                         TOTAL
                            TITLE                                                                 HOURS
    PROFESSIONAL                        ADMISSION           PARTNERSHIP             RATE                       COMPENSATION
                                                                                                  BILLED
                          Founding      Member of CA
    James I. Stang                                                 1983             $800.00           54.50               $43,600.00
                          Partner       Bar since 1980

                          Founding      Member of CA
    James I. Stang                                                 1983             $700.00           30.90               $21,630.00
                          Partner       Bar since 1980

                          Founding      Member of CA
    James I. Stang                                                 1983             $400.003          14.00                $5,600.00
                          Partner       Bar since 1980

    Kenneth H. Brown        Partner     Member of CA               2001             $800.00             2.80               $2,240.00
                                        Bar since 1981

    Kenneth H. Brown        Partner     Member of CA               2001             $700.00             9.10               $6,370.00
                                        Bar since 1981
                                        Member of CA
    Andrew W. Caine       Partner                               1989/2013           $800.00           83.10               $66,480.00
                                        Bar since 1983

                                        Member of CA
    Andrew W. Caine       Partner                               1989/2013           $700.00          105.40               $73,780.00
                                        Bar since 1983



2
  The Firm’s reduction in its standard rates resulted in a $293,924.00 reduction in its fees. Further, the Firm took additional
  voluntary reductions that totaled $7,770.00, for a total of $301,694.00 in voluntary reductions taken by the Firm. The
  $384,902.50 requested in actual fees is inclusive of an additional $26,023.00 requested for January and February 2023, sought in
  accordance with the Court’s Order entered on March 23, 2023 [Dkt. No. 279] (the “PSZJ Rate Increase Order”), which allows for
  an increase in the capped, blended attorney hourly rate from $700 to $800, effective as of January 1, 2023.
3
  This rate represents a 50% reduction for travel time.




                                                                   2
           DOCS_LA:348064.4 05067/002
      Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 3 of
                                                155



                                                                                   TOTAL
  NAME OF                                YEAR OF            YEAR OF     HOURLY                  TOTAL
                            TITLE                                                  HOURS
PROFESSIONAL                            ADMISSION         PARTNERSHIP    RATE                COMPENSATION
                                                                                   BILLED
                                        Member of CA
Andrew W. Caine           Partner                           1989/2013   $400.004     17.00         $6,800.00
                                        Bar since 1983

                                        Member of CA
                                        Bar since 1991;
Linda F. Cantor           Partner                             1994      $800.00       1.30         $1,040.00
                                        Member of IL
                                        Bar since 1988

                                        Member of CA
                                        Bar since 1991;
Linda F. Cantor           Partner                             1994      $700.00       1.30          $910.00
                                        Member of IL
                                        Bar since 1988

                                        Member of NY
                                        Bar since 1983;
Iain A. W. Nasatir        Partner                             1999      $800.00      68.00        $54,400.00
                                        Member of CA
                                        Bar since 1990

                                        Member of NY
                                        Bar since 1983;
Iain A. W. Nasatir        Partner                             1999      $700.00      14.90        $10,430.00
                                        Member of CA
                                        Bar since 1990

                                        Member of CA
                                        Bar since 1995;
Joshua M. Fried           Partner                             2006      $800.00       3.70         $2,960.00
                                        Member of NY
                                        Bar since 1999

                                        Member of CA
                                        Bar since 1995;
Joshua M. Fried           Partner                             2006      $700.00       9.70         $6,790.00
                                        Member of NY
                                        Bar since 1999

                                        Member of NY
Ilan D. Scharf            Partner                             2010      $800.00       3.20         $2,560.00
                                        Bar since 2002

                                        Member of TX
                          Of
Judith Elkin                            Bar since 1982;       N/A       $700.00      37.80        $26,460.00
                          Counsel
                                        Member of NY
                                        Bar since 2004
                                        Member of CA
                          Of            Bar since 1999;
Gillian N. Brown                                              N/A       $800.00       4.00         $3,200.00
                          Counsel         Member of
                                         Washington
                                        D.C. Bar since

4
    See Footnote 3.


                                                              3
           DOCS_LA:348064.4 05067/002
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 4 of
                                            155



                                                                               TOTAL
  NAME OF                             YEAR OF            YEAR OF     HOURLY                 TOTAL
                         TITLE                                                 HOURS
PROFESSIONAL                         ADMISSION         PARTNERSHIP    RATE               COMPENSATION
                                                                               BILLED
                                      2008; Member
                                     of NY Bar since
                                          2010

                                     Member of CA
                                     Bar since 1999;
                                        Member of
                       Of              Washington
Gillian N. Brown                                           N/A       $700.00     10.10         $7,070.00
                       Counsel        D.C. Bar since
                                      2008; Member
                                     of NY Bar since
                                          2010

                       Of            Member of FL
Cia H. Mackle                                              N/A       $800.00      2.40         $1,920.00
                       Counsel       Bar since 2006

                       Of            Member of FL
Cia H. Mackle                                              N/A       $700.00      2.60         $1,820.00
                       Counsel       Bar since 2006

Beth D. Dassa          Paralegal          N/A              N/A       $545.00     23.30        $12,698.50

Beth D. Dassa          Paralegal          N/A              N/A       $460.00      33.3        $15,318.00

Mike Matteo            Paralegal          N/A              N/A       $495.00     11.20         $5.544.00

Mike Matteo            Paralegal          N/A              N/A       $460.00     10.70         $4,922.00

                       Law
Leslie A. Forrester    Library            N/A              N/A       $450.00      0.80          $360.00
                       Director

Total                                                                           555.10       $384,902.50




                                                          4
        DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 5 of
                                          155



                                COMPENSATION BY CATEGORY
                           NOVEMBER 1, 2022 THROUGH FEBRUARY 28, 2023


       Code                            Description        Hours          Amount

        AA            Asset Analysis                          1.80            $1,440.00

        AD            Asset Disposition                      21.30           $14,980.00

        BL            Bankruptcy Litigation                 154.30           111,574.50

        CA            Case Administration                    24.90           $12,688.00

        CO            Claims Administration/Objection         9.10            $6,510.00

        FE            Fee and Employment Applications        85.50           $51,449.00

        GC            General Creditors Comm.                34.00           $25,930.00

         IC           Insurance Coverage                     14.00            $8,599.00

        ME            Mediation                             168.90          $131,780.00

        PD            Plan & Disclosure Statement             6.50            $5,060.00

       RPO            Retention of Professionals/Other        3.80            $2,492.00

        TR            Travel                                 31.00           $12,400.00

                      TOTAL                                 555.10          $384,902.50




                                                     5
   DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 6 of
                                          155



             The total amount of expenses by expense type for PSZJ during the Application Period is

   listed below.

                                   EXPENSES BY CATEGORY
                           NOVEMBER 1, 2022 THROUGH FEBRUARY 28, 2023


                                Expense Category                                        Amount

  Air Fare                                                                                    $2,690.29

  Auto Travel Expense                                                                            $65.28

  Bloomberg                                                                                      $10.00

  Business Meals                                                                                 $95.58

  Conference Call                                                                                 $7.27

  Federal Express                                                                               $103.81

  Hotel Expense                                                                                 $946.74

  Lexis/Nexis – Court Research                                                                  $212.68

  Outside Services                                                                            $5,104.00

  Pacer – Court Research                                                                        $165.90

  Postage                                                                                       $171.64

  Reproduction Expense                                                                        $1,727.20

  Reproduction/Scan Copy                                                                      $2,634.10

  Research                                                                                    $4,011.95

  Travel Expense                                                                                $313.00

  TOTAL                                                                                      $18,259.44




                                                    6
   DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 7 of
                                          155



                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF LOUISIANA


       IN RE:                                                  §    Case No. 20-10846
                                                               §
       THE ROMAN CATHOLIC CHURCH                               §    Section “A”
       OF THE ARCHDIOCESE OF NEW                               §
       ORLEANS                                                 §    Chapter 11
                                                               §
                      Debtor.1                                 §
                                                               §


                         EIGHTH INTERIM APPLICATION FOR
          ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
               OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS
         CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
             FOR THE PERIOD NOVEMBER 1, 2022 THROUGH FEBRUARY 28, 2023


            A HEARING WILL BE CONDUCTED ON THIS MATTER ON APRIL 18, 2023,
            AT 1:30 P.M. (CDT) IN COURTROOM B-709, 500 POYDRAS STREET, NEW
            ORLEANS, LA 70130, OR BY TELEPHONE THROUGH THE DIAL-IN FOR
            SECTION A: 1-504-517-1385; CONFERENCE CODE 129611. IF YOU OBJECT
            TO THE RELIEF REQUESTED IN THIS PLEADING, YOU MUST RESPOND
            IN WRITING. UNLESS DIRECTED OTHERWISE BY THE COURT, YOU
            MUST FILE YOUR RESPONSE WITH THE CLERK OF THE BANKRUPTCY
            COURT NO LATER THAN SEVEN (7) DAYS BEFORE THE HEARING
            DATE. YOU MUST SERVE A COPY OF YOUR RESPONSE ON THE PERSON
            WHO SENT YOU THE NOTICE; OTHERWISE, THE COURT MAY TREAT
            THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.


            Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), co-counsel for the Official

   Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic Church of the

   Archdiocese of New Orleans (the “Debtor”), hereby submits its Eighth Interim Application for

   Allowance and Payment of Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl

   & Jones LLP, as Co-Counsel for the Official Committee of Unsecured Creditors for the Period


   1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of business
   is located at 7887 Walmsley Ave., New Orleans, LA 70125.


                                                             7
   DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 8 of
                                          155



   November 1, 2022 - Through February 28, 2023 (the “Application”). In support of the Application,

   PSZJ respectfully represents as follows:

                                             I.        INTRODUCTION

          In this Application, the Firm seeks interim allowance and payment, to the extent unpaid, of the

   amounts set forth below for work performed from November 1, 2022 through February 28, 2023 (the

   “Application Period”).

                                                                               FEES
                                                                                                       80% FEES;
                                                  REQUESTED                 (AFTER ALL
                                                                                                    100% EXPENSES
                                                                           REDUCTIONS)
                                         (Reductions
                           Fees (at                        (Further
           Period                           from                                                                   100%
                          Standard                        Voluntary              Fees            80% Fees
          Covered                         Standard                                                                Expenses
                           Rates)                         Reductions)
                                           Rates)
        11/1/2022 –
                        $149,708.50      $64,394.50      $1,260.00        $84,054.00           $67,243.20       $2,671.92
        11/30/2022
        12/1/2022 –
                        $165,611.00      $71,775.00      $2,030.00        $91,806.00           $73,444.80       $4,938.48
        12/31/2022
         1/1/2023 –
                        $115,474.50      $44,860.50      $1,400.00        $69,214.002          $55,371.20       $5,315.203
         1/31/2023
         2/1/2023 –
         2/28/2023
        (deadline to    $255,802.50      $112,894.00     $3,080.00        $139,828.50          $111,862.80      $5,333.84
       object has not
         yet passed)
       TOTAL            $686,596.50      $293,924.00     $7,770.00        $384,902.50          $307,922.00      $18,259.44
       Amount Paid
       Pursuant To
       Monthly Fee
       Statements:
       $148,298.40

       Amount
       Unpaid And
       Owing:
       $254,863.54




   2
     In its January Monthly Fee Statement (defined below), the Firm requested $60,462.00 in fees. Based on the Court’s
   Order entered on March 23, 2023 [Dkt. No. 279] (the “PSZJ Rate Increase Order”), which allows for an increase in the
   capped, blended attorney hourly rate from $700 to $800, effective as of January 1, 2023, the Firm is seeking $69,214.00
   in fees, i.e., an additional $8,752.00, in connection with its January Monthly Fee Statement.
   3
     In its January Monthly Fee Statement, the Firm requested $2,234.91 in expenses. When the January invoice was re-
   calculated to include the amounts authorized by the PSZJ Rate Increase Order, $3,080.29 in additional expenses
   incurred during the month of January were noted, thereby increasing the January expenses from $2,234.91 to $5,315.20
   (i.e., an additional $3,080.29 in expenses).

                                                            8
   DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 9 of
                                          155


                                  II.      JURISDICTION AND VENUE

              1.    The Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157

   and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

              2.    Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

              3.    The bases for the relief requested herein are sections 330 and 331 of title 11 of the

   United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rules 2014 and 2016 of the

   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 2014-1 and 2016-1 of the

   Bankruptcy Local Rules for the Eastern District of Louisiana (the “Local Bankruptcy Rules”),

   Section XIII(B) of the Court’s December 4, 2019 General Order Regarding Procedures of Complex

   Chapter 11 Cases, and the United States Trustee Guidelines for Reviewing Applications for

   Compensation and Reimbursement of Expenses by Attorneys in Larger Chapter 11 Cases (the “UST

   Guidelines”).

                                         III.      BACKGROUND

   A.         Introduction

              4.    On May 1, 2020, the Roman Catholic Church of the Archdiocese of New Orleans (the

   “Debtor”) filed a voluntary petition for relief under the Bankruptcy Code.

              5.    The Debtor remains in possession of its property and is managing its business as a

   debtor in possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code, 11 U.S.C. § 101,

   et. seq.

              6.    On May 20, 2020, the Office of the United States Trustee for Region 5 appointed the

   Committee pursuant to section 1102(a)(1) of the Bankruptcy Code [Docket No. 94], which was

   reconstituted on June 10, 2020 [Docket No. No. 151], and on October 8, 2020, to remove TMI Trust

   Company, Inc., in its capacity as indenture trustee for certain bonds [Docket No. 478]. The




                                                      9
   DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 10
                                        of 155



  Committee was and further reconstituted on June 21, 2022 [Docket No. 1618], and on February 13,

  2023 [Docket No. 2081].4

          7.       On May 22, 2020, the Committee conducted its first meeting and at that meeting

  unanimously selected PSZJ and Locke Lord LLP to serve as its co-counsel.

  B.      Employment of the PSZJ

          8.       On June 22, 2020, the Committee filed an application to employ the Firm as

  co-counsel to the Committee [Docket No. 181] (the “Retention Application”). As more fully

  described in the Retention Application, the Committee retained the Firm to render legal services to

  the Committee in this chapter 11 case (the “Bankruptcy Case”).

          9.       On July 17, 2020, this Court entered an order authorizing the employment of the Firm

  as co-counsel to the Committee [Docket No. 257] (the “Retention Order”).

                     IV.       WORK PERFORMED AND RESULTS OBTAINED
                                EXTRAORDINARY CIRCUMSTANCES

          10.      The Firm provided, and continues to provide, extensive legal services to the

  Committee in this Bankruptcy Case. The Firm has attached to this Application (1) a copy of the

  Firm’s November invoice setting forth the time-keeping entries generated by those Firm personnel

  who worked on this matter during the period commencing on November 1, 2022 through November

  30, 2022; (2) a copy of the Firm’s December invoice setting forth the time-keeping entries generated

  by those Firm personnel who worked on this matter during the period commencing on December 1,

  2022 through December 31, 2022; (3) a copy of the Firm’s January monthly invoice setting forth the

  time-keeping entries generated by those Firm personnel who worked on this matter during the period

  commencing on January 1, 2023 through January 31, 2023; and (4) a copy of the Firm’s February

  monthly invoice setting forth the time-keeping entries generated by those Firm personnel who


  4
   A separate official committee of unsecured commercial creditors was appointed by the US Trustee on March 5, 2021.
  [Docket Nos. 772 and 792].

                                                        10
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 11
                                        of 155



  worked on this matter during the period commencing on February 1, 2023 through February 28,

  2023. The Committee and its counsel have undertaken strenuous efforts to move this case forward

  towards a resolution of creditor claims, to achieve the goal of the most favorable resolution to

  unsecured creditors possible. The actions undertaken during the Application Period include the

  following:

                   a.          Action to Move Forward Resolution of Claims, 2004 Motion and
                               Document Requests, and Plan Negotiations

          11.      The Committee recognizes that the most likely outcome and resolution of claims in

  this case will come through a plan of reorganization. To that end, the Committee has worked to

  move this process forward, including a comprehensive investigation and analysis of the Debtor’s

  assets, financial circumstances and structure, information regarding underlying claims filed against

  the Debtor, the Debtor’s child protection policies and practices, and the reachable assets of the

  Debtor’s affiliates that may seek a consensual release, all of which are necessary to inform

  negotiations and mediation concerning potential resolution of claims.

          12.      The Committee, together with its counsel, has undertaken significant work in this

  regard, including without limitation during the Application Period:

                              Investigation, including through analysis of information and documents
                               provided and to be provided by the Debtor. During the Application Period,
                               the Committee continued to pursue its motion to compel production of the
                               documents pursuant to Bankruptcy Rule 2004, including efforts to negotiate
                               with and press the Debtor for documents, and hearings on the motion to
                               compel. The Committee also continued to pursue documents from and
                               negotiate with counsel regarding its information requests to the more than 180
                               affiliates of the Debtor, including through the drafting and prosecution of a
                               formal request under Bankruptcy Rule 2004. The Committee also continued
                               its discussions with the Debtor and experts regarding the valuation of the
                               Debtor’s extensive property holdings.

                              Analysis and review of non-abuse and abuse claims.

                              Analysis of the Debtor’s assets, including real and personal property and
                               affirmative claims and tolling issues related thereto


                                                        11
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 12
                                        of 155



                              Analysis of potential claims against the Debtor relating to pension obligations

                              Analysis and review of documents relating to the Debtor’s child protection
                               policies and practices

                              Work with the Committee and its financial advisors and with the court-
                               appointed mediator to prepare for further mediation

                              Review and investigation of potential plan structuring and terms including
                               financial and non-monetary terms

        V.         NATURE AND EXTENT OF LEGAL SERVICES PROVIDED

          13.      On December 22, 2022, PSZJ submitted its November fee statement (the “November

  Monthly Fee Statement”) covering the period November 1, 2022 through November 30, 2022. PSZJ

  incurred fees at its standard rates of $149,708.50. After the reduction due to reduced rates of

  $64,394.50 and additional fee write-offs of $1,260.00, PSZJ’s total fees for the November Monthly

  Fee Statement are in the amount of $84,054.00. Thus, in its November Monthly Fee Statement,

  PSZJ requested an interim allowance of reduced fees in the amount of $84,054.00 and further

  requested payment of 80% of such reduced fees in the amount of $67,243.20 and 100% of expenses

  in the amount of $2,671.92 for a total amount of $69,915.12. Attached hereto as Exhibit A is a true

  and correct copy of the November Monthly Fee Statement.

          14.      On January 27, 2023, PSZJ submitted its December fee statement (the “December

  Monthly Fee Statement”) covering the period December 1, 2022 through December 31, 2022. PSZJ

  incurred fees at its standard rates of $165,611.00. After the reduction due to reduced rates of

  $71,775.00 and additional fee write-offs of $2,030.00, PSZJ’s total fees for the December Monthly

  Fee Statement are in the amount of $91,806.00. Thus, in its December Monthly Fee Statement,

  PSZJ requested an interim allowance of reduced fees in the amount of $91,806.00 and further

  requested payment of 80% of such reduced fees in the amount of $73,444.80 and 100% of expenses

  in the amount of $4,938.48 for a total amount of $78,383.28. Attached hereto as Exhibit B is a true

  and correct copy of the December Monthly Fee Statement.

                                                        12
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 13
                                        of 155



           15.      On February 28, 2023, PSZJ submitted its January fee statement (the “January

  Monthly Fee Statement”) covering the period January 1, 2023 through January 31, 20235. PSZJ

  incurred fees at its standard rates of $115,474.50. After the reduction due to reduced rates of

  $53,612.50 and additional fee write-offs of $1,400.00, PSZJ’s total fees for the January Monthly Fee

  Statement are in the amount of $60,462.00. Thus, in its January Monthly Fee Statement, PSZJ

  requested an interim allowance of reduced fees in the amount of $60,462.00 and further requested

  payment of 80% of such reduced fees in the amount of $48,369.60 and 100% of expenses in the

  amount of $2,234.91 for a total amount of $50,604.51. Attached hereto as Exhibit C is a true and

  correct copy of the January Monthly Fee Statement.

           16.      On March 28, 2023, PSZJ submitted its February fee statement (the “February

  Monthly Fee Statement”) covering the period February 1, 2023 through February 28, 2023. PSZJ

  incurred fees at its standard rates of $255,802.50. After the reduction due to reduced rates of

  $112,894.00 and additional fee write-offs of $3,080.00, PSZJ’s total fees for the February Monthly

  Fee Statement are in the amount of $139,828.50. Thus, in its February Monthly Fee Statement,

  PSZJ requested an interim allowance of reduced fees in the amount of $139,828.50 and further

  requested payment of 80% of such reduced fees in the amount of $111,862.80 and 100% of expenses

  in the amount of $5,333.84 for a total amount of $117,196.64. Attached hereto as Exhibit D is a

  true and correct copy of the February Monthly Fee Statement.

           17.      PSZJ seeks interim allowance of fees for professional services rendered during the

  Application Period in the amount of $384,902.50 and reimbursement of actual and necessary



  5
    As stated in Footnotes 2 and 3 above, the Firm, in its January Monthly Fee Statement, requested $60,462.00 in fees.
  Based on the Court’s PSZJ Rate Increase Order, which allows for an increase in the capped, blended attorney hourly rate
  from $700 to $800, effective as of January 1, 2023, the Firm is seeking $69,214.00 in fees, i.e., an additional $8,752.00,
  in connection with its previously submitted January Monthly Fee Statement. The January Monthly Fee Statement also
  requested $2,234.91 in expenses. Upon re-running its January invoice to reflect the PSZJ Rate Increase Order, an
  additional $3,080.29 in expenses incurred during January was found, thereby increasing the January expenses from
  $2,234.91 to $5,315.20 (i.e., an additional $3,080.29 in expenses).

                                                           13
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 14
                                        of 155



  expenses incurred during the Application Period in the amount of $18,259.44 for a total allowance of

  $403,161.94, and requests payment of such fees and costs to the extent unpaid. During the

  Application Period, PSZJ’s attorneys and paraprofessionals expended a total of 555.10 hours for

  which compensation is requested.

          18.      The fees charged by PSZJ in these cases are billed in accordance with its billing rates

  and procedures set forth in the Retention Application and the PSZJ Rate Increase Order.

          19.      The standard hourly rates for the PSZJ attorneys working on this matter range from

  $1,125 to $1,695 per hour for partners, and $875 to $975 per hour for of counsel. The standard

  hourly rate for paraprofessionals working on this matter ranges from $460 to $545 per hour. Such

  fees are reasonable based on the customary compensation charged by comparably skilled

  practitioners in comparable non-bankruptcy cases in a competitive national legal market. However,

  as noted above, the Firm agreed to a maximum hourly rate of $700 per attorney in this case through

  December 31, 2022, and a maximum hourly rate of $800 per attorney in this case, effective as of

  January 1, 2023 pursuant to the PSZJ Rate Increase Order.

          20.      Pursuant to the UST Guidelines, attached hereto as Exhibit E is a summary setting

  forth all professionals and paraprofessionals employed by PSZJ who have performed services in this

  Chapter 11 Case during the Application Period, the capacities in which each such individual is

  employed by PSZJ, the hourly billing rate charged by PSZJ for services performed by such

  individual, and the aggregate number of hours expended and fees billed.

           VI.        SUMMARY OF LEGAL SERVICES RENDERED BY CATEGORY

          21.      The services rendered by PSZJ during the Application Period can be grouped into the

  categories set forth below. PSZJ attempted to place the services provided in the category that best

  relates to such services. However, because certain services may relate to one or more categories,

  services pertaining to one category may in fact be included in another category. These services


                                                    14
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 15
                                        of 155



  performed, by categories, are generally described below; with a more detailed identification of the

  actual services provided set forth on the attached Invoices, which identify the attorneys and

  paraprofessionals who rendered services relating to each category, along with the number of hours

  for each individual and the total compensation sought for each category.

  A.      Asset Analysis

          22.      Time billed to this category included, among other things: (1) conferring with co-

  counsel and BRG regarding deferred maintenance due diligence; (2) conferring with M. Babcock,

  M. Dundon and B. Knapp regarding scheduling of site visits; (3) conferring with Debtor’s counsel

  and co-counsel regarding loan and other asset issues; and (4) conferring with co-counsel and

  Debtor’s counsel regarding NDHS/SAG sale, and emailing with BRG regarding additional asset

  investigation.

          23.      The Firm expended 1.80 hours of professional time on services in this category. The

  Firm’s professional fees in this category totals $1,440.00.

  B.      Asset Disposition

          24.      Time billed to this category related to efforts by the Debtor and affiliates to dispose of

  or otherwise alienate various assets, including real property and funds held in joint accounts.

          25.      The Firm expended 21.30 hours of professional time on services in this category. The

  Firm’s professional fees in this category totals $14,980.00.

  C.      Bankruptcy Litigation

          Time billed to this category related to work regarding motions, adversary proceedings and

  discovery in various matters in the Bankruptcy Court. During the Application Period, the Firm,

  among other things: (1) continued to pursue its motion to compel production of the documents in the

  Rule 2004 Motion, including efforts to negotiate with and obtain documents from the Debtor, and

  hearings on the motion to compel, and reviewing documents produced by the Debtor; (2) pursued


                                                    15
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 16
                                        of 155



  and negotiated with counsel regarding its document and information requests to more than 180 of the

  Debtor’s affiliates; (3) reviewed documents produced by the Debtors and updated privilege logs and

  documents produced by affiliates; (4) worked with BRG, Claro and Rock Creek to gather documents

  and information necessary for their analyses; (5) addressed a motion to reconsider the Court’s ruling

  on the Committee’s motion to end retirement benefits to credibly accused clergy; and (6) researched

  and drafted pleadings related to the Committee’s declaratory relief action regarding financial assets,

  including motions to dismiss and briefs filed by various parties, and preparation for the motion to

  dismiss hearing and following order.

          26.      The Firm expended 154.30 hours of professional time on services in this category.

  The Firm’s professional fees in this category total $111,574.50.

  D.      Case Administration

          27.      This category includes work related to administering the cases in an efficient manner.

  During the Application Period, the Firm, among other things: (1) updated critical dates and deadline

  memorandum; (2) attended to calendaring matters; (3) conferred regarding motion to increase rates;

  (4) conferred with Debtor’s counsel and co-counsel regarding case issues; and (5) conferred with

  BRG and CIR regarding monthly operating reports

          28.      The Firm expended 24.90 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $12,688.00.

  E.      Claims Administration/Objection

          Time spent in this category during the Application Period included reviewing and

  considering (1) various motions to file late claims, (2) a claim supplement proposed by certain

  counsel and (3) briefs regarding prescription (as well as research into the issues and pending

  proceedings).




                                                   16
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 17
                                        of 155



          The Firm expended 9.10 hours of professional time on services in this category. The Firm’s

  professional fees in this category total $6,510.00.

  F.      Fee Applications

          29.      This category includes work related to professional fee and retention application

  issues. During the Application Period, the Firm, among other things: (1) prepared a rate increase

  motion, reviewed objection regarding the same, and prepared for and attended hearing regarding the

  same; (2) prepared PSZJ’s October, November, December, and January fee statements; (3) prepared

  PSZJ 7th quarterly fee application; (4) reviewed and revised Rock Creek, Stout and BRG’s quarterly

  fee applications and monthly fee statements for October, November, December, and January, and

  conferred with Committee professionals regarding the same; (5) reviewed and revised letter re

  Debtor’s counsel’s fee application issues, and conferred with co-counsel regarding the same; (6)

  reviewed fee orders; (7) reviewed outstanding payments due under previously filed monthly fee

  statements/fee applications and conferred with Committee professionals regarding the same; and (8)

  prepared a supplemental disclosure and declaration for BRG’s independent contractor retention.

          30.      The Firm expended 85.50 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $51,449.00.

  G.      General Creditors Committee

          31.      This category includes work related to general Committee issues, including

  Committee meetings and calls with state court counsel on a variety of case issues. During the

  Application Period, the Firm, among other things: (1) attended weekly Committee calls; (2)

  conferred with the Committee regarding various issues, including professional reports/use; (3)

  conferred with co-counsel regarding Committee meetings and agendas; (4) reviewed court order

  regarding sharing information with trade committee; (4) reviewed report on hearing re motion for

  reconsideration; (5) conferred with Debtor’s counsel regarding case status and mediation; (6)


                                                   17
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 18
                                        of 155



  conferred with co-counsel regarding response to mediation letters from debtor and letter regarding

  claim amendment; (7) attended Committee meeting regarding Archdiocese counteroffer; (8) read

  materials in preparation for Committee meeting; (9) conferred with BRG in preparation for

  Committee meeting; (10) conferred with Committee regarding financial report; (11) reviewed

  reports and conferred with Committee and its professionals regarding case options; (12) conferred

  with co-counsel, the U.S. Trustee and the Committee and its counsel regarding Committee

  composition; (13) toured excess property sites/capital expenditure sites with BRG; and (14)

  conferred with co-counsel regarding school loan/mediation review.

          32.      The Firm expended 34.00 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $25,930.00.

  H.      Insurance Coverage

          33.      This category includes work related to insurance issues. Time spent in this category

  during the Application Period included: (1) reviewing coverage analysis in advance of mediation; (2)

  conferring with co-counsel and Claro regarding insurance allocation ahead of mediation; (3) and

  reviewing produced documents relating to insurance coverage;

          34.      The Firm expended 14.00 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $8,599.00.

  I.      Mediation

          35.      This category includes work related to preparing for and attending to mediation issues

  and sessions. During the Application Period, the Firm: (1) conferred with Committee professionals

  regarding information for mediation preparation; (2) conferred with the Committee and state court

  counsel regarding mediation preparation as to various issues, including monetary and non-monetary

  matters; and (3) communicated with the mediator and counsel for various parties regarding

  mediation, demands, additional information and documents, and moving forward.


                                                   18
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 19
                                        of 155



          36.      The Firm expended 168.90 hours of professional time on services in this category.

  The Firm’s professional fees in this category total $131,780.00.

  J.      Plan and Disclosure Statement

          37.      During the Application Period, the Firm addressed several issues relating to a

  potential plan and disclosure statement, including the following: (1) reviewing/revising a letter to

  Judge Zive in connection with mediation; (2) calling unrepresented survivors regarding plan issues;

  (3) worked on issues regarding religious liberty; (3) researching Louisiana Constitution issues; (4)

  researching prescription and claim valuation; (5) conferring regarding exposure of directors and

  officers; (6) working on issues regarding excess policies; (6) conferring with expert regarding

  settlement list; (7) conferring regarding research concerning abuse exclusion; and (8) conferring

  regarding various plan issues.

          38.      The Firm expended 6.50 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $5,060.00.

  K.            Retention of Professionals/Other

          39.      This category related to Stout’s acquisition of The Claro Group. Time spent in this

  category was minimal and included (1) preparing a supplemental declaration of Katie McNally

  regarding Stout’s acquisition of The Claro Group, and conferring with Katie McNally regarding the

  same; (2) compiling a supplemental conflicts check for Stout; (3) conferring with B. Knapp

  regarding additional conflicts check; and (4) reviewing notices of appointment of creditors’

  committee.

          40.      The Firm expended 3.80 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $2,492.00.




                                                   19
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 20
                                        of 155



  L.         Travel

          41.       This category included travel to and from New Orleans for mediation. Travel is

  billed at half of the reduced billing rates.

          42.       The Firm expended 31.00 hours of professional time on services in this category. The

  Firm’s professional fees in this category total $12,400.00.

             VII.       ACTUAL AND NECESSARY EXPENSES INCURRED BY PSZJ

          43.       As summarized below, PSZJ has incurred a total of $18,259.44 in expenses on behalf

  of the Committee during the Application Period. PSZJ customarily charges $0.10 per page for

  photocopying expenses. PSZJ’s photocopying machines automatically record the number of copies

  made when the person that is doing the copying enters the client’s account number into a device

  attached to the photocopier. PSZJ summarizes each client’s photocopying charges on a daily basis.

          44.       PSZJ charges $1.00 per page for out-going facsimile transmissions. There is no

  additional charge for long distance telephone calls on faxes. The charge for outgoing facsimile

  transmissions reflects PSZJ’s calculation of the actual costs incurred by PSZJ for the machines,

  supplies and extra labor expenses associated with sending telecopies and is reasonable in relation to

  the amount charged by outside vendors who provide similar services. PSZJ does not charge the

  Committee for the receipt of faxes in this case.

          45.       With respect to providers of on-line legal research services (e.g., LEXIS and

  Westlaw), PSZJ charges the standard usage rates these providers charge for computerized legal

  research. PSZJ bills its clients the actual amounts charged by such services, with no premium. Any

  volume discount received by PSZJ is passed on to the client.

          46.       PSZJ believes that the foregoing rates are the market rates that the majority of law

  firms charge clients for such services. In addition, PSZJ believes that such charges are in accordance




                                                     20
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 21
                                        of 155



  with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s Statement of

  Principles, dated January 12, 1995, regarding billing for disbursements and other charges.

          47.      The Firm’s specific expenses are outlined below:

                                Expense Category                                      Amount

   Air Fare                                                                                $2,690.29

   Auto Travel Expense                                                                          $65.28

   Bloomberg                                                                                    $10.00

   Business Meals                                                                               $95.58

   Conference Call                                                                               $7.27

   Federal Express                                                                             $103.81

   Hotel Expense                                                                               $946.74

   Lexis/Nexis – Court Research                                                                $212.68

   Outside Services                                                                        $5,104.00

   Pacer – Court Research                                                                      $165.90

   Postage                                                                                     $171.64

   Reproduction Expense                                                                    $1,727.20

   Reproduction/Scan Copy                                                                  $2,634.10

   Research                                                                                $4,011.95

   Travel Expense                                                                              $313.00

   TOTAL                                                                                  $18,259.44



          48.      The Firm requests that the Court grant it reimbursement for $18,259.44 in

  reimbursable expenses it incurred on the Committee’s behalf during the Application Period.




                                                   21
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 22
                                        of 155


                                  VIII.      VOLUNTARY REDUCTIONS

          49.         The Firm’s reduction in its standard rates resulted in a $293,924.00 reduction in its

  fees. Further, the Firm took additional voluntary reductions that totaled $7,770.00, for a total of

  $301,694.00 in voluntary reductions taken by the Firm. The Firm believes that these reductions are

  appropriate and reasonable under the circumstances of this case.

                IX.        STATEMENT IN COMPLIANCE WITH RULE 2016 OF THE
                           FEDERAL RULES OF BANKRUPTCY PROCEDURE

          50.         As more fully described in the Retention Application, the Committee agreed to retain

  the Firm as their counsel and to compensate the Firm on an hourly basis in accordance with the

  Firm’s retention application, plus reimbursement of the actual and necessary expenses that the Firm

  incurred in connection with the Bankruptcy Case. All compensation for services rendered, and

  reimbursement for expenses incurred, are subject to this Court’s approval in accordance with the

  Retention Order, Bankruptcy Code §§ 330 and 331, the Bankruptcy Rules, the Local Bankruptcy

  Rules, and other procedures that this Court may fix. No entity has promised to compensate the Firm

  for any services rendered, or reimburse it for expenses incurred, in connection with this case except

  as this Court may approve.

          51.         No agreement or understanding exists between the Firm and any other entity for the

  sharing of any compensation or reimbursement (i) that the Firm may receive for services rendered in,

  or in connection with, this Bankruptcy Case or (ii) that such other entity has already received or may

  receive for services that entity rendered in, or in connection with this Bankruptcy Case, except that

  the Firm will share any compensation or reimbursement it receives in connection with this

  Bankruptcy Case with its members, partners, associates, and other Firm employees (as originally

  disclosed in the Retention Application).




                                                       22
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 23
                                        of 155


             X.          THE REQUESTED COMPENSATION SHOULD BE ALLOWED

          52.      Section 330 provides that a court may award a professional employed under 11 U.S.C

  § 328 “reasonable compensation for actual, necessary services rendered . . . and reimbursement for

  actual, necessary expenses.” See 11 U.S.C. Section 330(a)(1). Section 330 also sets forth the

  criteria for the award of such compensation and reimbursement:

          In determining the amount of reasonable compensation to be awarded . . . , the court
          should consider the nature, the extent, and the value of such services, taking into
          account all relevant factors, including—

                   (A)         the time spent on such services;

                   (B)         the rates charged for such services;

                   (C)         whether the services were necessary to the administration of, or beneficial at
                               the time at which the service was rendered toward the completion of, a case
                               under this title;

                   (D)         whether the services were performed within a reasonable amount of time
                               commensurate with the complexity, importance, and nature of the problem,
                               issue, or task addressed;

                   (E)         with respect to a professional person, whether the person is board certified or
                               otherwise has demonstrated skill and experience in the bankruptcy field; and

                   (F)         whether the compensation is reasonable based on the customary compensation
                               charged by comparably skilled practitioners in cases other than cases under
                               this title.

  11 U.S.C. § 330(a)(3).

          53.      Here, PSZJ respectfully submits that the services for which it seeks compensation in

  this Application were, at the time rendered, believed to be necessary for, beneficial to, and in the

  best interests of, the Committee. The services rendered by PSZJ were consistently performed in a

  timely manner commensurate with the complexity, importance, and nature of the issues involved.

          54.      PSZJ has a reputation for its expertise and experience in financial and bankruptcy

  reorganizations and restructurings and as noted above, the compensation is reasonably based on

  customary compensation charged by other practitioners in non-bankruptcy cases. Based on an


                                                        23
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 24
                                        of 155



  application of the above factors and its compliance with the UST Guidelines, PSZJ respectfully

  submits that the compensation requested herein is reasonable in light of the nature, extent and value

  of such services to the Committee and, accordingly, that approval of the compensation sought herein

  is warranted.

          55.      Section 330 of the Bankruptcy Code authorizes the Court to award the Firm

  reasonable compensation for its actual and necessary legal services rendered and reimbursement of

  actual and necessary expenses incurred in the rendering of those legal services as counsel to the

  Committee in this case. Bankruptcy Code § 330(a)(1) provides as follows:

          (a)(1) After notice to the parties in interest and the United States Trustee and a hearing,
          and subject to sections 326, 328, and 329, the court may award to a trustee, a consumer
          privacy ombudsman appointed under section 332, an examiner, an ombudsman appointed
          under section 333, or a professional person employed under section 327 or 1103—

                  (A)   reasonable compensation for actual, necessary services rendered by the
          trustee, examiner, ombudsman, professional person, or attorney and by any
          paraprofessional person employed by any such person; and

                   (B)         reimbursement for actual, necessary expenses.

  11 U.S.C. § 330(a)(1).

          56.      This Application substantiates the total amount the Firm seeks for fees and expenses

  in accordance with this Court’s standards applied to fee applications. The factors that courts in this

  jurisdiction consider when making a discretionary award of reasonable attorneys’ fees and

  reimbursable expenses were originally described in Johnson v. Georgia Highway Express, Inc., 488

  F.2d 714, 717-19 (5th Cir. 1974) (the “Johnson Factors”). The Fifth Circuit has applied the Johnson

  Factors to the determination of awards of attorneys’ fees and expenses in bankruptcy cases. In re

  First Colonial Corp. of Am., 544 F.2d 1291 (5th Cir. 1977), cert. denied 431 U.S. 904 (1977). Many

  of these Johnson Factors have now been codified at Bankruptcy Code § 330(a)(3). 11 U.S.C.

  § 330(a)(3).




                                                       24
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 25
                                        of 155



             57.      The Johnson Factors are summarized as follows: (1) the time and labor required;

  (2) the novelty and difficulty of the questions presented; (3) the skill required to perform the legal

  services; (4) the preclusion of other employment by the attorneys due to acceptance of the

  bankruptcy case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time

  limitations imposed by the client or circumstances; (8) the amounts involved and the results

  obtained; (9) the experience, reputation and ability of the attorneys; (10) the “undesirability” of the

  case; (11) the nature and length of the professional relationship with the client; and (12) awards in

  similar cases. Based upon the services described in this Application, the Firm respectfully represents

  that it has fully satisfied the standards prescribed by the Johnson Factors.

  The Time and Labor Required

             58.      Firm attorneys and paraprofessionals, in the performance of legal services, expended

  555.10 hours during the Application Period for a total fee of $384,902.50.6 Taking into account the

  Firms’ voluntary reductions, the blended hourly rate is therefore $693.40/hour. The names of the

  professionals who worked on this case during the Application Period appear in the Invoices and on

  the cover sheet attached to this Application. The Firm submits that the time and labor these

  professionals expended in the Bankruptcy Case are appropriate and reasonable and that this Johnson

  Factor supports the Firm’s requested award. Further, the amount of time multiplied by a reduced,

  and reasonable, fee suggests that the fee award is appropriate in this Circuit under the “lodestar”

  doctrine.

  The Novelty and Difficulty of the Questions Presented

             59.      As explained above, this Bankruptcy Case presents many novel and difficult

  questions. Addressing these questions have necessitated considerable legal expertise. In light of




  6
      This takes into account the Firm’s voluntary reductions as noted above.

                                                             25
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 26
                                        of 155



  these considerations and the Firm’s expertise in these matters, this Johnson Factor strongly favors

  awarding the Firm the fees and expenses it has requested.

  The Skill Required to Perform the Services

          60.      Representing the Committee in this Bankruptcy Case required considerable skill and

  expertise in bankruptcy issues. The Firm has considerable experience in complex bankruptcy

  matters. Further, the Firm has represented numerous creditors’ committees in cases with abuse

  claims, and has extensive experience in cases involving dioceses and archdioceses of the Catholic

  Church, and thus has a unique understanding of the structure and history of that institution and its

  sub-entities, and of the nature of its assets. The Firm employed attorneys and staff persons of

  varying levels of skill and expertise to efficiently resolve the issues in this case. The Firm strived to

  limit the number of attorneys who worked on this case and to use the most appropriate attorney or

  staff person for any given task. For this reason, the compensation the Firm is requesting for the

  services rendered by its attorneys and staff persons compares favorably to the compensation awarded

  in other bankruptcy cases of a similar size and complexity. This factor therefore supports the award

  the Firm has requested.

  Preclusion of Other Employment Due to Acceptance of the Case

          61.      The Firm has not declined any representation solely because it served as counsel for

  the Committee in this Bankruptcy Case.

  The Customary Fee

          62.      The Firm computed the amount of compensation it seeks in this Application

  according to the rates the Firm previously disclosed in the Retention Application. The Firm also

  maintained detailed time and disbursement records for all legal services for which it seeks

  compensation. The rates charged for the Firm’s legal services in this case are comparable to other

  similar-situated firms. These rates also reflect substantial voluntary reductions of $301,694.00,


                                                   26
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 27
                                        of 155



  which are a product of the voluntary reductions discussed above. Thus, the blended hourly rate on

  this matter of $693.40/hour is reasonable and reflects market rates for legal services in Chapter 11

  bankruptcy cases of this size and complexity. Similarly, the amounts sought for the reimbursement

  of expenses reflect the prevailing rates for expense reimbursement by law firms similar in size and

  reputation to the Firm.

  Whether the Fee is Fixed or Contingent

          63.      The Firm’s fees for services rendered in this Bankruptcy Case are based on its hourly

  rates (as capped pursuant to the Retention Order) and subject in all respects to this Court’s approval.

  The Firm has not requested any contingent fee in this Bankruptcy Case.

  Time Limitations Imposed by the Client or Other Circumstances

          64.      The Firm has had to respond to tight time-constraints arising in this Bankruptcy Case.

  Matters often arose throughout the Application Period that required the Firm’s immediate attention.

  Again, the exigent nature of these matters demanded that the Firm’s professionals respond on very

  short notice to complicated and developing events as they unfolded. This imposed serious time

  demands on the Firm’s personnel and required them to devote considerable legal resources to these

  matters. Taken together, these considerations suggest that this Johnson Factor supports the fee

  award requested.

  The Amount Involved and the Results Obtained

          65.      The Invoices summarize the individual tasks that Firm personnel performed during

  the Application Period as well as the amounts charged for those tasks performed on behalf of the

  Committee. The total fees the Firm seeks to approve in this Application are $384,902.50. This

  figure is commensurate with the Firm’s achievements. This Johnson Factor supports the fee award

  requested.




                                                   27
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 28
                                        of 155



  The Experience, Reputation, and Ability of the Attorneys

          66.      The Firm’s attorneys have significant experience in bankruptcy and other areas of the

  law, possess a high level of expertise, and have an excellent reputation in the business and legal

  communities. In particular, the Firm’s bankruptcy attorneys have appeared in bankruptcy cases

  throughout the United States and have provided services to secured creditors, unsecured creditors,

  creditors’ committees, and debtors-in-possession. The quality of the Firm’s services is consistently

  high. In addition, the Firm’s attorneys also speak and write on various legal topics throughout the

  country. As mentioned, the Firm has considerable expertise in cases, such as this one, involving

  numerous abuse claims and sub-entities of the Catholic Church. The substantial experience,

  reputation, and ability of the Firm’s attorneys working on this Bankruptcy Case favor granting the

  Firm the fee award it seeks.

  The “Undesirability” of the Bankruptcy Case

          67.      From the Firm’s perspective, serving as counsel to the Committee in this Bankruptcy

  Case was not undesirable. However, bankruptcy cases involved abuse claims and religious entities

  can involve intensive and hard-fought disputes, for example, regarding the claims process and the

  recovery and liquidation of assets. These concerns mean that any law firm deciding to represent the

  Committee could face potential fee risk and other uncertainties. This factor therefore favors granting

  the Firm the award it has requested.

  The Nature and Length of the Professional Relationship with the Client

          68.      The Firm has no prior professional relationship with the Committee, which was only

  formed after this case began. However, members of the Firm have worked in similar matters,

  including coordinating issues with State Court counsel, thus making the representation of the

  Committee more efficient. For this reason, this Johnson Factor supports granting the Firm its fee

  award in this case.


                                                   28
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 29
                                        of 155



  Awards in Similar Cases

           69.     The fee award the Firm seeks compares favorably to awards granted in other

  bankruptcy cases with a size and complexity similar to this case, including cases in the Fifth Circuit.

  In light of these considerations, this last Johnson Factor also supports granting the Firm its award.

           70.     In conclusion, the Johnson Factors favor granting the Firm the fee and expense award

  it seeks.

                                 XI.          RESERVATION OF RIGHTS

           71.     It is possible that some professional time expended or expenses incurred by PSZJ are

  not reflected in this Application. PSZJ reserves the right to file a supplemental fee application to

  submit additional fees and expenses not previously included in the Application, or to include such

  time and costs in a future fee application.

                                       XII.     NO PRIOR REQUEST

           72.     No prior application for the relief requested herein has been made to this or any other

  court.




                                                    29
  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 30
                                        of 155



                                       XIII.     CONCLUSION

          WHEREFORE, PSZJ respectfully requests that this Court enter an order (i) awarding PSZJ

  an interim allowance of fees for the Application Period in the amount of $384,902.50; (ii) awarding

  PSZJ reimbursement for actual and necessary expenses incurred in the amount of $18,259.44;

  (iii) authorizing and directing the Debtor to pay such allowed fees and costs, less amounts previously

  submitted; and (iv) granting such other or additional relief as is just and proper.

   Dated: March 28, 2023                                 Respectfully submitted,

                                                         By: /s/ Linda F. Cantor
                                                         James I. Stang (CA Bar No. 94435)
                                                         Linda F. Cantor (CA Bar No. 153762)
                                                         Pachulski Stang Ziehl & Jones LLP
                                                         10100 Santa Monica Blvd., Suite 1300
                                                         Los Angeles, CA 90067
                                                         Telephone: (310) 277-6910
                                                         Facsimile: (310) 201-0760
                                                         Email: jstang@pszjlaw.com
                                                                 lcantor@pszjlaw.com

                                                         Co-Counsel to the Official Committee of Unsecured
                                                         Creditors




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  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 31
                                        of 155




                                     EXHIBIT A

                                Monthly Fee Statement
                                  November 2022




  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 32
                                        of 155




                          IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

      In re:                                                      Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                   Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                    Chapter 11
                         Debtor. 1
                                                                  Objection Deadline: January 5, 2023




                        MONTHLY FEE AND EXPENSE STATEMENT OF
                    PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
                       NOVEMBER 1, 2022 THROUGH NOVEMBER 30, 2022

               1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Pachulski Stang Ziehl & Jones LLP (“PSZJ”), co-counsel to The Official Committee of Unsecured

  Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

  debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense Statement (the

  “Statement”) for the period from November 1, 2022 through November 30, 2022 (the “Statement

  Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

               ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

               2.    A summary of the services rendered by PSZJ for which compensation is sought for

  the Statement Period, organized by project category, is attached hereto as Exhibit A.

               3.    A listing of PSZJ attorneys and paraprofessionals (collectively, the “Timekeepers”)

  who rendered service to the Debtor in connection with the Bankruptcy Case during the Statement


  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 33
                                        of 155



  Period, including the hourly rate, title, and fees earned by each Timekeeper, is attached hereto as

  Exhibit B.

          4.       A summary of expenses incurred by PSZJ during the Statement Period for which

  reimbursement is sought is attached hereto as Exhibit C.

          5.       The detailed time records of PSZJ for the Statement Period are attached hereto as

  Exhibit D.

          6.       In addition, under separate cover, the detailed time records under Exhibit D are

  being sent to the Office of the United States Trustee in the LEDES format.

          7.       As of the date hereof, PSZJ has received fees and expenses totaling $3,266,486.43.

         TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

          8.       The total amounts sought for fees for professional services rendered and

  reimbursement of expenses incurred for the Statement Period are as follows:

                                  November 1, 2022 to November 30, 2022

                   Fees (at standard rates):                       $149,708.50

                   Reduction due to reduced rates2:                ($64,394.50)

                   Reduction due to fee write-offs:                 ($1,260.00)

                   Fees (After reductions):                        $84,054.00

                   Expenses:                                         $2,671.92

                   Total                                           $86,725.92




  2
     As disclosed in the Firm’s employment application, the Firm is utilizing rates that are substantially reduced from
  standard rates so that attorney time is capped at a maximum rate of $700 per hour. The reduction set forth here
  accounts for the reduction from the following standard rates: G. Brown ($925); J. Fried ($1,145); A. Caine ($1,295);
  J. Elkin ($1,325); K. Brown ($1,395); and J. Stang ($1,525).


                                                           2
  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 34
                                        of 155



                               NOTICE AND OBJECTION PROCEDURES

          9.       In accordance with the Interim Compensation Order, notice of the Statement has

  been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

  (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

  Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

  David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

  L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

  1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

  P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP,

  445 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg

  Traurig, One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg

  Traurig, 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George,

  Esq., Office of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA

  70130; and (ix) Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box

  2348, Baton Rouge, LA 70821-2348.

          10.      Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before January 5, 2023 (the “Objection Deadline”), setting forth the nature of the

  objection and the specific amount of fees or expenses at issue.

          11.      If no objections to the Statement are received on or before the Objection Deadline,

  the Debtor, pursuant to the Complex Case Order, is authorized to pay PSZJ on an interim basis the

  total amount of $69,915.12, which consists of (a) eighty percent (80%) of PSZJ’s total fees of

  $84,054.00 for the Statement Period in the amount of $67,243.20, plus (b) one hundred percent

  (100%) of total expenses incurred during the Statement Period of $2,671.92.



                                                    3
  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 35
                                        of 155



          12.      To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.

   Dated: December 22, 2022                             Respectfully submitted,

                                                        By: /s/ Linda F. Cantor
                                                        James I. Stang (CA Bar No. 94435)
                                                        Linda F. Cantor (CA Bar No.153762)
                                                        Pachulski Stang Ziehl & Jones LLP 10100
                                                        Santa Monica Blvd., Suite 1300
                                                        Los Angeles, CA 90067
                                                        Telephone: (310)-277-6910
                                                        Facsimile: (310)-201-0760
                                                        Email: jstang@pszjlaw.com
                                                                 lcantor@pszjlaw.com

                                                        Co-Counsel to the Official Committee of Unsecured
                                                        Creditors




                                                   4
  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 36
                                        of 155



                                     EXHIBIT A




  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 37
                                        of 155



                  SUMMARY OF COMPENSATION BY PROJECT CATEGORY
                          DURING COMPENSATION PERIOD
                     NOVEMBER 1, 2022 THROUGH NOVEMBER 30, 2022


    Task Code                           Description               Hours     Amount

        AD                            Asset Disposition            20.10   $14,070.00

         BL                         Bankruptcy Litigation          59.30   $41,510.00

        CA                          Case Administration             5.40    $2,476.00

         FE                     Fee/Employment Application         29.30   $15,806.00

        GC                        General Creditors Comm.           8.10    $5,670.00

        ME                               Mediation                  2.90    $2,030.00
       RPOD                    Retention of Professionals/Other     3.80    $2,492.00
                                                                  128.90   $84,054.00




  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 38
                                        of 155



                                     EXHIBIT B




  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 39
                                        of 155




           COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
                 NOVEMBER 1, 2022 THROUGH NOVEMBER 30, 2022


     ID                  Name             Title     Rate     Hours     Amount

     JIS            Stang, James I.     Partner     700.00   14.50    $10,150.00

    AWC           Caine, Andrew W.      Partner     700.00   45.00    $31,500.00

    JMF            Fried, Joshua M.      Partner    700.00    6.90    $4,830.00

    KHB          Brown, Kenneth H.      Partner     700.00    8.20    $5,740.00
     JE              Elkin, Judith      Counsel     700.00   24.30    $17,010.00
    GNB           Brown, Gillian N.     Counsel     700.00    4.30    $3,010.00

    BDD             Dassa, Beth D.      Paralegal   460.00   19.90    $9,154.00

   MAM             Matteo, Mike A.      Paralegal   460.00    5.00    $2,300.00
    LAF          Forrester, Leslie A.     Law       450.00    0.80     $360.00
                                        Librarian
                                                             128.90   $84,054.00




  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 40
                                        of 155



                                     EXHIBIT C




  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 41
                                        of 155



                                   EXPENSE SUMMARY
                            DURING COMPENSATION PERIOD
                       NOVEMBER 1, 2022 THROUGH NOVEMBER 30, 2022


                                  Description         Amount

                      Bloomberg                        $10.00
                      Lexis Nexis (Legal Research)     $18.06
                      Pacer-Court Research             $34.60
                      Postage                           $1.06
                      Reproduction/Scan Copy         $2,608.20
                                                     $2,671.92




  DOCS_LA:346604.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 42
                                        of 155



                                     EXHIBIT D




  DOCS_LA:346604.1 05067/002
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 43
                                          of 155

                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  November 30, 2022
JIS                                                               Invoice 131383
                                                                  Client  05067
                                                                  Matter  00002
                                                                          JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2022
               FEES                                                $84,054.00
               EXPENSES                                             $2,671.92
               TOTAL CURRENT CHARGES                               $86,725.92

               BALANCE FORWARD                                    $387,594.86
               LAST PAYMENT                                       $178,213.39
               TOTAL BALANCE DUE                                  $296,107.39
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 44
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                    Page:     2
Archdiocese of New Orleans OCC                                       Invoice 131383
05067 - 00002                                                        November 30, 2022




  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours              Amount

 AWC        Caine, Andrew W.            Partner           700.00      45.00        $31,500.00

 BDD        Dassa, Beth D.              Paralegal         460.00      19.90         $9,154.00

 GNB        Brown, Gillian N.           Counsel           700.00       4.30         $3,010.00

 JE         Elkin, Judith               Counsel           700.00      24.30        $17,010.00

 JIS        Stang, James I.             Partner           700.00      14.50        $10,150.00

 JMF        Fried, Joshua M.            Partner           700.00       6.90         $4,830.00

 KHB        Brown, Kenneth H.           Partner           700.00       8.20         $5,740.00

 LAF        Forrester, Leslie A.        Other             450.00       0.80          $360.00

 MAM        Matteo, Mike A.             Paralegal         460.00       5.00         $2,300.00

                                                                    128.90          $84,054.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 45
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                       Page:     3
Archdiocese of New Orleans OCC                                          Invoice 131383
05067 - 00002                                                           November 30, 2022


  Summary of Services by Task Code
  Task Code         Description                                 Hours                       Amount

 AD                 Asset Disposition [B130]                    20.10                  $14,070.00

 BL                 Bankruptcy Litigation [L430]                59.30                  $41,510.00

 CA                 Case Administration [B110]                   5.40                   $2,476.00

 FE                 Fee/Employment Application                  29.30                  $15,806.00

 GC                 General Creditors Comm. [B150]               8.10                   $5,670.00

 ME                 Mediation                                    2.90                   $2,030.00

 RPO                Ret. of Prof./Other                          3.80                   $2,492.00

                                                               128.90                  $84,054.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 46
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                    Page:     4
Archdiocese of New Orleans OCC                                       Invoice 131383
05067 - 00002                                                        November 30, 2022


  Summary of Expenses
  Description                                                                     Amount
Bloomberg                                                                         $10.00
Lexis/Nexis- Legal Research [E                                                    $18.06
Pacer - Court Research                                                            $34.60
Postage [E108]                                                                     $1.06
Reproduction/ Scan Copy                                                        $2,608.20

                                                                               $2,671.92
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 47
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:     5
Archdiocese of New Orleans OCC                                                                   Invoice 131383
05067 - 00002                                                                                    November 30, 2022


                                                                                         Hours          Rate         Amount

  Asset Disposition [B130]
 11/03/2022   KHB     AD        Consideration of Apostolates use and lack of              0.50       700.00          $350.00
                                tranparancy of funds in Portfolios A and B and
                                potential remedies.

 11/04/2022   KHB     AD        Consider strategy for seeking protocol for                3.30       700.00      $2,310.00
                                non-debtor withdrawals from Portfolio A and
                                protecting interests of creditors if Portfolio A is
                                ultimately determined to be property of the estate
                                and email to R. Kubel re same (1.6); review
                                pleadings and order re protocol for distributions to
                                non-debtors in Wilmington Diocese (1.7).

 11/07/2022   AWC     AD        Emails with JW and TCC regarding Howard Avenue            0.60       700.00          $420.00
                                sale, issues, questions, status (.20); emails with
                                Locke regarding Howard sale, strategy (.40).

 11/07/2022   KHB     AD        Emails from counsel for Commercial Committee              0.20       700.00          $140.00
                                and BRG re sale of assisted living facilities.

 11/09/2022   AWC     AD        Emails with TCC and BRG regarding information             1.60       700.00      $1,120.00
                                regarding Howard sale, NDHS/SAG sale, review
                                questions (.60); emails with Locke and committee
                                regarding Howard Ave sale recommendation/status
                                (.20); read and analyze updated hard copy files
                                privilege log (.80).

 11/09/2022   KHB     AD        Review emails from commercial committee, BRG              0.30       700.00          $210.00
                                and S. Bryant reevaluation of sale of assisted living
                                facilities.

 11/10/2022   AWC     AD        Emails with TCC regarding NDHS/SAG sale,                  0.60       700.00          $420.00
                                issues, status (.20) ; read revised document regarding
                                discovery for NDHS/SAG sale (.40).

 11/10/2022   JIS     AD        Review correspondence to Draper and Debtor                0.30       700.00          $210.00
                                regarding ALF sale.

 11/10/2022   JIS     AD        Call with media re Howard Avenue sale.                    0.30       700.00          $210.00

 11/11/2022   AWC     AD        Emails with TCC regarding NDHS/SAG transaction,           2.30       700.00      $1,610.00
                                documents, read agreement and schedules.

 11/11/2022   JIS     AD        Review APA.                                               4.20       700.00      $2,940.00

 11/11/2022   JIS     AD        Call S. Bryant regarding sale issues of hospice           0.20       700.00          $140.00
                                business.

 11/11/2022   JIS     AD        Additional call to S. Bryant re sale of hospice           0.20       700.00          $140.00
                                business.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 48
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                   Page:     6
Archdiocese of New Orleans OCC                                                                      Invoice 131383
05067 - 00002                                                                                       November 30, 2022


                                                                                           Hours           Rate         Amount

 11/13/2022   JIS     AD        Call with BRG and Locke Lord regarding the                  0.90        700.00          $630.00
                                proposed sale transaction.

 11/14/2022   AWC     AD        Emails with JW regarding and read revised orders            0.90        700.00          $630.00
                                on sale motions (.30); emails with Locke and BRG
                                and read revised concerns letter and questions letter
                                regarding NDHS/SAG sale (.60).

 11/14/2022   JIS     AD        Call with commercial committee regarding sale of            0.60        700.00          $420.00
                                hospice.

 11/14/2022   JIS     AD        Follow up call with Locke Lord following call with          0.20        700.00          $140.00
                                commercial committee re hospice sale.

 11/15/2022   AWC     AD        Emails with Locke and BRG regarding NDHS/SAG                0.90        700.00          $630.00
                                sale issues/additional information and review revised
                                letter from TCC and response.

 11/15/2022   JIS     AD        Committee meeting regarding case status, asset sale.        1.50        700.00      $1,050.00

 11/16/2022   AWC     AD        Emails with Locke, BRG and TCC regarding                    0.30        700.00          $210.00
                                NDHS/SAG issues and review revised letter.

 11/29/2022   AWC     AD        Emails regarding NDHS/SAG sale documents and                0.20        700.00          $140.00
                                with Locke/BRG regarding additional information.

                                                                                            20.10                  $14,070.00

  Bankruptcy Litigation [L430]
 11/01/2022   AWC     BL        Read James Doe memorandum and order (.40);                  2.90        700.00      $2,030.00
                                review produced documents and potential issues
                                (2.10); read Draper letter re and additional
                                information regarding sale (.40).

 11/02/2022   AWC     BL        Read revised 2004 motion and emails with Locke              1.80        700.00      $1,260.00
                                regarding strategy (.40); read O’Donnell pretrial
                                brief (.20); review privilege logs, notes and related
                                communications, and draft email to JW with
                                privilege claim issues (1.20).

 11/02/2022   JE      BL        Review various standing motions from other cases.           2.10        700.00      $1,470.00

 11/03/2022   AWC     BL        Call with team and Locke regarding AP strategy              1.70        700.00      $1,190.00
                                (1.00); emails with Locke and BRG regarding
                                revised discovery letter and read edits (.40); emails
                                with JW regarding privilege log (.20).

 11/03/2022   KHB     BL        Call with A. Caine, R. Kubel and B. Knapp re next           2.50        700.00      $1,750.00
                                steps in property of the estate litigation (1.0); review
                                transcript of hearing on MTD and email to A. Caine,
                                R. Kubel and B. Knapp re next steps in property of
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 49
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:     7
Archdiocese of New Orleans OCC                                                                   Invoice 131383
05067 - 00002                                                                                    November 30, 2022


                                                                                         Hours          Rate         Amount
                                the estate litigation (1.0); review letter from M.
                                Mintz to Mediator declining to make counter offer
                                and consider response (.3); confer with J. Stang re
                                mediation strategy and response to Mintz letter (.2).
 11/03/2022   JE      BL        Work on standing motion.                                  1.30       700.00          $910.00

 11/04/2022   AWC     BL        Review TCC edits to property discovery and revised        2.10       700.00      $1,470.00
                                letter, 2004 motion (.50); call with Locke regarding
                                O’Donnell hearing, forward strategy (.30); emails
                                with team regarding AP, investment issues, related
                                authorities (1.30).

 11/07/2022   AWC     BL        Emails with Locke and TCC regarding NDHS/SAG              0.80       700.00          $560.00
                                discovery and review revised question list (.30); read
                                opinion on Asare-Dankwe confidentiality motion
                                (.30); emails with Locke regarding ANO production
                                review, strategy (.20)

 11/08/2022   AWC     BL        Read amicus briefs in prescription appeal (1.20);         1.70       700.00      $1,190.00
                                emails with Locke regarding discovery issues (.20);
                                review correspondence with JW regarding privilege
                                logs (.30) .002.

 11/08/2022   JE      BL        Work on standing motion.                                  6.70       700.00      $4,690.00

 11/09/2022   JE      BL        Work on standing motion.                                  1.40       700.00          $980.00

 11/10/2022   AWC     BL        Emails with JW regarding privilege log                    0.60       700.00          $420.00
                                issues/documents (.20); review document issues and
                                correspondence (.40).

 11/11/2022   AWC     BL        Emails with JW regarding privilege logs, production       0.60       700.00          $420.00
                                and skim new production, prior logs.

 11/11/2022   KHB     BL        Confer with J. Stang re mediation and litigation          0.80       700.00          $560.00
                                strategy (.50; work on response to Mintz letter re
                                mediation demand (.3).

 11/11/2022   JE      BL        Work on standing motion.                                  1.30       700.00          $910.00

 11/14/2022   AWC     BL        Emails with JW regarding discovery issues (.20);          0.90       700.00          $630.00
                                call with Locke regarding document issues, strategy
                                (.70).

 11/14/2022   KHB     BL        Confer with J. Stang re letter to Zive re mediation       0.40       700.00          $280.00
                                demand (.1); work on letter (.3).

 11/14/2022   JE      BL        Work on standing motion and brief.                        4.50       700.00      $3,150.00

 11/15/2022   AWC     BL        Emails with Locke and team regarding document             1.90       700.00      $1,330.00
                                review, approach, details and review Everlaw(.80);
                                analyze hard copy privilege log (.50); read
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 50
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:     8
Archdiocese of New Orleans OCC                                                                   Invoice 131383
05067 - 00002                                                                                    November 30, 2022


                                                                                        Hours           Rate         Amount
                                withdrawn privilege documents (.60).
 11/15/2022   JE      BL        Work on standing motion and brief.                       1.30        700.00          $910.00

 11/16/2022   AWC     BL        Review produced documents in Everlaw to assess           2.20        700.00      $1,540.00
                                motion to compel, further document requests.

 11/17/2022   AWC     BL        Read recently produced documents with redactions         2.40        700.00      $1,680.00
                                withdrawn.

 11/17/2022   JE      BL        Work on standing motion and brief.                       2.30        700.00      $1,610.00

 11/18/2022   JE      BL        Work on standing motion and brief.                       3.40        700.00      $2,380.00

 11/21/2022   AWC     BL        Research regarding prescription issues, appeal status    1.30        700.00          $910.00
                                (.60); review Everlaw regarding documents
                                produced, strategy (.70).

 11/22/2022   AWC     BL        Emails with Locke regarding O’Donnell motion,            0.40        700.00          $280.00
                                strategy (.20); emails with BRG and Locke
                                regarding additional information from affiliates
                                (.20).

 11/28/2022   AWC     BL        Read newly produced (redactions withdrawn)               2.80        700.00      $1,960.00
                                documents.

 11/29/2022   AWC     BL        Read appellee brief in 5th Circuit window law            2.30        700.00      $1,610.00
                                appeal (.50); emails with team and Locke regarding
                                additional document review/approach (.40); read
                                documents for which privilege was recently
                                withdrawn (1.40).

 11/30/2022   AWC     BL        Review additional O’Donnell exhibit for hearing and      4.90        700.00      $3,430.00
                                emails with counsel and Locke thereon, search prior
                                productions (.40); review production with
                                withdrawn redactions (3.30); read amicus briefs in
                                5th Circuit prescription appeal (1.20).

                                                                                         59.30                  $41,510.00

  Case Administration [B110]
 11/01/2022   MAM     CA        Review dockets and updates to critical dates             0.20        460.00           $92.00
                                memorandum.

 11/04/2022   MAM     CA        Review dockets, update and circulate critical dates      0.40        460.00          $184.00
                                memorandum.

 11/04/2022   LAF     CA        Legal research re: Wilmington diocese docket &           0.80        450.00          $360.00
                                documents.

 11/07/2022   MAM     CA        Review dockets and updates to critical dates             0.30        460.00          $138.00
                                memorandum.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 51
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:     9
Archdiocese of New Orleans OCC                                                                 Invoice 131383
05067 - 00002                                                                                  November 30, 2022


                                                                                      Hours           Rate         Amount

 11/08/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00          $138.00
                                memorandum.

 11/09/2022   MAM     CA        Review dockets regarding critical dates                0.20        460.00           $92.00
                                memorandum.

 11/10/2022   MAM     CA        Review dockets regarding critical dates                0.20        460.00           $92.00
                                memorandum.

 11/11/2022   MAM     CA        Review dockets, update and circulate critical dates    0.30        460.00          $138.00
                                memorandum.

 11/15/2022   MAM     CA        Review dockets and updates to critical dates           0.40        460.00          $184.00
                                memorandum.

 11/16/2022   MAM     CA        Review dockets and updates to critical dates           0.30        460.00          $138.00
                                memorandum.

 11/17/2022   MAM     CA        Review dockets and update critical dates               0.20        460.00           $92.00
                                memorandum.

 11/18/2022   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00          $184.00
                                memorandum.

 11/21/2022   MAM     CA        Review dockets and update critical dates               0.20        460.00           $92.00
                                memorandum.

 11/28/2022   MAM     CA        Review dockets and updates to critical dates           0.30        460.00          $138.00
                                memorandum.

 11/29/2022   MAM     CA        Review dockets and updates to critical dates           0.40        460.00          $184.00
                                memorandum.

 11/29/2022   BDD     CA        Attend to calendaring matters and emails M. Matteo,    0.30        460.00          $138.00
                                M. Kulick and B. Anavim re same

 11/30/2022   MAM     CA        Review dockets and update critical dates               0.20        460.00           $92.00
                                memorandum.

                                                                                        5.40                   $2,476.00

  Fee/Employment Application
 11/09/2022   BDD     FE        Emails L. Cantor re filing of quarterly fee            0.20        460.00           $92.00
                                applications

 11/09/2022   BDD     FE        Emails M. Haverkamp and P. Shields re next round       0.20        460.00           $92.00
                                of quarterly fee applications

 11/09/2022   BDD     FE        Email G. Brown re Rock Creek next quarterly fee        0.10        460.00           $46.00
                                application

 11/09/2022   BDD     FE        Email L. Cantor re October monthly fee statements      0.10        460.00           $46.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 52
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                               Page:    10
Archdiocese of New Orleans OCC                                                                  Invoice 131383
05067 - 00002                                                                                   November 30, 2022


                                                                                        Hours          Rate         Amount

 11/09/2022   BDD     FE        Email J. Fried re next round of quarterly fee            0.10       460.00           $46.00
                                applications

 11/10/2022   AWC     FE        Emails with BRG and Claro regarding fee                  0.20       700.00          $140.00
                                applications.

 11/14/2022   GNB     FE        Email with Andrew W. Caine regarding application         0.10       700.00           $70.00
                                to increase PSZJ hourly blended rate; Email PSZJ
                                accounting staff regarding same.

 11/14/2022   BDD     FE        Text message to G. Brown re next round of quarterly      0.10       460.00           $46.00
                                fee applications

 11/15/2022   AWC     FE        Emails with various professionals regarding              0.40       700.00          $280.00
                                upcoming fee applications.

 11/15/2022   BDD     FE        Email V. Arias re PSZJ 7th quarterly fee application     0.10       460.00           $46.00

 11/15/2022   BDD     FE        Email A. Caine re language for PSZJ 7th quarterly        0.10       460.00           $46.00
                                fee application

 11/15/2022   BDD     FE        Email L. Cantor re next round of quarterly fee           0.10       460.00           $46.00
                                applications

 11/15/2022   BDD     FE        Email C'tee professionals re next round of quarterly     0.10       460.00           $46.00
                                fee applications and October monthly fee statements

 11/15/2022   BDD     FE        Email C. Peirce re Rock Creek next quarterly fee         0.10       460.00           $46.00
                                application

 11/15/2022   BDD     FE        Email J. Fried re PSZJ 7th quarterly fee application     0.10       460.00           $46.00

 11/15/2022   BDD     FE        Email G. Brown re Claro Group quarterly fee              0.10       460.00           $46.00
                                application.

 11/16/2022   AWC     FE        Emails with Stout regarding fee application, new         0.40       700.00          $280.00
                                declaration and review draft.

 11/17/2022   JMF     FE        Review and edit PSZJ October bill.                       1.80       700.00      $1,260.00

 11/17/2022   BDD     FE        Email J. Fried re Oct fee statement and 7th quarterly    0.10       460.00           $46.00
                                fee application

 11/17/2022   BDD     FE        Email N. Brown re PSZJ 7th quarterly fee                 0.10       460.00           $46.00
                                application

 11/17/2022   BDD     FE        Review Oct invoice and email accounting re same          0.20       460.00           $92.00

 11/17/2022   BDD     FE        Email N. Brown re September filed monthly fee            0.10       460.00           $46.00
                                statements

 11/21/2022   AWC     FE        Review and revise PSZJ 7th quarterly fee                 0.60       700.00          $420.00
                                application.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 53
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:    11
Archdiocese of New Orleans OCC                                                                 Invoice 131383
05067 - 00002                                                                                  November 30, 2022


                                                                                       Hours          Rate         Amount

 11/21/2022   JMF     FE        Review October fee statement and emails re same.        1.10       700.00          $770.00

 11/21/2022   BDD     FE        Prepare PSZJ October monthly fee statement and          0.60       460.00          $276.00
                                email J. Fried re same

 11/21/2022   BDD     FE        Work on PSZJ 7th quarterly fee application and          4.90       460.00      $2,254.00
                                emails A. Caine and I. Nasatir re same

 11/21/2022   BDD     FE        Email N. Brown re cover letters for Oct fee             0.10       460.00           $46.00
                                statements of PSZJ, BRG, Rock Creek and
                                Claro/Stout

 11/21/2022   BDD     FE        Email P. Shields and M. Haverkamp re BRG                0.10       460.00           $46.00
                                quarterly fee application/October monthly fee
                                statement

 11/21/2022   BDD     FE        Email K. McNally re Claro/Stout quarterly fee           0.10       460.00           $46.00
                                application/October monthly fee statement

 11/22/2022   GNB     FE        Revise Rock Creek third interim fee application and     0.30       700.00          $210.00
                                associated papers.

 11/22/2022   GNB     FE        Revise Stout's second interim fee application and       0.80       700.00          $560.00
                                associated papers.

 11/22/2022   JMF     FE        Review and edit 7th fee application.                    2.70       700.00      $1,890.00

 11/22/2022   BDD     FE        Email C. Curts re Oct LEDES file                        0.10       460.00           $46.00

 11/22/2022   BDD     FE        Email N. Brown re PSZJ Oct fee statement                0.10       460.00           $46.00

 11/22/2022   BDD     FE        Continue working/finalizing PSZJ 7th quarterly fee      4.10       460.00      $1,886.00
                                application and emails J. Fried re same

 11/22/2022   BDD     FE        Preparation of notices of hearing re interim fee        0.90       460.00          $414.00
                                applications (4) for PSZJ, BRG, Rock Creek, and
                                Claro/Stout (.80); emails J. Fried and N. Brown re
                                same (.10)

 11/22/2022   BDD     FE        Emails to/calls with G. Brown re Stout/Claro interim    0.20       460.00           $92.00
                                fee application

 11/22/2022   BDD     FE        Review BRG 5th quarterly fee application and Oct        0.70       460.00          $322.00
                                monthly fee statements and multiple emails M.
                                Haverkamp and N. Brown re same

 11/22/2022   BDD     FE        Prepare Rock Creek Oct monthly fee statement and        0.50       460.00          $230.00
                                emails C. Peirce and N. Brown re same

 11/22/2022   BDD     FE        Multiple revisions to Rock Creek 3rd quarterly fee      1.10       460.00          $506.00
                                application and emails C. Peirce,G. Brown and N.
                                Brown re same
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 54
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                   Page:    12
Archdiocese of New Orleans OCC                                                                      Invoice 131383
05067 - 00002                                                                                       November 30, 2022


                                                                                           Hours           Rate         Amount

 11/22/2022   BDD     FE        Email J. Fried re 12/15 omnibus hearing                     0.10        460.00           $46.00

 11/22/2022   BDD     FE        Email L. Cantor re Oct monthly fee statements for           0.10        460.00           $46.00
                                PSZJ, Rock Creek, BRG, and Claro/Stout

 11/22/2022   BDD     FE        Revisions to Claro 2nd quarterly fee application and        0.30        460.00          $138.00
                                emails K. McNally re same

 11/22/2022   BDD     FE        Review of finalized/assembled PSZJ, Rock Creek,             1.10        460.00          $506.00
                                BRG, and Claro/Stout quarterly fee applications and
                                Oct monthly fee statements and multiple emails
                                to/calls with N. Brown re same

 11/23/2022   JMF     FE        Review PSZJ quarterly application (1.0) and emails          1.30        700.00          $910.00
                                re status and filing of Claro, BRG and Rock Creek
                                (.3).

 11/23/2022   BDD     FE        Email Notice Parties re PSZJ, BRG, Rock Creek,              0.10        460.00           $46.00
                                and Claro (Stout) October monthly fee statements

 11/23/2022   BDD     FE        Email M. Haverkamp re BRG October fee statement             0.10        460.00           $46.00

 11/23/2022   BDD     FE        Finalize PSZJ, BRG, Rock Creek and Claro (Stout)            2.20        460.00      $1,012.00
                                fee applications for filing (1.1), and emails G.
                                Brown and K. McNally re same (.40); multiple
                                emails to/calls with N. Brown re same (.70)

 11/28/2022   BDD     FE        Email J. Fried re PSZJ filed quarterly fee application      0.10        460.00           $46.00

                                                                                            29.30                  $15,806.00

  General Creditors Comm. [B150]
 11/01/2022   AWC     GC        Review agenda to prepare for and Committee                  1.20        700.00          $840.00
                                meeting.

 11/03/2022   JIS     GC        Review memo to committee re plan issues.                    0.40        700.00          $280.00

 11/08/2022   JIS     GC        Calls (2x) with R. Kuebel regarding status of case          2.20        700.00      $1,540.00
                                issues including plan, claims objections, SOL,
                                document production.

 11/10/2022   JIS     GC        Call with state court counsel regarding issues related      1.40        700.00          $980.00
                                to stay relief, plan, claims objections and case status.

 11/14/2022   AWC     GC        Emails with Locke regarding committee agenda.               0.20        700.00          $140.00

 11/15/2022   AWC     GC        Committee meeting.                                          1.40        700.00          $980.00

 11/21/2022   AWC     GC        Emails with Locke and committee regarding                   0.20        700.00          $140.00
                                meetings.

 11/28/2022   AWC     GC        Emails with Locke and counsel regarding committee           0.20        700.00          $140.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 55
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:    13
Archdiocese of New Orleans OCC                                                                 Invoice 131383
05067 - 00002                                                                                  November 30, 2022


                                                                                      Hours           Rate         Amount
                                meeting/agenda.
 11/28/2022   JIS     GC        Review court order regarding sharing information       0.10        700.00           $70.00
                                with trade committee.

 11/29/2022   AWC     GC        Committee meeting.                                     0.80        700.00          $560.00

                                                                                        8.10                   $5,670.00

  Mediation
 11/10/2022   JIS     ME        Draft letter to mediator regarding response to         0.60        700.00          $420.00
                                Archdiocese mediation letter.

 11/11/2022   AWC     ME        Emails with James I. Stang and Locke regarding         0.50        700.00          $350.00
                                mediation response and revise draft response.

 11/11/2022   JIS     ME        Call K. Brown regarding issues related to mediation    0.50        700.00          $350.00
                                response.

 11/14/2022   JIS     ME        Call with J. Zive re status of mediation.              0.40        700.00          $280.00

 11/14/2022   JIS     ME        Call with B. Knapp regarding update on mediation       0.30        700.00          $210.00
                                call with J. Zive and next steps.

 11/21/2022   AWC     ME        Read final letter to mediator and emails with team     0.20        700.00          $140.00
                                and Locke thereon.

 11/21/2022   JIS     ME        Finalize letter to Judge Zive regarding mediation.     0.20        700.00          $140.00

 11/21/2022   KHB     ME        Review letter from J. Stang to mediator re lack of     0.20        700.00          $140.00
                                mediation progress and email from Mediator re
                                same.

                                                                                        2.90                   $2,030.00

  Ret. of Prof./Other
 11/10/2022   GNB     RPO       Email with Katie McNally regarding Stout               0.10        700.00           $70.00
                                acquisition of The Claro Group, LLC.

 11/13/2022   GNB     RPO       Draft supplemental declaration for Katie McNally       0.60        700.00          $420.00
                                regarding Stout acquisition of The Claro Group,
                                LLC.

 11/14/2022   GNB     RPO       Revise declaration of Katheryn McNally regarding       0.40        700.00          $280.00
                                Stout acquisition of Claro (.2); Email Andrew W.
                                Caine and Bradley C. Knapp regarding issues related
                                to same (.2).

 11/15/2022   GNB     RPO       Compile supplement conflict check information for      0.50        700.00          $350.00
                                Stout (.4); Email with Michael A. Matteo regarding
                                research for same (.1).
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 56
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:    14
Archdiocese of New Orleans OCC                                                                 Invoice 131383
05067 - 00002                                                                                  November 30, 2022


                                                                                      Hours           Rate         Amount

 11/15/2022   GNB     RPO       Email with Katie McNally regarding quarterly fee       0.10        700.00           $70.00
                                application.

 11/15/2022   GNB     RPO       Edit declaration of Katheryn McNally and Schedule      1.20        700.00          $840.00
                                A thereto regarding Stout acquisition of Claro and
                                conflict check.

 11/15/2022   MAM     RPO       Locate and forward notices of appointment of           0.70        460.00          $322.00
                                creditor's committee and Orders and Debtor's
                                Professionals to Gillian N. Brown.

 11/21/2022   GNB     RPO       Email with Bradley Knapp regarding additional          0.10        700.00           $70.00
                                Stout conflict check; Email Katie McNally regarding
                                declaration concerning Stout acquisition of The
                                Claro Group, LLC.

 11/22/2022   GNB     RPO       Email with Katie McNally regarding declaration to      0.10        700.00           $70.00
                                be filed tomorrow.

                                                                                        3.80                   $2,492.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $84,054.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 57
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                        Page:    15
Archdiocese of New Orleans OCC                                           Invoice 131383
05067 - 00002                                                            November 30, 2022



 Expenses
 11/04/2022   BB        05067.00002 Bloomberg Charges through 11-04-22      10.00
 11/04/2022   LN        05067.00002 Lexis Charges for 11-04-22              18.06
 11/21/2022   RE2       SCAN/COPY ( 11 @0.10 PER PG)                         1.10
 11/21/2022   RE2       SCAN/COPY ( 17 @0.10 PER PG)                         1.70
 11/22/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                          0.30
 11/22/2022   RE2       SCAN/COPY ( 43 @0.10 PER PG)                         4.30
 11/22/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                          0.30
 11/22/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                          0.30
 11/22/2022   RE2       SCAN/COPY ( 21 @0.10 PER PG)                         2.10
 11/22/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                          0.30
 11/22/2022   RE2       SCAN/COPY ( 21 @0.10 PER PG)                         2.10
 11/22/2022   RE2       SCAN/COPY ( 24 @0.10 PER PG)                         2.40
 11/22/2022   RE2       SCAN/COPY ( 17 @0.10 PER PG)                         1.70
 11/22/2022   RE2       SCAN/COPY ( 41 @0.10 PER PG)                         4.10
 11/23/2022   PO        U.S. Postage                                         1.06
 11/23/2022   RE2       SCAN/COPY ( 29 @0.10 PER PG)                         2.90
 11/23/2022   RE2       SCAN/COPY ( 9 @0.10 PER PG)                          0.90
 11/23/2022   RE2       SCAN/COPY ( 9 @0.10 PER PG)                          0.90
 11/23/2022   RE2       SCAN/COPY ( 9891 @0.10 PER PG)                     989.10
 11/23/2022   RE2       SCAN/COPY ( 32 @0.10 PER PG)                         3.20
 11/23/2022   RE2       SCAN/COPY ( 168 @0.10 PER PG)                       16.80
 11/23/2022   RE2       SCAN/COPY ( 471 @0.10 PER PG)                       47.10
 11/23/2022   RE2       SCAN/COPY ( 5024 @0.10 PER PG)                     502.40
 11/23/2022   RE2       SCAN/COPY ( 63 @0.10 PER PG)                         6.30
 11/23/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                          0.30
 11/23/2022   RE2       SCAN/COPY ( 28 @0.10 PER PG)                         2.80
 11/23/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                          0.30
 11/23/2022   RE2       SCAN/COPY ( 471 @0.10 PER PG)                       47.10
 11/23/2022   RE2       SCAN/COPY ( 8949 @0.10 PER PG)                     894.90
 11/23/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                          0.30
 11/23/2022   RE2       SCAN/COPY ( 125 @0.10 PER PG)                       12.50
 11/23/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                          0.30
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 58
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                    Page:    16
Archdiocese of New Orleans OCC                                       Invoice 131383
05067 - 00002                                                        November 30, 2022

 11/23/2022   RE2       SCAN/COPY ( 57 @0.10 PER PG)                      5.70
 11/23/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                       0.30
 11/23/2022   RE2       SCAN/COPY ( 471 @0.10 PER PG)                    47.10
 11/23/2022   RE2       SCAN/COPY ( 63 @0.10 PER PG)                      6.30
 11/30/2022   PAC       Pacer - Court Research                           34.60

   Total Expenses for this Matter                                  $2,671.92
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 59
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                         Page:    17
Archdiocese of New Orleans OCC                                                            Invoice 131383
05067 - 00002                                                                             November 30, 2022


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        11/30/2022

Total Fees                                                                                            $84,054.00

Total Expenses                                                                                          2,671.92

Total Due on Current Invoice                                                                          $86,725.92

  Outstanding Balance from prior invoices as of        11/30/2022          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 130360                  06/30/2022                $181,667.00             $439.17                     $4,410.00

 130569                  07/31/2022                 $87,980.00          $18,673.68                    $17,596.00

 130739                  08/31/2022                $113,090.00            $3,407.82                   $22,618.00

 130986                  09/30/2022                $221,173.00            $1,274.99                   $44,234.60

 131232                  10/31/2022                $116,202.00            $4,320.87                 $120,522.87

             Total Amount Due on Current and Prior Invoices:                                         $296,107.39
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 60
                                        of 155




                                     EXHIBIT B

                                Monthly Fee Statement
                                  December 2022




  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 61
                                        of 155




                          IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

      In re:                                                      Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                   Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                    Chapter 11
                         Debtor. 1
                                                                  Objection Deadline: February 10, 2023




                        MONTHLY FEE AND EXPENSE STATEMENT OF
                    PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
                       DECEMBER 1, 2022 THROUGH DECEMBER 31, 2022

               1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Pachulski Stang Ziehl & Jones LLP (“PSZJ”), co-counsel to The Official Committee of Unsecured

  Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

  debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense Statement (the

  “Statement”) for the period from December 1, 2022 through December 31, 2022 (the “Statement

  Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

               ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

               2.    A summary of the services rendered by PSZJ for which compensation is sought for

  the Statement Period, organized by project category, is attached hereto as Exhibit A.

               3.    A listing of PSZJ attorneys and paraprofessionals (collectively, the “Timekeepers”)

  who rendered service to the Debtor in connection with the Bankruptcy Case during the Statement


  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 62
                                        of 155



  Period, including the hourly rate, title, and fees earned by each Timekeeper, is attached hereto as

  Exhibit B.

           4.       A summary of expenses incurred by PSZJ during the Statement Period for which

  reimbursement is sought is attached hereto as Exhibit C.

           5.       The detailed time records of PSZJ for the Statement Period are attached hereto as

  Exhibit D.

           6.       In addition, under separate cover, the detailed time records under Exhibit D are

  being sent to the Office of the United States Trustee in the LEDES format.

           7.       As of the date hereof, PSZJ has received fees and expenses totaling $3,471,457.90.

         TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

           8.       The total amounts sought for fees for professional services rendered and

  reimbursement of expenses incurred for the Statement Period are as follows:

                                   December 1, 2022 to December 31, 2022

                   Fees (at standard rates):                        $165,611.00

                   Reduction due to reduced rates2:                 ($71,775.00)

                   Reduction due to fee write-offs:                   ($2,030.00)

                   Fees (After reductions):                          $91,806.00

                   Expenses:                                           $4,938.48

                   Total                                             $96,744.48




  2
     As disclosed in the Firm’s employment application, the Firm is utilizing rates that are substantially reduced from
  standard rates so that attorney time is capped at a maximum rate of $700 per hour. The reduction set forth here
  accounts for the reduction from the following standard rates: C. Mackle ($875); G. Brown ($925); J. Fried ($1,145);
  I. Nasatir ($1,295); A. Caine ($1,295); J. Elkin ($1,325); K. Brown ($1,395); L. Cantor ($1,395); and J. Stang ($1,525).




                                                             2
  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 63
                                        of 155



                               NOTICE AND OBJECTION PROCEDURES

          9.       In accordance with the Interim Compensation Order, notice of the Statement has

  been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

  (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

  Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

  David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

  L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

  1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

  P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP,

  445 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg

  Traurig, One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg

  Traurig, 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George,

  Esq., Office of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA

  70130; and (ix) Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box

  2348, Baton Rouge, LA 70821-2348.

          10.      Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before February 10, 2023 (the “Objection Deadline”), setting forth the nature of

  the objection and the specific amount of fees or expenses at issue.

          11.      If no objections to the Statement are received on or before the Objection Deadline,

  the Debtor, pursuant to the Complex Case Order, is authorized to pay PSZJ on an interim basis the

  total amount of $78,383.28, which consists of (a) eighty percent (80%) of PSZJ’s total fees of

  $91,806.00 for the Statement Period in the amount of $73,444.80, plus (b) one hundred percent

  (100%) of total expenses incurred during the Statement Period of $4,938.48.



                                                    3
  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 64
                                        of 155



          12.      To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.

   Dated: January 27, 2023                              Respectfully submitted,

                                                        By: /s/ Linda F. Cantor
                                                        James I. Stang (CA Bar No. 94435)
                                                        Linda F. Cantor (CA Bar No.153762)
                                                        Pachulski Stang Ziehl & Jones LLP 10100
                                                        Santa Monica Blvd., Suite 1300
                                                        Los Angeles, CA 90067
                                                        Telephone: (310)-277-6910
                                                        Facsimile: (310)-201-0760
                                                        Email: jstang@pszjlaw.com
                                                                 lcantor@pszjlaw.com

                                                        Co-Counsel to the Official Committee of Unsecured
                                                        Creditors




                                                   4
  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 65
                                        of 155



                                     EXHIBIT A




  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 66
                                        of 155



                  SUMMARY OF COMPENSATION BY PROJECT CATEGORY
                          DURING COMPENSATION PERIOD
                     DECEMBER 1, 2022 THROUGH DECEMBER 31, 2022


    Task Code                         Description             Hours     Amount

        AD                          Asset Disposition           0.50     $350.00

         BL                       Bankruptcy Litigation        59.10   $41,370.00

        CA                        Case Administration           5.80    $2,668.00

        CO                 Claims Administration/Objections     7.70    $5,390.00
         FE                    Fee/Employment Application      28.10   $16,478.00

        GC                      General Creditors Comm.         4.60    $3,220.00

        ME                             Mediation               30.50   $21,350.00
         PD                    Plan & Disclosure Statement      1.40     $980.00
                                                              137.70   $91,806.00




  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 67
                                        of 155



                                     EXHIBIT B




  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 68
                                        of 155




         COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
                DECEMBER 1, 2022 THROUGH DECEMBER 31, 2022


        ID                     Name          Title     Rate     Hours     Amount

        JIS             Stang, James I.    Partner     700.00   16.40    $11,480.00

      AWC             Caine, Andrew W.     Partner     700.00   60.40    $42,280.00

       LFC             Cantor, Linda F.     Partner    700.00    1.30     $910.00
      IAWN            Nasatir, Iain A.W.   Partner     700.00   14.90    $10,430.00
       KHB           Brown, Kenneth H.     Partner     700.00    0.90     $630.00
       JMF             Fried, Joshua M.    Partner     700.00    2.80    $1,960.00

        JE               Elkin, Judith     Counsel     700.00   13.50    $9,450.00
       GNB            Brown, Gillian N.    Counsel     700.00    5.80    $4,060.00

      CHM               Mackle, Cia H.     Counsel     700.00    2.60    $1,820.00
       BDD              Dassa, Beth D.     Paralegal   460.00   13.40    $6,164.00

      MAM              Matteo, Mike A.     Paralegal   460.00    5.70    $2,622.00
                                                                137.70   $91,806.00




  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 69
                                        of 155



                                     EXHIBIT C




  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 70
                                        of 155



                                   EXPENSE SUMMARY
                            DURING COMPENSATION PERIOD
                       DECEMBER 1, 2022 THROUGH DECEMBER 31, 2022


                                 Description          Amount

                      Lexis Nexis (Legal Research)     $72.64
                      Outside Services                $825.00
                      Pacer-Court Research             $47.60
                      Postage                           $2.64
                      Reproduction/Scan Copy            $8.60
                      Research                       $3,982.00
                                                     $4,938.48




  DOCS_LA:347043.1 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 71
                                        of 155



                                     EXHIBIT D




  DOCS_LA:347043.1 05067/002
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 72
                                          of 155

                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  December 31, 2022
JIS                                                               Invoice 131548
                                                                  Client  05067
                                                                  Matter  00002
                                                                          JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2022
               FEES                                                $91,806.00
               EXPENSES                                             $4,938.48
               TOTAL CURRENT CHARGES                               $96,744.48

               BALANCE FORWARD                                    $296,107.39
               LAST PAYMENT                                       $204,971.47
               TOTAL BALANCE DUE                                  $187,880.40
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 73
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                    Page:     2
Archdiocese of New Orleans OCC                                       Invoice 131548
05067 - 00002                                                        December 31, 2022




  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours              Amount

 AWC        Caine, Andrew W.            Partner           700.00      60.40        $42,280.00

 BDD        Dassa, Beth D.              Paralegal         460.00      13.40         $6,164.00

 CHM        Mackle, Cia H.              Counsel           700.00       2.60         $1,820.00

 GNB        Brown, Gillian N.           Counsel           700.00       5.80         $4,060.00

 IAWN       Nasatir, Iain A. W.         Partner           700.00      14.90        $10,430.00

 JE         Elkin, Judith               Counsel           700.00      13.50         $9,450.00

 JIS        Stang, James I.             Partner           700.00      16.40        $11,480.00

 JMF        Fried, Joshua M.            Partner           700.00       2.80         $1,960.00

 KHB        Brown, Kenneth H.           Partner           700.00       0.90              $630.00

 LFC        Cantor, Linda F.            Partner           700.00       1.30              $910.00

 MAM        Matteo, Mike A.             Paralegal         460.00       5.70         $2,622.00

                                                                    137.70          $91,806.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 74
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                       Page:     3
Archdiocese of New Orleans OCC                                          Invoice 131548
05067 - 00002                                                           December 31, 2022


  Summary of Services by Task Code
  Task Code         Description                                 Hours                       Amount

 AD                 Asset Disposition [B130]                     0.50                       $350.00

 BL                 Bankruptcy Litigation [L430]                59.10                  $41,370.00

 CA                 Case Administration [B110]                   5.80                   $2,668.00

 CO                 Claims Admin/Objections[B310]                7.70                   $5,390.00

 FE                 Fee/Employment Application                  28.10                  $16,478.00

 GC                 General Creditors Comm. [B150]               4.60                   $3,220.00

 ME                 Mediation                                   30.50                  $21,350.00

 PD                 Plan & Disclosure Stmt. [B320]               1.40                       $980.00

                                                               137.70                  $91,806.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 75
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                    Page:     4
Archdiocese of New Orleans OCC                                       Invoice 131548
05067 - 00002                                                        December 31, 2022


  Summary of Expenses
  Description                                                                     Amount
Lexis/Nexis- Legal Research [E                                                    $72.64
Outside Services                                                                 $825.00
Pacer - Court Research                                                            $47.60
Postage [E108]                                                                     $2.64
Reproduction/ Scan Copy                                                            $8.60
Research [E106]                                                                $3,982.00

                                                                               $4,938.48
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 76
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                             Page:     5
Archdiocese of New Orleans OCC                                                                Invoice 131548
05067 - 00002                                                                                 December 31, 2022


                                                                                     Hours            Rate        Amount

  Asset Disposition [B130]
 11/03/2022   IAWN AD           Email J. Stang regarding Arrowood distribution        0.10        700.00           $70.00

 11/04/2022   IAWN AD           Review Knapp email regarding memorial.                0.10        700.00           $70.00

 12/21/2022   AWC     AD        Read emails regarding Howard sale status.             0.30        700.00          $210.00

                                                                                       0.50                       $350.00

  Bankruptcy Litigation [L430]
 11/17/2022   CHM     BL        Upload and review produced documents; email A.        0.30        700.00          $210.00
                                Caine re same.

 11/29/2022   CHM     BL        Perform searches fro A. Caine and send summary        0.70        700.00          $490.00
                                list of results.

 12/01/2022   AWC     BL        Emails with Locke regarding document review           2.60        700.00      $1,820.00
                                issues, motion to compel (.20); review produced
                                documents to prepare for hearing on motion to
                                compel (2.40).

 12/02/2022   AWC     BL        Read O’Donnell pretrial brief (.20); emails with      0.60        700.00          $420.00
                                BRG regarding additional information re various
                                assets, MORs (.20); read new article regarding
                                Aymond allegations (.20).

 12/05/2022   AWC     BL        Emails with Locke regarding O’Donnell hearing,        0.30        700.00          $210.00
                                strategy, results, next steps.

 12/06/2022   AWC     BL        Call with Locke and counsel regarding various         1.20        700.00          $840.00
                                document and other issues (.50); emails with team
                                regarding document management, review (.20); read
                                Iain A. W. Nasatir memo regarding insurance issues
                                (.20); emails with BRG and review documents
                                regarding additional MOR information (.30).

 12/07/2022   AWC     BL        Emails with JW regarding privilege log issues,        2.90        700.00      $2,030.00
                                production (.10); read BRG and CRI emails and
                                underlying documents regarding additional MOR
                                information (.50); review documents to assess
                                production, motion to compel (2.10); call with
                                Locke regarding case strategy (.20).

 12/08/2022   AWC     BL        Emails with BRG regarding update on MOR               3.30        700.00      $2,310.00
                                information (.10); review produced documents to
                                strategize regarding motion to compel (3.20).

 12/09/2022   AWC     BL        Review produced documents to assess strategy on       2.40        700.00      $1,680.00
                                motion to compel.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 77
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                             Page:     6
Archdiocese of New Orleans OCC                                                                Invoice 131548
05067 - 00002                                                                                 December 31, 2022


                                                                                      Hours           Rate        Amount

 12/12/2022   AWC     BL        Emails with O’Donnell counsel and Locke regarding      0.60       700.00          $420.00
                                O’Donnell matter (.20); emails with BRG regarding
                                additional information (.20); emails with team
                                regarding produced documents review (.20).

 12/12/2022   CHM     BL        Prepare saved searches and share with counsel.         0.40       700.00          $280.00

 12/13/2022   AWC     BL        Emails with Locke and JW regarding omnibus             2.50       700.00      $1,750.00
                                hearing (.20); emails with Locke regarding property
                                information and TCC sharing issues (.30); read
                                Draper response regarding NDHS/SAG information
                                (.10); review produced documents to strategize
                                regarding motion to compel and emails with team
                                thereon (1.90).

 12/13/2022   CHM     BL        Review email from A. Caine and reply.                  0.10       700.00           $70.00

 12/14/2022   AWC     BL        Review produced documents to strategize re motion      2.10       700.00      $1,470.00
                                to compel (1.70); emails with JW regarding
                                privilege log, hearing on motion to compel (.20);
                                emails with Locke regarding document review (.20).

 12/15/2022   AWC     BL        Read JW updated privilege log and newly produced       1.10       700.00          $770.00
                                documents (.80); read O’Donnell motion to file
                                claim and emails with Locke and counsel regarding
                                motion and order (.30).

 12/16/2022   AWC     BL        Review produced documents to analyze/strategize re     3.60       700.00      $2,520.00
                                motion to compel.

 12/19/2022   AWC     BL        Read produced documents to analyze motion to           2.70       700.00      $1,890.00
                                compel (2.60); read order on O’Donnell motion
                                (.10).

 12/20/2022   AWC     BL        Read produced documents to analyze motion to           2.60       700.00      $1,820.00
                                compel (2.40); emails with JW regarding document
                                download issues (.20).

 12/20/2022   CHM     BL        Review email from A. Caine and reply.                  0.10       700.00           $70.00

 12/20/2022   CHM     BL        Emails with A. Caine and A. Kingsmill re download      0.30       700.00          $210.00
                                link.

 12/21/2022   AWC     BL        Emails regarding document production and access        0.30       700.00          $210.00
                                issues.

 12/21/2022   CHM     BL        Review email from Everlaw, review documents            0.20       700.00          $140.00
                                received and reply.

 12/22/2022   AWC     BL        Read withdrawn privilege documents and produced        3.30       700.00      $2,310.00
                                documents to analyze motion to compel.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 78
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:     7
Archdiocese of New Orleans OCC                                                                 Invoice 131548
05067 - 00002                                                                                  December 31, 2022


                                                                                      Hours            Rate        Amount

 12/22/2022   CHM     BL        Add and review additional documents to Everlaw;        0.50        700.00          $350.00
                                emails with A. Caine re same.

 12/23/2022   AWC     BL        Read withdrawn privilege documents and produced        2.60        700.00      $1,820.00
                                documents to analyze motion to compel (2.40);
                                emails with JW regarding withdrawn privilege
                                claims (.20).

 12/27/2022   AWC     BL        Review newly unredacted documents and previously       3.70        700.00      $2,590.00
                                produced documents to assess motion to compel.

 12/28/2022   JE      BL        Work on standing motion.                               7.60        700.00      $5,320.00

 12/29/2022   AWC     BL        Review withdrawn privilege documents and               4.60        700.00      $3,220.00
                                produced documents to assess motion to compel
                                (4.20); read recent information/reports and emails
                                with Locke and James I. Stang regarding recent
                                information regarding strategy (.40).

 12/29/2022   JE      BL        Work on standing motion.                               1.20        700.00          $840.00

 12/30/2022   JE      BL        Finalize draft standing motion and send to K.          4.70        700.00      $3,290.00
                                Brown.

                                                                                       59.10                  $41,370.00

  Case Administration [B110]
 12/01/2022   MAM     CA        Review dockets and updates to critical dates           0.40        460.00          $184.00
                                memorandum.

 12/02/2022   MAM     CA        Review dockets, update and circulate critical dates    0.30        460.00          $138.00
                                memorandum.

 12/06/2022   MAM     CA        Review dockets and updates to critical dates           0.40        460.00          $184.00
                                memorandum.

 12/07/2022   MAM     CA        Review dockets and update critical dates               0.20        460.00           $92.00
                                memorandum.

 12/07/2022   MAM     CA        Review docket and reply to email from Beth D.          0.20        460.00           $92.00
                                Dassa regarding next omnibus hearing date.

 12/07/2022   BDD     CA        Review critical dates and court calendar re            0.20        460.00           $92.00
                                upcoming omnibus hearing dates and emails G.
                                Brown and M. Matteo re same.

 12/07/2022   BDD     CA        Attend to VFR matters with B. Downing                  0.20        460.00           $92.00

 12/08/2022   MAM     CA        Review dockets and updates to critical dates           0.30        460.00          $138.00
                                memorandum.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 79
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:     8
Archdiocese of New Orleans OCC                                                                 Invoice 131548
05067 - 00002                                                                                  December 31, 2022


                                                                                      Hours            Rate        Amount

 12/08/2022   MAM     CA        Review and reply to email from Gillian N. Brown        0.10        460.00           $46.00
                                regarding fee application objection deadlines.

 12/09/2022   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00          $184.00
                                memorandum.

 12/14/2022   MAM     CA        Review dockets and update critical dates               0.40        460.00          $184.00
                                memorandum.

 12/15/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00          $138.00
                                memorandum.

 12/16/2022   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00          $184.00
                                memorandum.

 12/19/2022   MAM     CA        Review dockets and updates to critical dates           0.30        460.00          $138.00
                                memorandum.

 12/21/2022   MAM     CA        Review dockets and update critical dates               0.30        460.00          $138.00
                                memorandum.

 12/22/2022   BDD     CA        Email G. Brown re motion to increase PSZJ rates        0.10        460.00           $46.00

 12/23/2022   MAM     CA        Review dockets, update and circulate critical dates    0.30        460.00          $138.00
                                memorandum.

 12/28/2022   MAM     CA        Review dockets and updates to critical dates           0.30        460.00          $138.00
                                memorandum.

 12/29/2022   MAM     CA        Review docket and update critical dates                0.30        460.00          $138.00
                                memorandum.

 12/30/2022   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00          $184.00
                                memorandum.

                                                                                        5.80                   $2,668.00

  Claims Admin/Objections[B310]
 11/07/2022   IAWN CO           Exchange emails with Knapp re SOL memorandum           0.10        700.00           $70.00

 11/08/2022   IAWN CO           Exchange emails with Knapp regarding memoradum         0.10        700.00           $70.00
                                regarding SOL

 11/15/2022   IAWN CO           Exchange emails with A. Caine regarding Fed. Dist.     0.10        700.00           $70.00
                                Ct decision regarding SOL and constitutionality

 12/01/2022   AWC     CO        Emails with Gisleson regarding claim supplement        1.40        700.00          $980.00
                                and read supplement.

 12/02/2022   AWC     CO        Emails with Locke and James I. Stang regarding         0.30        700.00          $210.00
                                Gisleson claim supplement.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 80
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                 Page:     9
Archdiocese of New Orleans OCC                                                                    Invoice 131548
05067 - 00002                                                                                     December 31, 2022


                                                                                         Hours            Rate        Amount

 12/02/2022   IAWN CO           Review PSZJ and Locke emails regarding Sorenson           0.20        700.00          $140.00
                                submission regarding confidentiality

 12/02/2022   JIS     CO        Draft email regarding proof of claim and related          0.10        700.00           $70.00
                                insurance issues.

 12/02/2022   JIS     CO        Review article regarding abuse proof of claim and         0.20        700.00          $140.00
                                allegations against B. Aymond.

 12/05/2022   AWC     CO        Read and analyze Debtor’s response to proposed            0.60        700.00          $420.00
                                claim amendment (.40); read Debtor letter to
                                mediator regarding protective order and emails with
                                Locke and James I. Stang thereon (.20).

 12/05/2022   JIS     CO        Call B. Knapp regarding claim amendment.                  0.10        700.00           $70.00

 12/06/2022   AWC     CO        Review and revise email response regarding                0.30        700.00          $210.00
                                Gisleson client proposed claim amendment.

 12/06/2022   IAWN CO           Review Soresen document evidence for POC                  3.50        700.00      $2,450.00
                                amendment

 12/06/2022   IAWN CO           Exchange emails with Janice G. Washington                 0.10        700.00           $70.00
                                regarding sorting claims chart

 12/06/2022   IAWN CO           Review claims chart                                       0.20        700.00          $140.00

 12/12/2022   JIS     CO        Review letter to J. Zive regarding evidentiary memo.      0.20        700.00          $140.00

 12/15/2022   AWC     CO        Read TG motion to file abuse claim.                       0.20        700.00          $140.00

                                                                                           7.70                   $5,390.00

  Fee/Employment Application
 11/21/2022   IAWN FE           Review time records for description for fee               0.20        700.00          $140.00
                                applications

 12/05/2022   GNB     FE        Draft application to increase PSZJ hourly blended         1.60        700.00      $1,120.00
                                rate for attorneys.

 12/05/2022   BDD     FE        Call with G. Brown re increase in cap of PSZJ             0.10        460.00           $46.00
                                hourly rates

 12/05/2022   BDD     FE        Continue working on PSZJ 1st interim fee                  2.80        460.00      $1,288.00
                                application and multiple emails accounting and G.
                                Brown re same.

 12/05/2022   BDD     FE        Review all quarterly fee applications re billing rates    0.70        460.00          $322.00
                                of professionals (attorneys) and email G. Brown re
                                same

 12/06/2022   AWC     FE        Review and revise application to increase PSZJ            0.70        700.00          $490.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 81
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:    10
Archdiocese of New Orleans OCC                                                                   Invoice 131548
05067 - 00002                                                                                    December 31, 2022


                                                                                         Hours           Rate        Amount
                                hourly rate.
 12/06/2022   GNB     FE        Draft application to increase PSZJ hourly blended         0.80       700.00          $560.00
                                rate for attorneys (.3); Draft declaration of Linda F.
                                Cantor in support thereof (.5).

 12/06/2022   GNB     FE        Email James I. Stang and Andrew W. Caine                  0.10       700.00           $70.00
                                regarding application to increase PSZJ hourly
                                blended rate for attorneys.

 12/06/2022   JIS     FE        Review/revise application re rates.                       0.20       700.00          $140.00

 12/07/2022   AWC     FE        Review and revise letter regarding JW 7th fee             0.40       700.00          $280.00
                                application issues.

 12/07/2022   GNB     FE        Email with Beth D. Dassa and Michael A. Matteo            0.10       700.00           $70.00
                                regarding omnibus hearing date for application to
                                increase PSZJ blended hourly rate; Review email
                                from Steven Bryant regarding same; Email re same
                                to Beth D. Dassa and Michael A. Matteo.

 12/08/2022   AWC     FE        Emails with Locke and committee regarding JW fee          0.20       700.00          $140.00
                                application response.

 12/08/2022   GNB     FE        Email Katie McNally regarding Stout retention in          0.10       700.00           $70.00
                                place of The Claro Group.

 12/09/2022   GNB     FE        Email with Andrew W. Caine and Beth D. Dassa              0.10       700.00           $70.00
                                regarding fee applications set for hearing on
                                December 15 and minute order; Email with Bradley
                                C. Knapp and W. Steven Bryant regarding Court's
                                minute order.

 12/09/2022   MAM     FE        Review docket for Gillian N. Brown regarding any          0.20       460.00           $92.00
                                objections to fee applications scheduled for
                                December 15, 2022 hearing.

 12/09/2022   BDD     FE        Review minute order re fee apps and email L.              0.10       460.00           $46.00
                                Cantor re same

 12/11/2022   GNB     FE        Email Stout regarding minute order on fee                 0.10       700.00           $70.00
                                application; Email Berkeley Research Group
                                regarding same; Email RockCreek regarding same.

 12/12/2022   AWC     FE        Read letters regarding JW fee application issues and      0.40       700.00          $280.00
                                emails with Locke thereon.

 12/12/2022   JIS     FE        Review Ashley correspondence regarding JW                 0.20       700.00          $140.00
                                interim fee application.

 12/12/2022   LFC     FE        Review draft compensation orders                          0.20       700.00          $140.00

 12/12/2022   MAM     FE        Review docket and respond to email from Gillian N.        0.20       460.00           $92.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 82
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                               Page:    11
Archdiocese of New Orleans OCC                                                                  Invoice 131548
05067 - 00002                                                                                   December 31, 2022


                                                                                        Hours           Rate        Amount
                                Brown regarding deadlines to submit fee application
                                orders.
 12/12/2022   JMF     FE        Review and edit November PSZJ bill.                      1.10       700.00          $770.00

 12/12/2022   BDD     FE        Email G. Brown re interim fee orders re Committee        0.10       460.00           $46.00
                                professionals

 12/12/2022   BDD     FE        Email M. Matteo re interim fee orders                    0.10       460.00           $46.00

 12/12/2022   BDD     FE        Work on interim fee orders (PSZJ, BRG, Stout, and        1.60       460.00          $736.00
                                Rock Creek) and emails L. Cantor, J. Fried, and
                                notice parties re same

 12/12/2022   BDD     FE        Email N. Brown re lodging fee orders                     0.10       460.00           $46.00

 12/12/2022   BDD     FE        Email J. Fried re Nov. monthly fee statements for        0.10       460.00           $46.00
                                Committee professionals

 12/13/2022   GNB     FE        Revise application to increase PSZJ blended hourly       0.70       700.00          $490.00
                                rate (.3); Draft declarations of Patricia Moody and
                                Andrew W. Caine in support thereof (.3); Prepare
                                proposed order thereon (.1).

 12/13/2022   BDD     FE        Email N. Brown re entered orders on PSZJ, BRG,           0.10       460.00           $46.00
                                Rock Creek and Stout's interim fee applications

 12/14/2022   JMF     FE        Review prebill edits and fee applications and entries    0.90       700.00          $630.00
                                of orders re same.

 12/15/2022   BDD     FE        Email L. Cantor re amounts due PSZJ per fee app          0.10       460.00           $46.00
                                order

 12/16/2022   JMF     FE        Review and finalize PSZJ November statement.             0.30       700.00          $210.00

 12/16/2022   BDD     FE        Email J. Fried re PSZJ Nov monthly fee statement         0.10       460.00           $46.00

 12/16/2022   BDD     FE        Email V. Arias re breakdown of fees owed to PSZJ         0.10       460.00           $46.00
                                per 7th quarterly fee application

 12/16/2022   BDD     FE        Email R. Rothman re PSZJ Nov fee statement               0.10       460.00           $46.00

 12/16/2022   BDD     FE        Email Committee professionals re November                0.10       460.00           $46.00
                                monthly fee statements

 12/16/2022   BDD     FE        Email Committee professionals re breakdown of            0.10       460.00           $46.00
                                monthly fees/expense due on account of last round
                                of quarterly fee applications

 12/16/2022   BDD     FE        Email G. Brown re November fee statements of             0.10       460.00           $46.00
                                Committee professionals

 12/19/2022   LFC     FE        Review fee notices and compensation orders               0.30       700.00          $210.00
                                regarding status of outstanding compensation owed
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 83
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:    12
Archdiocese of New Orleans OCC                                                                 Invoice 131548
05067 - 00002                                                                                  December 31, 2022


                                                                                       Hours           Rate        Amount
                                to Committee professionals (.2); email memos
                                regarding same (.1)
 12/19/2022   JMF     FE        Review PSZJ monthly fee application.                    0.50       700.00          $350.00

 12/19/2022   BDD     FE        Prepare PSZJ Nov fee statement and emails J. Fried      0.90       460.00          $414.00
                                and accounting re same

 12/19/2022   BDD     FE        Email C. Curts re Nov. LEDES file                       0.10       460.00           $46.00

 12/19/2022   BDD     FE        Work on analysis for Committee professionals re         1.10       460.00          $506.00
                                outstanding amounts due and emails L. Cantor re
                                same

 12/19/2022   BDD     FE        Email K. McNally re outstanding amounts due             0.10       460.00           $46.00
                                Claro/Stout

 12/19/2022   BDD     FE        Emails BRG and L. Cantor re outstanding amounts         0.10       460.00           $46.00
                                due

 12/20/2022   AWC     FE        Review spreadsheet of outstanding compensation          0.50       700.00          $350.00
                                and emails with Locke and JW thereon (.30); emails
                                with Locke regarding motion to increase rates, etc.
                                (.20).

 12/20/2022   GNB     FE        Email with Locke Lord regarding motion to increase      0.10       700.00           $70.00
                                fee cap.

 12/20/2022   GNB     FE        Email with Steve Bryan regarding email to Debtor's      0.40       700.00          $280.00
                                counsel regarding payment of Committee
                                professionals' outstanding past due invoices (.2);
                                Email with Beth D. Dassa regarding same (.1).

 12/20/2022   GNB     FE        Draft and revise email to Debtor's counsel regarding    0.40       700.00          $280.00
                                payment of Committee professionals' outstanding
                                past due invoices.

 12/20/2022   GNB     FE        Email with Locke Lord regarding email to Debtor's       0.10       700.00           $70.00
                                counsel regarding outstanding fees.

 12/20/2022   LFC     FE        Review draft email regarding Committee fees             0.10       700.00           $70.00

 12/20/2022   LFC     FE        Review draft motion to revise Committee retention       0.30       700.00          $210.00
                                terms w/r/t counsel fees

 12/20/2022   BDD     FE        Revisions to chart re outstanding fees owed to          0.40       460.00          $184.00
                                Committee professionals and emails L. Cantor and
                                G. Brown re same

 12/21/2022   AWC     FE        Review and revise rate increase motion and emails       0.70       700.00          $490.00
                                with Gillian N. Brown and Locke thereon.

 12/21/2022   GNB     FE        Edit motion to increase rate cap.                       0.10       700.00           $70.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 84
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                             Page:    13
Archdiocese of New Orleans OCC                                                                Invoice 131548
05067 - 00002                                                                                 December 31, 2022


                                                                                      Hours           Rate        Amount

 12/21/2022   BDD     FE        Email K. McNally re Stout/Claro Nov fee statement      0.10       460.00           $46.00

 12/22/2022   AWC     FE        Finalize application to raise rates and emails with    0.40       700.00          $280.00
                                Locke regarding next steps.

 12/22/2022   GNB     FE        Revise PSZJ portion of motion to increase fee cap      0.70       700.00          $490.00
                                (.6); Email with Andrew W. Caine and W. Steven
                                Bryant regarding same.

 12/22/2022   GNB     FE        Email with Beth D. Dassa regarding filing and          0.10       700.00           $70.00
                                service of motion to increase fee cap.

 12/22/2022   LFC     FE        Review November fee statements                         0.20       700.00          $140.00

 12/22/2022   BDD     FE        Revisions to PSZJ Nov fee statement and email N.       0.30       460.00          $138.00
                                Brown re same

 12/22/2022   BDD     FE        Work on cover letters re Committee professionals       0.60       460.00          $276.00
                                Nov fee statements and emails N. Brown re same

 12/22/2022   BDD     FE        Prepare Rock Creek Nov fee statement and email C.      0.60       460.00          $276.00
                                Peirce and J. Spencer re same

 12/22/2022   BDD     FE        Revisions to Stout/Claro Nov fee application and       0.30       460.00          $138.00
                                emails N. Brown re same

 12/22/2022   BDD     FE        Review BRG's Nov fee statement and email N.            0.20       460.00           $92.00
                                Brown re same

 12/22/2022   BDD     FE        Review Committee finalized fee statements with         0.40       460.00          $184.00
                                cover letters and emails to/call with L. Cantor re
                                same

 12/22/2022   BDD     FE        Email P. Moody re Committee Nov fee statements         0.10       460.00           $46.00

 12/23/2022   BDD     FE        Email Notice parties re Committee Nov fee              0.10       460.00           $46.00
                                statements

 12/23/2022   BDD     FE        Email N. Brown re Nov fee statements to mail to        0.10       460.00           $46.00
                                Dell

 12/27/2022   AWC     FE        Review final rate increase motion and emails with      0.30       700.00          $210.00
                                Locke thereon.

 12/27/2022   GNB     FE        Email with Andrew W. Caine and W. Steven Bryant        0.10       700.00           $70.00
                                regarding motion to increase fee cap; Review email
                                from Joshua M. Fried summarizing court order
                                regarding Locke Lord fees.

 12/28/2022   AWC     FE        Emails with Locke, team and JW regarding fees,         0.30       700.00          $210.00
                                orders, payments.

 12/28/2022   GNB     FE        Email with W. Steven Bryant regarding Debtor           0.10       700.00           $70.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 85
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:    14
Archdiocese of New Orleans OCC                                                                 Invoice 131548
05067 - 00002                                                                                  December 31, 2022


                                                                                      Hours            Rate        Amount
                                payments to Committee professionals; Email with
                                Andrew W. Caine and Beth D. Dassa regarding same
                                and regarding fee applications.
 12/28/2022   BDD     FE        Email G. Brown re PSZJ Nov fee statement               0.10        460.00           $46.00

 12/28/2022   BDD     FE        Email G. Brown re Committee professionals receipt      0.10        460.00           $46.00
                                of payment on account of prior quarterly fee
                                applications

 12/29/2022   AWC     FE        Email with JW and Locke regarding rate increase        0.40        700.00          $280.00
                                motion and review final motion.

 12/29/2022   GNB     FE        Email with Beth D. Dassa regarding Committee           0.10        700.00           $70.00
                                professional payments; Email with W. Steven Bryant
                                regarding same.

 12/29/2022   LFC     FE        Review November fee statements and status of           0.20        700.00          $140.00
                                payments from Debtor

 12/29/2022   BDD     FE        Email V. Arias re balance of payment owed PSZJ on      0.10        460.00           $46.00
                                account of 7th quarterly fee application

 12/29/2022   BDD     FE        Email M. Haverkamp re BRG Nov fee statement and        0.10        460.00           $46.00
                                payment received on account of prior quarterly fee
                                application.

 12/29/2022   BDD     FE        Email J. Spencer and C. Peirce re payments received    0.10        460.00           $46.00
                                on account of prior quarterly fee application

 12/29/2022   BDD     FE        Email K. McNally re payments received by               0.10        460.00           $46.00
                                Claro/Stout on account of prior quarterly fee
                                application

 12/29/2022   BDD     FE        Email G. Brown re balance of payments made to all      0.10        460.00           $46.00
                                professionals on account of prior quarterly fee
                                applications

 12/30/2022   BDD     FE        Email M. Haverkamp re BRG payment on account           0.10        460.00           $46.00
                                of prior quarterly fee application

 12/30/2022   BDD     FE        Email A. Caine re BRG payment in full on account       0.10        460.00           $46.00
                                of prior quarterly fee application

                                                                                       28.10                  $16,478.00

  General Creditors Comm. [B150]
 11/28/2022   IAWN GC           Review Knapp email regarding meeting and review        0.10        700.00           $70.00
                                agenda

 12/05/2022   JIS     GC        Review report on hearing re motion for                 0.10        700.00           $70.00
                                reconsideration.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 86
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:    15
Archdiocese of New Orleans OCC                                                                 Invoice 131548
05067 - 00002                                                                                  December 31, 2022


                                                                                      Hours            Rate        Amount

 12/06/2022   AWC     GC        Emails with Locke and James I. Stang regarding         0.30        700.00          $210.00
                                committee meetings.

 12/06/2022   JIS     GC        Weekly status call with Debtor's counsel.              0.10        700.00           $70.00

 12/06/2022   JIS     GC        Call with R. Kuebel regarding response to mediation    0.40        700.00          $280.00
                                letters from debtor and letter regarding claim
                                amendment.

 12/12/2022   AWC     GC        Emails with Locke and James I. Stang regarding         0.40        700.00          $280.00
                                committee meeting, topics, materials.

 12/13/2022   AWC     GC        Committee meeting.                                     1.50        700.00      $1,050.00

 12/13/2022   JIS     GC        Attend committee meeting regarding Archdiocese         1.50        700.00      $1,050.00
                                counteroffer.

 12/30/2022   AWC     GC        Review proposed agenda for committee meeting and       0.20        700.00          $140.00
                                emails with Locke thereon.

                                                                                        4.60                   $3,220.00

  Mediation
 11/01/2022   IAWN ME           Telephone conference with TCC regarding                1.20        700.00          $840.00
                                mediation

 11/01/2022   IAWN ME           Review Knapp email regarding agenda                    0.10        700.00           $70.00

 11/01/2022   IAWN ME           Telephone conference with TCC regarding                0.80        700.00          $560.00
                                mediation

 11/08/2022   IAWN ME           Review Knapp email regarding status                    0.10        700.00           $70.00

 11/09/2022   IAWN ME           Review Knapp email regarding status                    0.10        700.00           $70.00

 11/14/2022   IAWN ME           Review Knapp email regarding agenda                    0.10        700.00           $70.00

 11/15/2022   IAWN ME           Telephone call with TCC regarding mediation            1.50        700.00      $1,050.00

 11/21/2022   IAWN ME           Review Knapp email regarding meeting                   0.10        700.00           $70.00

 11/29/2022   IAWN ME           Telephone conference with TCC regarding                0.80        700.00          $560.00
                                mediation

 12/05/2022   AWC     ME        Read Debtor’s response to mediation demand.            0.60        700.00          $420.00

 12/05/2022   KHB     ME        Review letter from Debtor to mediator re mediation     0.30        700.00          $210.00
                                issues.

 12/06/2022   AWC     ME        Emails with mediator, BRG, Locke, JW and James I.      0.30        700.00          $210.00
                                Stang regarding mediation issues, documents, etc.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 87
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                               Page:    16
Archdiocese of New Orleans OCC                                                                  Invoice 131548
05067 - 00002                                                                                   December 31, 2022


                                                                                        Hours           Rate        Amount

 12/06/2022   IAWN ME           Review Knapp email to UCC regarding status               0.10       700.00           $70.00

 12/06/2022   JIS     ME        Call with Locke Lord and state court counsel             0.60       700.00          $420.00
                                regarding document confidentiality and mediation
                                letter from Debtor.

 12/06/2022   KHB     ME        Review recent authority re third party releases and      0.60       700.00          $420.00
                                email to J. Stang re same.

 12/09/2022   AWC     ME        Review and revise response to JW letter to mediator.     0.80       700.00          $560.00

 12/12/2022   AWC     ME        Review and revise letters to mediator regarding          0.90       700.00          $630.00
                                Mintz letter regarding Gisleson and emails with
                                Locke and counsel thereon (.50); review and revise
                                letter to mediator in response to Debtor counteroffer
                                and emails with James I. Stang and Locke thereon
                                (.40).

 12/13/2022   IAWN ME           Review Knapp email to UCC regarding agenda               0.10       700.00           $70.00

 12/13/2022   IAWN ME           Review attachments to Knapp email                        0.30       700.00          $210.00

 12/13/2022   IAWN ME           Telephone call with UCC regarding status                 1.50       700.00      $1,050.00

 12/14/2022   AWC     ME        Review and revise letter to mediator and emails with     0.30       700.00          $210.00
                                Locke thereon.

 12/14/2022   IAWN ME           Telephone call with UCC p/o regarding mediation          0.70       700.00          $490.00

 12/14/2022   IAWN ME           Revise letter to Zive                                    0.20       700.00          $140.00

 12/14/2022   JIS     ME        Review/revise response to December 5 letter.             0.20       700.00          $140.00

 12/14/2022   JIS     ME        Review/revise response to Debtor's letter.               0.30       700.00          $210.00

 12/15/2022   AWC     ME        Review further revised letter to mediator and emails     0.40       700.00          $280.00
                                with team and Locke thereon.

 12/15/2022   IAWN ME           Telephone call with UCC regarding mediation              1.60       700.00      $1,120.00

 12/15/2022   IAWN ME           Review and revise letter to Zive                         0.30       700.00          $210.00

 12/15/2022   IAWN ME           Further revisions to Zive letter                         0.10       700.00           $70.00

 12/15/2022   JIS     ME        Call with Debtor regarding mediation issues.             1.30       700.00          $910.00

 12/15/2022   JIS     ME        Call with R. Kuebel and S. Golden regarding call         0.40       700.00          $280.00
                                with Debtor regarding mediation issues.

 12/19/2022   JIS     ME        Call with Locke Lord in preparation for mediation        0.50       700.00          $350.00
                                regarding child safety.

 12/19/2022   JIS     ME        Call Matt Babcock regarding status of diligence          0.40       700.00          $280.00
                                regarding affiliates.
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 88
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:    17
Archdiocese of New Orleans OCC                                                                 Invoice 131548
05067 - 00002                                                                                  December 31, 2022


                                                                                       Hours           Rate        Amount

 12/19/2022   JIS     ME        Review abuse materials forwarded from Archdiocese       1.60       700.00      $1,120.00
                                for mediation.

 12/20/2022   JIS     ME        Attend mediation regarding child protection.            2.80       700.00      $1,960.00

 12/20/2022   JIS     ME        Call with R. Kuebel and P. Mooday regarding next        1.30       700.00          $910.00
                                steps in child protection mediation.

 12/21/2022   AWC     ME        Read BRG analysis of ANO mediation financial            0.60       700.00          $420.00
                                information and emails with Locke and James I.
                                Stang regarding strategy.

 12/22/2022   AWC     ME        Emails with BRG regarding additional information        0.80       700.00          $560.00
                                requests for mediation, and review BRG underlying
                                documents.

 12/27/2022   AWC     ME        Review and revise BRG requests regarding                0.70       700.00          $490.00
                                Executive Summary and draft email to counsel
                                thereon.

 12/27/2022   JIS     ME        Call with R. Kuebel regarding call with debtor on       0.50       700.00          $350.00
                                mediation issues.

 12/27/2022   JIS     ME        Call with G. Zive regarding mediation issues.           0.10       700.00           $70.00

 12/28/2022   AWC     ME        Emails with BRG and Locke regarding additional          0.50       700.00          $350.00
                                financial information from Debtor mediation
                                presentation.

 12/28/2022   IAWN ME           Review emails between Lord Locke and PSZJ team          0.20       700.00          $140.00
                                regarding letter to mediator/debtor

 12/28/2022   IAWN ME           Telephone call with Jim Stang regarding status          0.20       700.00          $140.00

 12/28/2022   JIS     ME        Call B. Knapp regarding status of mediation letters.    0.10       700.00           $70.00

 12/28/2022   JIS     ME        Call with J. Zive and R. Kuebel regarding mediation     1.00       700.00          $700.00
                                process.

 12/29/2022   AWC     ME        Review and revise response letter to mediator and       0.50       700.00          $350.00
                                emails with Locke and James I. Stang thereon.

 12/29/2022   JIS     ME        Review and revise mediation letter to J. Zive.          0.40       700.00          $280.00

 12/29/2022   JIS     ME        Call G. Zive regarding response to December 5           0.10       700.00           $70.00
                                letter.

 12/29/2022   JIS     ME        Call R. Kuebel regarding mediation issues.              0.30       700.00          $210.00

 12/30/2022   AWC     ME        Read ANO child protection meeting presentation          1.20       700.00          $840.00
                                and emails with Locke thereon (.40); review related
                                produced documents (.80).
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 89
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                          Page:    18
Archdiocese of New Orleans OCC                                                             Invoice 131548
05067 - 00002                                                                              December 31, 2022


                                                                                   30.50                  $21,350.00

  Plan & Disclosure Stmt. [B320]
 12/12/2022   JIS     PD        Review and revise letter to Zive in response to    0.70        700.00          $490.00
                                Debtor's offer.

 12/15/2022   JIS     PD        Calls to unrepresented survivors re plan issues.   0.70        700.00          $490.00

                                                                                    1.40                       $980.00

  TOTAL SERVICES FOR THIS MATTER:                                                                       $91,806.00
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 90
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                    Page:    19
Archdiocese of New Orleans OCC                                       Invoice 131548
05067 - 00002                                                        December 31, 2022



 Expenses
 11/16/2022   OS        Rust Consulting, Inv. 2022-1524, LFC            275.00
 11/30/2022   RS        Research [E106] Everlaw Inc., Inv. 69473      1,980.00
 12/12/2022   OS        Rust Consulting, Inv. 2022-1676, LFC            275.00
 12/14/2022   RE2       SCAN/COPY ( 18 @0.10 PER PG)                      1.80
 12/22/2022   RE2       SCAN/COPY ( 9 @0.10 PER PG)                       0.90
 12/22/2022   RE2       SCAN/COPY ( 29 @0.10 PER PG)                      2.90
 12/22/2022   RE2       SCAN/COPY ( 10 @0.10 PER PG)                      1.00
 12/22/2022   RE2       SCAN/COPY ( 20 @0.10 PER PG)                      2.00
 12/23/2022   PO        LA Postage                                        2.64
 12/28/2022   LN        05067.00002 Lexis Charges for 12-28-22           72.64
 12/31/2022   OS        Rust Consulting, Inv. 2022-1903, LFC            275.00
 12/31/2022   PAC       Pacer - Court Research                           47.60
 12/31/2022   RS        Research [E106] Everlaw, Inc. Inv. 71548      2,002.00

   Total Expenses for this Matter                                  $4,938.48
  Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 91
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                         Page:    20
Archdiocese of New Orleans OCC                                                            Invoice 131548
05067 - 00002                                                                             December 31, 2022


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        12/31/2022

Total Fees                                                                                            $91,806.00

Total Expenses                                                                                          4,938.48

Total Due on Current Invoice                                                                          $96,744.48

  Outstanding Balance from prior invoices as of        12/31/2022          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 130360                  06/30/2022                $181,667.00             $439.17                     $4,410.00

 131383                  11/30/2022                 $84,054.00            $2,671.92                   $86,725.92

             Total Amount Due on Current and Prior Invoices:                                         $187,880.40
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 92
                                        of 155



                                     EXHIBIT C

                                Monthly Fee Statement
                                   January 2023




  DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 93
                                        of 155



                          IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

      In re:                                                      Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                   Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                    Chapter 11
                         Debtor. 1
                                                                  Objection Deadline: March 14, 2023




                        MONTHLY FEE AND EXPENSE STATEMENT OF
                    PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
                        JANUARY 1, 2023 THROUGH JANUARY 31, 2023

               1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Pachulski Stang Ziehl & Jones LLP (“PSZJ”), co-counsel to The Official Committee of Unsecured

  Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

  debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense Statement (the

  “Statement”) for the period from January 1, 2023 through January 31, 2023 (the “Statement

  Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

               ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

               2.    A summary of the services rendered by PSZJ for which compensation is sought for

  the Statement Period, organized by project category, is attached hereto as Exhibit A.

               3.    A listing of PSZJ attorneys and paraprofessionals (collectively, the “Timekeepers”)

  who rendered service to the Debtor in connection with the Bankruptcy Case during the Statement




  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



  DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 94
                                        of 155



  Period, including the hourly rate, title, and fees earned by each Timekeeper, is attached hereto as

  Exhibit B.

          4.         A summary of expenses incurred by PSZJ during the Statement Period for which

  reimbursement is sought is attached hereto as Exhibit C.

          5.         The detailed time records of PSZJ for the Statement Period are attached hereto as

  Exhibit D.

          6.         In addition, under separate cover, the detailed time records under Exhibit D are

  being sent to the Office of the United States Trustee in the LEDES format.

          7.         As of the date hereof, PSZJ has received fees and expenses totaling $3,541,373.02.

         TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

          8.         The total amounts sought for fees for professional services rendered and

  reimbursement of expenses incurred for the Statement Period are as follows:

                                     January 1, 2023 to January 31, 2023

                     Fees (at standard rates):                     $115,474.50

                     Reduction due to reduced rates2:              ($53,612.50)

                     Reduction due to fee write-offs:               ($1,400.00)

                     Fees (After reductions):                      $60,462.00

                     Expenses:                                       $2,234.91

                     Total                                         $62,296.91




  2
     As disclosed in the Firm’s employment application, the Firm is utilizing rates that are substantially reduced from
  standard rates so that attorney time is capped at a maximum rate of $700 per hour. The reduction set forth here
  accounts for the reduction from the following standard rates: C. Mackle ($925); G. Brown ($975); I. Scharf ($1,125);
  J. Fried ($1,275); I. Nasatir ($1,395); A. Caine ($1,395); K. Brown ($1,525); and J. Stang ($1,695).




                                                           2
  DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 95
                                        of 155



                              NOTICE AND OBJECTION PROCEDURES

          9.         In accordance with the Interim Compensation Order, notice of the Statement has

  been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

  (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

  Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

  David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

  L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

  1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

  P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP,

  445 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg

  Traurig, One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg

  Traurig, 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George,

  Esq., Office of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA

  70130; and (ix) Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box

  2348, Baton Rouge, LA 70821-2348.

          10.        Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before March 14, 2023 (the “Objection Deadline”), setting forth the nature of the

  objection and the specific amount of fees or expenses at issue.

          11.        If no objections to the Statement are received on or before the Objection Deadline,

  the Debtor, pursuant to the Complex Case Order, is authorized to pay PSZJ on an interim basis the

  total amount of $50,604.51, which consists of (a) eighty percent (80%) of PSZJ’s total fees of

  $60,462.00 for the Statement Period in the amount of $48,369.60, plus (b) one hundred percent

  (100%) of total expenses incurred during the Statement Period of $2,234.91.



                                                      3
  DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 96
                                        of 155



          12.        To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.

  Dated: February 28, 2023                                Respectfully submitted,

                                                          By: /s/ Linda F. Cantor
                                                          James I. Stang (CA Bar No. 94435)
                                                          Linda F. Cantor (CA Bar No.153762)
                                                          Pachulski Stang Ziehl & Jones LLP 10100
                                                          Santa Monica Blvd., Suite 1300
                                                          Los Angeles, CA 90067
                                                          Telephone: (310)-277-6910
                                                          Facsimile: (310)-201-0760
                                                          Email: jstang@pszjlaw.com
                                                                   lcantor@pszjlaw.com

                                                          Co-Counsel to the Official Committee of Unsecured
                                                          Creditors




                                                     4
  DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 97
                                        of 155



                                     EXHIBIT A




  DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 98
                                        of 155



                 SUMMARY OF COMPENSATION BY PROJECT CATEGORY
                         DURING COMPENSATION PERIOD
                     JANUARY 1, 2023 THROUGH JANUARY 31, 2023



    Task Code                   Description              Hours         Amount

        AD                   Asset Disposition             0.70         $490.00

        BL                 Bankruptcy Litigation          23.10       $16,146.00

        CA                  Case Administration            8.00        $4,280.00

        CO            Claims Administration/Objections     0.40         $280.00
        FE              Fee/Employment Application         9.90        $5,874.00

        GC               General Creditors Comm.           3.20        $2,240.00

         IC                 Insurance Coverage            14.00        $7,352.00
        ME                       Mediation                34.00       $23,800.00
                                                          93.30       $60,462.00




  DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 99
                                        of 155



                                     EXHIBIT B




  DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 100
                                         of 155




          COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD

                         JANUARY 1, 2023 THROUGH JANUARY 31, 2023


         ID                 Name             Title     Rate     Hours    Amount

         JIS           Stang, James I.      Partner    700.00   13.60   $9,520.00

       AWC            Caine, Andrew W.      Partner    700.00   38.30   $26,810.00

       IAWN           Nasatir, Iain A.W.    Partner    700.00   12.00   $8,400.00
        KHB           Brown, Kenneth H.     Partner    700.00   0.30     $210.00
        JMF            Fried, Joshua M.     Partner    700.00   1.80    $1,260.00

        IDS             Scharf, Ilan D.     Partner    700.00   3.20    $2,240.00
        GNB           Brown, Gillian N.    Counsel     700.00   3.20    $2,240.00

       CHM             Mackle, Cia H.      Counsel     700.00   0.70     $490.00
        BDD            Dassa, Beth D.      Paralegal   460.00   14.70   $6,762.00

       MAM             Matteo, Mike A.     Paralegal   460.00   5.50    $2,530.00
                                                                93.30   $60,462.00




   DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 101
                                         of 155



                                     EXHIBIT C




   DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 102
                                         of 155



                                    EXPENSE SUMMARY
                             DURING COMPENSATION PERIOD
                         JANUARY 1, 2023 THROUGH JANUARY 31, 2023


                                  Description          Amount

                      Conference Call                    $7.27
                      Federal Express                  $103.81
                      Lexis Nexis (Legal Research)      $34.98
                      Outside Services                $2,002.00
                      Pacer-Court Research              $54.90
                      Reproduction/Scan Copy             $2.00
                      Research                          $29.95
                                                      $2,234.91




   DOCS_LA:347500.1
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 103
                                         of 155



                                     EXHIBIT D




   DOCS_LA:347500.1
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 104
                                          of 155

                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  January 31, 2023
JIS                                                               Invoice 131803
                                                                  Client   05067
                                                                  Matter   00002
                                                                           JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2023
               FEES                                                $60,462.00
               EXPENSES                                             $2,234.91
               TOTAL CURRENT CHARGES                               $62,696.91

               BALANCE FORWARD                                    $187,880.40
               LAST PAYMENT                                        $69,915.12
               TOTAL BALANCE DUE                                  $180,662.19
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 105
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                   Page:     2
Archdiocese of New Orleans OCC                                      Invoice 131803
05067 - 00002                                                       January 31, 2023




  Summary of Services by Professional
  ID        Name                        Title             Rate       Hours               Amount

 AWC        Caine, Andrew W.            Partner          700.00      38.30         $26,810.00

 BDD        Dassa, Beth D.              Paralegal        460.00      14.70             $6,762.00

 CHM        Mackle, Cia H.              Counsel          700.00       0.70              $490.00

 GNB        Brown, Gillian N.           Counsel          700.00       3.20             $2,240.00

 IAWN       Nasatir, Iain A. W.         Partner          700.00      12.00             $8,400.00

 IDS        Scharf, Ilan D.             Partner          700.00       3.20             $2,240.00

 JIS        Stang, James I.             Partner          700.00      13.60             $9,520.00

 JMF        Fried, Joshua M.            Partner          700.00       1.80             $1,260.00

 KHB        Brown, Kenneth H.           Partner          700.00       0.30              $210.00

 MAM        Matteo, Mike A.             Paralegal        460.00       5.50             $2,530.00

                                                                    93.30              $60,462.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 106
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                       Page:     3
Archdiocese of New Orleans OCC                                          Invoice 131803
05067 - 00002                                                           January 31, 2023


  Summary of Services by Task Code
  Task Code         Description                                Hours                         Amount

 AD                 Asset Disposition [B130]                     0.70                        $490.00

 BL                 Bankruptcy Litigation [L430]                23.10                      $16,146.00

 CA                 Case Administration [B110]                   8.00                       $4,280.00

 CO                 Claims Admin/Objections[B310]                0.40                        $280.00

 FE                 Fee/Employment Application                   9.90                       $5,874.00

 GC                 General Creditors Comm. [B150]               3.20                       $2,240.00

 IC                 Insurance Coverage                          14.00                       $7,352.00

 ME                 Mediation                                   34.00                      $23,800.00

                                                                93.30                      $60,462.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 107
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                   Page:     4
Archdiocese of New Orleans OCC                                      Invoice 131803
05067 - 00002                                                       January 31, 2023


  Summary of Expenses
  Description                                                                     Amount
Conference Call [E105]                                                             $7.27
Federal Express [E108]                                                           $103.81
Lexis/Nexis- Legal Research [E                                                    $34.98
Outside Services                                                               $2,002.00
Pacer - Court Research                                                            $54.90
Reproduction/ Scan Copy                                                            $2.00
Research [E106]                                                                   $29.95

                                                                               $2,234.91
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 108
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:     5
Archdiocese of New Orleans OCC                                                                 Invoice 131803
05067 - 00002                                                                                  January 31, 2023


                                                                                      Hours            Rate       Amount

  Asset Disposition [B130]
 01/06/2023   AWC     AD        Emails regarding sale closing and skim documents.      0.20         700.00         $140.00

 01/11/2023   AWC     AD        Read Benton memo regarding real property values.       0.20         700.00         $140.00

 01/26/2023   AWC     AD        Emails with BRG regarding NDHS/SAG analysis            0.30         700.00         $210.00
                                and read analysis.

                                                                                        0.70                       $490.00

  Bankruptcy Litigation [L430]
 01/03/2023   AWC     BL        Emails with Locke and James I. Stang regarding         0.20         700.00         $140.00
                                tolling extension, strategy.

 01/04/2023   AWC     BL        Review correspondence and emails with JW               0.60         700.00         $420.00
                                regarding privilege log (.20); review produced
                                documents status to analyze motion to compel
                                strategy (.40).

 01/05/2023   AWC     BL        Call with Locke regarding produced documents,          4.30         700.00        $3,010.00
                                strategy on motion to compel and confidentiality
                                (.70); emails with Locke regarding tolling
                                extension/strategy, revise communication (.50);
                                review produced documents to assess strategy on
                                motion to compel (3.10).

 01/09/2023   AWC     BL        Emails with BRG and Locke regarding data sharing       0.40         700.00         $280.00
                                with TCC (.20); emails with Locke regarding tolling
                                extension (.20).

 01/09/2023   CHM     BL        Upload and brief review of documents.                  0.30         700.00         $210.00

 01/10/2023   AWC     BL        Review draft of confidentiality undesignation          0.60         700.00         $420.00
                                motion and emails with team regarding exhibits.

 01/10/2023   GNB     BL        Research supporting documentation for motion to        0.10         700.00          $70.00
                                remove confidential designations.

 01/11/2023   AWC     BL        Read Brooklyn document discovery decision and          0.60         700.00         $420.00
                                related memo.

 01/13/2023   AWC     BL        Emails with JW and team regarding privilege            0.30         700.00         $210.00
                                log/documents.

 01/17/2023   AWC     BL        Call with Locke regarding motion to                    0.90         700.00         $630.00
                                compel/strategy (.40); draft and revise email to JW
                                regarding hearing (.30); emails with team regarding
                                confidentiality review (.20).

 01/17/2023   GNB     BL        Supplement facts in Committee’s motion to remove       2.70         700.00        $1,890.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 109
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                 Page:     6
Archdiocese of New Orleans OCC                                                                    Invoice 131803
05067 - 00002                                                                                     January 31, 2023


                                                                                         Hours            Rate        Amount
                                confidential designations.
 01/18/2023   AWC     BL        Review updated privilege log and newly produced           2.20         700.00         $1,540.00
                                documents, and emails with Locke regarding
                                strategy (1.10); emails with team regarding
                                confidentiality review and read documents (.90);
                                emails with JW regarding hearing on motion to
                                compel and review agenda (.20).

 01/18/2023   CHM     BL        Upload and brief review of documents.                     0.30         700.00          $210.00

 01/19/2023   AWC     BL        Emails with Locke regarding privilege log                 1.60         700.00         $1,120.00
                                issue/strategy and review underlying documents.

 01/19/2023   GNB     BL        Email with Shelby Chaffos regarding financial             0.10         700.00           $70.00
                                e-documents on Debtor’s website.

 01/20/2023   AWC     BL        Emails with Locke regarding newly produced                0.40         700.00          $280.00
                                documents/privilege claims/strategy.

 01/23/2023   AWC     BL        Emails with Locke and JW regarding privilege log          3.70         700.00         $2,590.00
                                issues (.30); read documents regarding
                                confidentiality issue and emails with Locke thereon
                                (.60); recently produced documents (2.80).

 01/23/2023   BDD     BL        Email G. Brown re ESI production and privilege log.       0.10         460.00           $46.00

 01/24/2023   AWC     BL        Emails with Locke and Draper regarding                    0.90         700.00          $630.00
                                outstanding document requests (.20); read recent 5th
                                Circuit brief regarding prescription issues (.70).

 01/24/2023   CHM     BL        Review email from G. Brown re document uploads            0.10         700.00           $70.00
                                and reply.

 01/24/2023   GNB     BL        Email Beth D. Dassa with document review                  0.20         700.00          $140.00
                                instructions relating to insurance (.1); Email Iain A.
                                W. Nasatir regarding same and email Cia H. Mackle
                                regarding same (1.).

 01/25/2023   AWC     BL        Emails with team and Blank Rome regarding                 0.60         700.00          $420.00
                                insurance related documents (.40); emails with BRG
                                regarding additional information (.20).

 01/26/2023   AWC     BL        Read produced documents to analyze motion to              1.90         700.00         $1,330.00
                                compel.

                                                                                          23.10                      $16,146.00

  Case Administration [B110]
 01/03/2023   AWC     CA        Weekly call with JW regarding case issues (.50);          0.70         700.00          $490.00
                                emails with BRG regarding MOR information (.20).
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 110
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                             Page:     7
Archdiocese of New Orleans OCC                                                                Invoice 131803
05067 - 00002                                                                                 January 31, 2023


                                                                                      Hours           Rate       Amount

 01/03/2023   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 01/04/2023   MAM     CA        Review dockets and updates to critical dates           0.50        460.00        $230.00
                                memorandum.

 01/05/2023   AWC     CA        Emails with BRG and CRI regarding MOR data,            0.20        700.00        $140.00
                                questions.

 01/05/2023   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 01/06/2023   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00        $184.00
                                memorandum.

 01/09/2023   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 01/10/2023   AWC     CA        Call with JW regarding various case matters (.50);     1.10        700.00        $770.00
                                call with James I. Stang and Locke regarding case
                                matters/strategy (.40); emails with BRG and CIR
                                regarding MOR information (.20).

 01/10/2023   MAM     CA        Review dockets and update critical dates               0.20        460.00         $92.00
                                memorandum.

 01/11/2023   MAM     CA        Review dockets regarding critical dates                0.30        460.00        $138.00
                                memorandum.

 01/13/2023   MAM     CA        Review dockets, update and circulate critical dates    0.30        460.00        $138.00
                                memorandum.

 01/16/2023   AWC     CA        Emails with CRI and BRG regarding MOR data             0.50        700.00        $350.00
                                (.20); call with claimant re status (.30).

 01/17/2023   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
                                memorandum.

 01/19/2023   MAM     CA        Review dockets and updates to critical dates           0.40        460.00        $184.00
                                memorandum.

 01/20/2023   MAM     CA        Update and circulate critical dates memorandum.        0.30        460.00        $138.00

 01/24/2023   MAM     CA        Review dockets and updates to critical dates           0.40        460.00        $184.00
                                memorandum.

 01/25/2023   MAM     CA        Review dockets and updates to critical dates           0.30        460.00        $138.00
                                memorandum.

 01/26/2023   MAM     CA        Review dockets, update and circulate critical dates    0.40        460.00        $184.00
                                memorandum.

 01/27/2023   MAM     CA        Review dockets and update critical dates               0.30        460.00        $138.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 111
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:     8
Archdiocese of New Orleans OCC                                                                   Invoice 131803
05067 - 00002                                                                                    January 31, 2023


                                                                                        Hours            Rate       Amount
                                memorandum.
 01/31/2023   MAM     CA        Review dockets and updates to critical dates             0.50         460.00         $230.00
                                memorandum.

                                                                                          8.00                      $4,280.00

  Claims Admin/Objections[B310]
 01/03/2023   AWC     CO        Read O’Donnell motion to file late claim and emails      0.20         700.00         $140.00
                                with Locke thereon.

 01/31/2023   AWC     CO        Read motion and stipulation regarding claim filing.      0.20         700.00         $140.00

                                                                                          0.40                       $280.00

  Fee/Employment Application
 01/06/2023   BDD     FE        Multiple emails K. Mcnally re Stout payments on          0.20         460.00          $92.00
                                account of prior quarterly fee application

 01/10/2023   BDD     FE        Email K. McNally re Stout fee payment                    0.10         460.00          $46.00

 01/12/2023   AWC     FE        Read ANO opposition to fee increase motion and           0.30         700.00         $210.00
                                emails with Locke regarding strategy.

 01/12/2023   GNB     FE        Email Beth D. Dassa regarding Stout supplemental         0.10         700.00          $70.00
                                conflict check.

 01/12/2023   JMF     FE        Review and edit PSZJ December monthly invoice.           1.80         700.00        $1,260.00

 01/13/2023   AWC     FE        Emails with Locke and James I. Stang regarding           0.30         700.00         $210.00
                                ANO objection to fee increase, strategy.

 01/16/2023   AWC     FE        Emails with Locke and James I. Stang regarding rate      0.30         700.00         $210.00
                                motion, strategy.

 01/17/2023   AWC     FE        Emails with counsel and court regarding hearing on       0.20         700.00         $140.00
                                rate increase motion.

 01/17/2023   BDD     FE        Email J. Fried re PSZJ December monthly fee              0.10         460.00          $46.00
                                statement

 01/18/2023   AWC     FE        Review and revise reply regarding rate increase          0.50         700.00         $350.00
                                motion.

 01/19/2023   AWC     FE        Review and revise reply regarding rate increase          0.50         700.00         $350.00
                                motion and emails with Locke regarding strategy.

 01/19/2023   JIS     FE        Review draft objection to motion for increased rates.    0.20         700.00         $140.00

 01/20/2023   BDD     FE        Email L. Cantor re PSZJ December fee statement           0.10         460.00          $46.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 112
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                             Page:     9
Archdiocese of New Orleans OCC                                                                Invoice 131803
05067 - 00002                                                                                 January 31, 2023


                                                                                      Hours           Rate       Amount

 01/23/2023   BDD     FE        Prepare PSZJ Dec fee statement and emails L.           0.60        460.00        $276.00
                                Cantor and R. Rothman re same

 01/23/2023   BDD     FE        Email B. Trilla re Claro December fee statement        0.10        460.00         $46.00

 01/23/2023   BDD     FE        Email P. Shields and M. Haverkamp re BRG Dec fee       0.10        460.00         $46.00
                                statement

 01/23/2023   BDD     FE        Email J. Spencer and C. Peirce re Rock Creek           0.10        460.00         $46.00
                                December fee statement

 01/23/2023   BDD     FE        Email L. Cantor re December fee statement deadline     0.10        460.00         $46.00

 01/23/2023   BDD     FE        Email V. Arias re PSZJ December fee statement          0.10        460.00         $46.00

 01/24/2023   BDD     FE        Email L. Cantor re C'tee approval of PSZJ Dec fee      0.10        460.00         $46.00
                                statement

 01/25/2023   BDD     FE        Email C. Curts re PSZJ Dec monthly fee statement       0.10        460.00         $46.00

 01/25/2023   BDD     FE        Email C. Peirce re Rock Creek December fee             0.10        460.00         $46.00
                                statement

 01/26/2023   AWC     FE        Emails with Locke regarding rate increase motion.      0.20        700.00        $140.00

 01/26/2023   BDD     FE        Revisions to Stout Dec fee statement and emails L.     0.40        460.00        $184.00
                                Cantor and N. Brown re same

 01/26/2023   BDD     FE        Prepare Rock Creek Dec fee statement and emails L.     0.60        460.00        $276.00
                                Cantor, C. Peirce and N. Brown re same

 01/26/2023   BDD     FE        Email P. Shields and M. Haverkamp re BRG               0.10        460.00         $46.00
                                December fee statement

 01/26/2023   BDD     FE        Prepare cover letters re BRG, Stout, and Rock Creek    0.40        460.00        $184.00
                                Dec fee statements and emails N. Brown re same

 01/26/2023   BDD     FE        Review BRG Dec fee statement                           0.20        460.00         $92.00

 01/26/2023   BDD     FE        Email L. Cantor re Stout, Rock Creek & BRG             0.10        460.00         $46.00
                                December fee statements

 01/27/2023   BDD     FE        Email N. Brown re Rock Creek Dec fee statement         0.10        460.00         $46.00

 01/27/2023   BDD     FE        Email M. Haverkamp and P. Shields re service of        0.10        460.00         $46.00
                                BRG December fee statement

 01/27/2023   BDD     FE        Email N. Brown re BRG monthly fee statement            0.10        460.00         $46.00

 01/27/2023   BDD     FE        Email C. Curts re PSZJ Dec fee statement and           0.10        460.00         $46.00
                                LEDES files

 01/27/2023   BDD     FE        Final review of PSZJ, Rock Creek, BRG and Stout        0.30        460.00        $138.00
                                Dec fee statements and email notice parties re same
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 113
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                               Page:    10
Archdiocese of New Orleans OCC                                                                  Invoice 131803
05067 - 00002                                                                                   January 31, 2023


                                                                                       Hours            Rate       Amount

 01/30/2023   AWC     FE        Emails with Locke and JW regarding rate increase        0.50         700.00         $350.00
                                motion and review/revise reply.

 01/31/2023   AWC     FE        Read final reply regarding rate increase motion and     0.60         700.00         $420.00
                                skim exhibits.

                                                                                         9.90                      $5,874.00

  General Creditors Comm. [B150]
 01/03/2023   AWC     GC        Read materials to prepare for (.30) and committee       1.30         700.00         $910.00
                                meeting (1.00).

 01/17/2023   AWC     GC        Committee meeting.                                      0.70         700.00         $490.00

 01/24/2023   JIS     GC        Status call with Archdiocese counsel.                   0.50         700.00         $350.00

 01/30/2023   AWC     GC        Emails with Locke and committee regarding               0.30         700.00         $210.00
                                meetings.

 01/31/2023   JIS     GC        Call with Debtor's counsel regarding mediation, case    0.40         700.00         $280.00
                                status.

                                                                                         3.20                      $2,240.00

  Insurance Coverage
 01/16/2023   IDS     IC        Review coverage analysis prepared in advance of         2.20         700.00        $1,540.00
                                mediation

 01/17/2023   JIS     IC        (Partial) Attend meeting with Locke Lord and Claro      0.80         700.00         $560.00
                                regarding insurance analysis.

 01/17/2023   IDS     IC        Call with PSZJ, Locke Lorde, Claro teams regarding      0.80         700.00         $560.00
                                insurance allocation in advance of mediation

 01/20/2023   BDD     IC        Email G. Brown re recent production of insurance        0.10         460.00          $46.00
                                docs and Everlaw research re same.

 01/24/2023   BDD     IC        Emails PSZJ team re produced document relating to       0.20         460.00          $92.00
                                insurance coverage

 01/24/2023   BDD     IC        Review documents produced since July 2022 per I.        3.60         460.00        $1,656.00
                                Nasatir request

 01/25/2023   BDD     IC        Email PSZJ team re Blank Rome produced                  0.10         460.00          $46.00
                                documents

 01/25/2023   BDD     IC        Review/analyze insurance policies produced by           5.80         460.00        $2,668.00
                                Blank Rome and emails I. Nasatir and G. Brown re
                                same.
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 114
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:    11
Archdiocese of New Orleans OCC                                                                   Invoice 131803
05067 - 00002                                                                                    January 31, 2023


                                                                                        Hours            Rate       Amount

 01/26/2023   BDD     IC        Review additional insurance policies provided by         0.40         460.00         $184.00
                                Blank Rome and emails I. Nasatir re same

                                                                                         14.00                      $7,352.00

  Mediation
 01/03/2023   AWC     ME        Review and revise request for additional information     0.90         700.00         $630.00
                                regarding mediation financials and emails with JW
                                and Locke thereon (.30); review and revise proposed
                                questions regarding non-monetary/child protection
                                issues (.60).

 01/04/2023   AWC     ME        Read revised child protection questions and emails       0.60         700.00         $420.00
                                with Locke and counsel thereon.

 01/05/2023   KHB     ME        Emails with S. Bryant and A. Caine re extending          0.30         700.00         $210.00
                                tolling agreement.

 01/09/2023   AWC     ME        Emails with JW, Locke and James I. Stang regarding       0.30         700.00         $210.00
                                mediation, dates, agenda.

 01/10/2023   AWC     ME        Emails with Locke and James I. Stang and                 0.30         700.00         $210.00
                                committee regarding mediation.

 01/10/2023   JIS     ME        Call with state court counsel regarding                  1.30         700.00         $910.00
                                non-monetary issues.

 01/10/2023   JIS     ME        Call with Debtor (partial) and follow up call with       1.30         700.00         $910.00
                                Locke Lord regarding mediation issues.

 01/12/2023   AWC     ME        Emails with BRG regarding additional information         0.40         700.00         $280.00
                                requests, status (.20); emails with UCC professionals
                                regarding mediation preparation (.20).

 01/12/2023   JIS     ME        Call BRG regarding open financial issues related to      0.60         700.00         $420.00
                                upcoming mediation.

 01/12/2023   JIS     ME        Call Jason Amala re case status.                         0.30         700.00         $210.00

 01/13/2023   AWC     ME        Emails with committee professionals regarding            0.30         700.00         $210.00
                                mediation preparation.

 01/13/2023   IAWN ME           Exchange emails with Claro re Brighton verdict           0.10         700.00          $70.00

 01/13/2023   IAWN ME           Exchange emails with J. Stang re Claro role              0.10         700.00          $70.00

 01/17/2023   AWC     ME        Emails with mediator regarding mediation,                1.10         700.00         $770.00
                                issues(.10); call with Locke regarding mediation
                                issues/meetings (.20); emails with Locke regarding
                                new financial documents from Debtor and skim
                                documents (.50); emails with JW regarding new
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 115
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                            Page:    12
Archdiocese of New Orleans OCC                                                               Invoice 131803
05067 - 00002                                                                                January 31, 2023


                                                                                     Hours           Rate       Amount
                                financial documents/meeting to discuss and emails
                                with BRG thereon (.30).
 01/17/2023   IAWN ME           Telephone call with Locke Lord and PSZJ re            0.80        700.00        $560.00
                                mediation

 01/17/2023   IAWN ME           Telephone call with J. Stang and team re telephone    0.20        700.00        $140.00
                                call

 01/17/2023   IAWN ME           Telephone call with TCC re mediation                  0.80        700.00        $560.00

 01/17/2023   IAWN ME           Mediation preparation reviewing emails with           0.20        700.00        $140.00
                                Murray for information.

 01/17/2023   IAWN ME           Email Murray re missing information                   0.10        700.00         $70.00

 01/17/2023   IAWN ME           Review meeting agenda                                 0.10        700.00         $70.00

 01/17/2023   IAWN ME           Review stang email to Zive re mediation               0.10        700.00         $70.00

 01/17/2023   IDS     ME        Call with PSZJ, Lock Lorde team regarding             0.20        700.00        $140.00
                                mediation.

 01/18/2023   AWC     ME        Emails with JW and BRG regarding financial            0.40        700.00        $280.00
                                advisors meeting, additional information.

 01/18/2023   JIS     ME        Call with G. Zive regarding mediation status.         0.90        700.00        $630.00

 01/18/2023   JIS     ME        Call R. Kuebel regarding call with mediator and       0.40        700.00        $280.00
                                mediation issues.

 01/20/2023   AWC     ME        Emails with team and Committee professionals          0.60        700.00        $420.00
                                regarding information needed for mediation
                                preparation and review charts.

 01/20/2023   IAWN ME           Review status of document production in               1.30        700.00        $910.00
                                preparation for mediation

 01/20/2023   IAWN ME           Exchange emails with K. Brown and C. Mackle re        0.10        700.00         $70.00
                                document productions

 01/20/2023   IAWN ME           Review J. Stang Claro emails regarding proofs of      0.20        700.00        $140.00
                                claim

 01/20/2023   IAWN ME           Exchange emails with paralegals re document           0.10        700.00         $70.00
                                review

 01/20/2023   IAWN ME           Exchange emails with A. Caine re documents            0.10        700.00         $70.00

 01/20/2023   JIS     ME        Review Claro claims notebooks.                        0.10        700.00         $70.00

 01/23/2023   IAWN ME           Review Claro request for information, research and    1.00        700.00        $700.00
                                respond to same
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 116
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                             Page:    13
Archdiocese of New Orleans OCC                                                                Invoice 131803
05067 - 00002                                                                                 January 31, 2023


                                                                                      Hours           Rate       Amount

 01/23/2023   JIS     ME        Call with BRG and Locke Lord regarding financial       1.10        700.00         $770.00
                                analysis for mediation.

 01/24/2023   AWC     ME        Emails with team regarding mediation prep,             0.80        700.00         $560.00
                                documents (.40); emails with BRG and Locke
                                regarding new financial documents (.20); emails
                                with Locke regarding mediation approach (.20).

 01/24/2023   IAWN ME           Telephone call with J. Stang re mediation              0.30        700.00         $210.00

 01/24/2023   IAWN ME           Review Claro emails re allocations for mediation       0.10        700.00          $70.00

 01/24/2023   IAWN ME           Review LA case law re occurrence and expected or       2.50        700.00        $1,750.00
                                intended

 01/24/2023   IAWN ME           Respond to Claro inquiry re allocation                 0.10        700.00          $70.00

 01/24/2023   JIS     ME        Call with R. Kuebel regarding mediation planning       0.70        700.00         $490.00
                                and agenda.

 01/26/2023   AWC     ME        Emails with committee professionals regarding          0.80        700.00         $560.00
                                information and analyses for mediation and review
                                documents and updated analyses.

 01/26/2023   IAWN ME           Review documents referenced in debtor's coverage       1.30        700.00         $910.00
                                counsel email

 01/26/2023   IAWN ME           Exchange emails with B. Dassa re cross check VFR       0.10        700.00          $70.00
                                with Everlaw

 01/27/2023   AWC     ME        Emails with Locke and BRG regarding deferred           0.60        700.00         $420.00
                                maintenance analysis, information, visit (.30);
                                emails with Claro regarding claim and insurance
                                information/analyses (.30).

 01/27/2023   IAWN ME           Review Claro report                                    1.00        700.00         $700.00

 01/30/2023   AWC     ME        Emails with BRG regarding additional information       1.10        700.00         $770.00
                                for financial analysis (.20); emails with JW and
                                mediator regarding mediation preparation (.20);
                                emails with Locke regarding proposed mediation
                                schedule (.20); discussion with James I. Stang
                                regarding approach, materials and review potential
                                materials (.50).

 01/30/2023   IAWN ME           Exchange emails with Locke Lord and PSZJ team re       0.20        700.00         $140.00
                                mediation agenda

 01/30/2023   IAWN ME           Review PowerPoint presentation                         0.20        700.00         $140.00

 01/30/2023   IAWN ME           Exchange emails re PowerPoint with J. Stang            0.20        700.00         $140.00

 01/30/2023   JIS     ME        Call with mediator and certain state court counsel.    2.00        700.00        $1,400.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 117
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:    14
Archdiocese of New Orleans OCC                                                                   Invoice 131803
05067 - 00002                                                                                    January 31, 2023


                                                                                        Hours            Rate        Amount

 01/31/2023   AWC     ME        Emails with Locke and JW regarding mediation             1.60         700.00         $1,120.00
                                agenda (.30); meeting with BRG regarding
                                mediation/materials & information (1,30).

 01/31/2023   IAWN ME           Telephone call with J. Stang re estimation.              0.60         700.00          $420.00

 01/31/2023   IAWN ME           Exchange emails with Claro re Bedivere                   0.10         700.00           $70.00

 01/31/2023   JIS     ME        Call R. Kuebel regarding mediation issues.               0.50         700.00          $350.00

 01/31/2023   JIS     ME        Call Iain Nasatir regarding insurance coverage for       0.60         700.00          $420.00
                                mediation.

 01/31/2023   JIS     ME        Call with BRG and Locke Lord re financial                1.30         700.00          $910.00
                                presentation for mediation.

 01/31/2023   JIS     ME        Call I. Nasatir regarding insurance issues related to    0.60         700.00          $420.00
                                upcoming mediation.

                                                                                         34.00                      $23,800.00

  TOTAL SERVICES FOR THIS MATTER:                                                                               $60,462.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 118
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                    Page:    15
Archdiocese of New Orleans OCC                                                       Invoice 131803
05067 - 00002                                                                        January 31, 2023



 Expenses
 08/24/2022   RS        Research [E106] HeinOnline Article for JIS, L. Forrester         29.95
 12/28/2022   CC        Conference Call [E105] AT&T Conference Call, JIS                  7.27
 01/05/2023   FE        NO.00001 FedEx Charges for 01-05-23                              29.32
 01/13/2023   RE2       SCAN/COPY ( 20 @0.10 PER PG)                                      2.00
 01/17/2023   FE        NO.00001 FedEx Charges for 01-17-23                              20.25
 01/18/2023   FE        NO.00001 FedEx Charges for 01-18-23                              32.26
 01/18/2023   FE        NO.00001 FedEx Charges for 01-18-23                              21.98
 01/18/2023   LN        05067.00002 Lexis Charges for 01-18-23                           34.98
 01/31/2023   OS        Everlaw, Inv. 73707, Archdiocese of New Orleans database      2,002.00
                        for the month of January 2023
 01/31/2023   PAC       Pacer - Court Research                                           54.90

   Total Expenses for this Matter                                                  $2,234.91
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 119
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                         Page:    16
Archdiocese of New Orleans OCC                                                            Invoice 131803
05067 - 00002                                                                             January 31, 2023


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        01/31/2023

Total Fees                                                                                             $60,462.00

Total Expenses                                                                                           2,234.91

Total Due on Current Invoice                                                                           $62,696.91

  Outstanding Balance from prior invoices as of        01/31/2023          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed              Balance Due
 130360                  06/30/2022                $181,667.00             $439.17                      $4,410.00

 131383                  11/30/2022                 $84,054.00            $2,671.92                    $16,810.80

 131548                  12/31/2022                 $91,806.00            $4,938.48                    $96,744.48

             Total Amount Due on Current and Prior Invoices:                                          $180,662.19
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 120
                                         of 155



                                     EXHIBIT D

                                Monthly Fee Statement
                                   February 2023




   DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 121
                                         of 155



                           IN THE UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF LOUISIANA

       In re:                                                      Case No. 20-10846

       THE ROMAN CATHOLIC CHURCH                                   Section “A”
       OF THE ARCHDIOCESE OF NEW
       ORLEANS,                                                    Chapter 11
                          Debtor. 1
                                                                   Objection Deadline: April 11, 2023




                         MONTHLY FEE AND EXPENSE STATEMENT OF
                     PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
                        FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

                1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

   Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

   Pachulski Stang Ziehl & Jones LLP (“PSZJ”), co-counsel to The Official Committee of Unsecured

   Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned debtor and

   debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense Statement (the

   “Statement”) for the period from February 1, 2023 through February 28, 2023 (the “Statement

   Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

                ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

                2.    A summary of the services rendered by PSZJ for which compensation is sought for

   the Statement Period, organized by project category, is attached hereto as Exhibit A.

                3.    A listing of PSZJ attorneys and paraprofessionals (collectively, the “Timekeepers”)

   who rendered service to the Debtor in connection with the Bankruptcy Case during the Statement




   1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 122
                                         of 155



   Period, including the hourly rate, title, and fees earned by each Timekeeper, is attached hereto as

   Exhibit B.

           4.       A summary of expenses incurred by PSZJ during the Statement Period for which

   reimbursement is sought is attached hereto as Exhibit C.

           5.       The detailed time records of PSZJ for the Statement Period are attached hereto as

   Exhibit D.

           6.       In addition, under separate cover, the detailed time records under Exhibit D are

   being sent to the Office of the United States Trustee in the LEDES format.

           7.       As of the date hereof, PSZJ has received fees and expenses totaling $3,619,756.30.

          TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

           8.       The total amounts sought for fees for professional services rendered and

   reimbursement of expenses incurred for the Statement Period are as follows:

                                    February 1, 2023 to February 28, 2023

                    Fees (at standard rates):                       $255,802.50

                    Reduction due to reduced rates2:                ($112,894.00)

                    Reduction due to fee write-offs:                   ($3,080.00)

                    Fees (After reductions):                        $139,828.50

                    Expenses:                                          $5,333.84

                    Total                                           $145,162.34




   2
      As disclosed in the Firm’s employment application, the Firm is utilizing rates that are substantially reduced from
   standard rates so that attorney time is capped at a maximum rate of $800 per hour. The reduction set forth here
   accounts for the reduction from the following standard rates: C. Mackle ($925); G. Brown ($975); J. Fried ($1,275);
   I. Nasatir ($1,395); A. Caine ($1,395); L. Cantor ($1,450); K. Brown ($1,525); and J. Stang ($1,695).




                                                            2
   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 123
                                         of 155



                                NOTICE AND OBJECTION PROCEDURES

           9.       In accordance with the Interim Compensation Order, notice of the Statement has

   been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

   (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

   Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

   David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

   L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

   1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

   P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP,

   445 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg

   Traurig, One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg

   Traurig, 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George,

   Esq., Office of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA

   70130; and (ix) Stewart Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box

   2348, Baton Rouge, LA 70821-2348.

           10.      Also pursuant to the Complex Case Order, any objections to this Statement must

   be asserted on or before April 11, 2023 (the “Objection Deadline”), setting forth the nature of the

   objection and the specific amount of fees or expenses at issue.

           11.      If no objections to the Statement are received on or before the Objection Deadline,

   the Debtor, pursuant to the Complex Case Order, is authorized to pay PSZJ on an interim basis the

   total amount of $117,196.64, which consists of (a) eighty percent (80%) of PSZJ’s total fees of

   $139,828.50 for the Statement Period in the amount of $111,862.80, plus (b) one hundred percent

   (100%) of total expenses incurred during the Statement Period of $5,333.84.



                                                     3
   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 124
                                         of 155



           12.      To the extent an objection to the Statement is received on or before the Objection

   Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

   is directed and will promptly pay the remainder of the fees and disbursements in the percentages

   set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

   for consideration at the next interim fee application hearing.

   Dated: March 28, 2023                                 Respectfully submitted,

                                                         By: /s/ Linda F. Cantor
                                                         James I. Stang (CA Bar No. 94435)
                                                         Linda F. Cantor (CA Bar No.153762)
                                                         Pachulski Stang Ziehl & Jones LLP 10100
                                                         Santa Monica Blvd., Suite 1300
                                                         Los Angeles, CA 90067
                                                         Telephone: (310)-277-6910
                                                         Facsimile: (310)-201-0760
                                                         Email: jstang@pszjlaw.com
                                                                  lcantor@pszjlaw.com

                                                         Co-Counsel to the Official Committee of Unsecured
                                                         Creditors




                                                    4
   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 125
                                         of 155



                                     EXHIBIT A




   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 126
                                         of 155



                   SUMMARY OF COMPENSATION BY PROJECT CATEGORY
                           DURING COMPENSATION PERIOD
                      FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023



     Task Code                            Description              Hours     Amount

          AA                             Asset Analysis              1.80     $1,440.00

          BL                         Bankruptcy Litigation          12.80    $10,240.00

          CA                          Case Administration            5.70     $2,821.50

          CO                    Claims Administration/Objections     1.00      $800.00
          FE                      Fee/Employment Application        18.20    $12,367.00

          GC                       General Creditors Comm.          18.10    $14,480.00

         ME                                Mediation               101.50    $81,200.00
          PD                      Plan & Disclosure Statement        5.10     $4,080.00
          TR                                Travel                  31.00    $12,400.00
                                                                   195.20   $139,828.50




   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 127
                                         of 155



                                     EXHIBIT B




   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 128
                                         of 155




          COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD

                         FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023


         ID                     Name           Title     Rate     Hours     Amount

         JIS              Stang, James I.     Partner    800.00   40.90    $32,720.00
         JIS              Stang, James I.     Partner    400.00   14.00     $5,600.00

        AWC             Caine, Andrew W.      Partner    800.00   44.80    $35,840.00

        AWC             Caine, Andrew W.      Partner    400.00   17.00     $6,800.00
        LFC              Cantor, Linda F.     Partner    800.00    1.30     $1,040.00
       IAWN             Nasatir, Iain A.W.    Partner    800.00   56.00    $44,800.00
        KHB            Brown, Kenneth H.      Partner    800.00    2.50     $2,000.00
        JMF              Fried, Joshua M.     Partner    800.00    1.90     $1,520.00

        GNB             Brown, Gillian N.    Counsel     800.00    0.80     $640.00

        CHM               Mackle, Cia H.     Counsel     800.00    1.70     $1,360.00
        BDD               Dassa, Beth D.     Paralegal   545.00    8.60     $4,687.00

       MAM               Matteo, Mike A.     Paralegal   495.00    5.70     $2,821.50
                                                                  195.20   $139,828.50




   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 129
                                         of 155



                                     EXHIBIT C




   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 130
                                         of 155



                                     EXPENSE SUMMARY
                              DURING COMPENSATION PERIOD
                         FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023


                                   Description          Amount

                       Auto Travel Expense               $65.28
                       Working Meals                     $95.58
                       Hotel Expense                    $946.74
                       Lexis Nexis (Legal Research)      $87.00
                       Outside Services                $2,002.00
                       Postage                          $167.94
                       Pacer-Court Research              $28.80
                       Reproduction Expense            $1,727.20
                       Reproduction/Scan Copy            $15.30
                       Travel Expense                   $198.00
                                                       $5,333.84




   DOCS_LA:348074.2 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 131
                                         of 155



                                     EXHIBIT D




   DOCS_LA:348074.2 05067/002
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 132
                                          of 155

                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                  February 28, 2023
JIS                                                               Invoice 132063
                                                                  Client   05067
                                                                  Matter   00002
                                                                           JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2023
               FEES                                               $139,828.50
               EXPENSES                                             $5,333.84
               TOTAL CURRENT CHARGES                              $145,162.34

               BALANCE FORWARD                                    $114,111.20
               TOTAL BALANCE DUE                                  $259,273.54
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 133
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                   Page:     2
Archdiocese of New Orleans OCC                                      Invoice 132063
05067 - 00002                                                       February 28, 2023




  Summary of Services by Professional
  ID        Name                        Title             Rate       Hours              Amount

 AWC        Caine, Andrew W.            Partner          400.00      17.00          $6,800.00

 AWC        Caine, Andrew W.            Partner          800.00      44.80         $35,840.00

 BDD        Dassa, Beth D.              Paralegal        545.00       8.60          $4,687.00

 CHM        Mackle, Cia H.              Counsel          800.00       1.70          $1,360.00

 GNB        Brown, Gillian N.           Counsel          800.00       0.80              $640.00

 IAWN       Nasatir, Iain A. W.         Partner          800.00      56.00         $44,800.00

 JIS        Stang, James I.             Partner          400.00      14.00          $5,600.00

 JIS        Stang, James I.             Partner          800.00      40.90         $32,720.00

 JMF        Fried, Joshua M.            Partner          800.00       1.90          $1,520.00

 KHB        Brown, Kenneth H.           Partner          800.00       2.50          $2,000.00

 LFC        Cantor, Linda F.            Partner          800.00       1.30          $1,040.00

 MAM        Matteo, Mike A.             Paralegal        495.00       5.70          $2,821.50

                                                                   195.20          $139,828.50
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 134
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                       Page:     3
Archdiocese of New Orleans OCC                                          Invoice 132063
05067 - 00002                                                           February 28, 2023


  Summary of Services by Task Code
  Task Code         Description                                Hours                         Amount

 AA                 Asset Analysis/Recovery[B120]                1.80                       $1,440.00

 BL                 Bankruptcy Litigation [L430]                12.80                   $10,240.00

 CA                 Case Administration [B110]                   5.70                       $2,821.50

 CO                 Claims Admin/Objections[B310]                1.00                        $800.00

 FE                 Fee/Employment Application                  18.20                   $12,367.00

 GC                 General Creditors Comm. [B150]              18.10                   $14,480.00

 ME                 Mediation                                  101.50                   $81,200.00

 PD                 Plan & Disclosure Stmt. [B320]               5.10                       $4,080.00

 TR                 Travel                                      31.00                   $12,400.00

                                                               195.20                  $139,828.50
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 135
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                   Page:     4
Archdiocese of New Orleans OCC                                      Invoice 132063
05067 - 00002                                                       February 28, 2023


  Summary of Expenses
  Description                                                                     Amount
Auto Travel Expense [E109]                                                        $65.28
Working Meals [E111]                                                              $95.58
Hotel Expense [E110]                                                             $946.74
Lexis/Nexis- Legal Research [E                                                    $87.00
Outside Services                                                               $2,002.00
Pacer - Court Research                                                            $28.80
Postage [E108]                                                                   $167.94
Reproduction Expense [E101]                                                    $1,727.20
Reproduction/ Scan Copy                                                           $15.30
Travel Expense [E110]                                                            $198.00

                                                                               $5,333.84
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 136
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:     5
Archdiocese of New Orleans OCC                                                                   Invoice 132063
05067 - 00002                                                                                    February 28, 2023


                                                                                        Hours            Rate        Amount

  Asset Analysis/Recovery[B120]
 02/01/2023   AWC     AA        Emails with Locke and BRG regarding deferred             0.40         800.00          $320.00
                                maintenance due diligence.

 02/03/2023   JIS     AA        Call with Matt Babacock regarding scheduling of          0.30         800.00          $240.00
                                site visits.

 02/03/2023   JIS     AA        Call Matt Dundon regarding scheduling of site            0.30         800.00          $240.00
                                visits.

 02/03/2023   JIS     AA        Call B. Knapp re scheduling of site visits.              0.10         800.00           $80.00

 02/21/2023   AWC     AA        Emails with JW, Locke and James I. Stang regarding       0.30         800.00          $240.00
                                loan, other asset issues and further information.

 02/27/2023   AWC     AA        Emails with Locke and JW regarding NDHS/SAG              0.40         800.00          $320.00
                                sale, additional documents (.20); emails with BRG
                                regarding additional asset investigation (.20).

                                                                                          1.80                       $1,440.00

  Bankruptcy Litigation [L430]
 02/03/2023   AWC     BL        Read produced documents to assess motion to              1.80         800.00         $1,440.00
                                compel.

 02/06/2023   AWC     BL        Emails and call with Locke regarding motion to           0.60         800.00          $480.00
                                compel/issues/approach (.40); call with JW
                                regarding hearing on motion to compel/issues (.20).

 02/07/2023   AWC     BL        Read order continuing hearing on motion to compel        0.60         800.00          $480.00
                                (.10); emails with JW regarding additional
                                production and skim documents (.30); read Draper
                                letter regarding additional financial information and
                                emails with Locke and BRG thereon (.20).

 02/07/2023   CHM     BL        Upload documents to Everlaw and brief review of          0.30         800.00          $240.00
                                same.

 02/08/2023   AWC     BL        Emails with BRG and Locke regarding affiliate            1.10         800.00          $880.00
                                production, issues, approach (.30); emails with JW
                                and team regarding additional production and skim
                                documents (.40); review proposed agreements,
                                motion and order extending tolling deadline (.40).

 02/08/2023   CHM     BL        Review spreadsheet issue and emails with counsel         0.30         800.00          $240.00
                                and Everlaw re upload issue.

 02/09/2023   AWC     BL        Emails with BRG and Locke regarding response to          2.10         800.00         $1,680.00
                                Draper letter and revise response (.30); emails with
                                Locke regarding new production, additional
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 137
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                               Page:     6
Archdiocese of New Orleans OCC                                                                  Invoice 132063
05067 - 00002                                                                                   February 28, 2023


                                                                                       Hours            Rate        Amount
                                information (.30); review newly produced
                                documents (.80); research regarding underlying legal
                                issues (.70).
 02/09/2023   CHM     BL        Upload document productions and brief review            0.80         800.00          $640.00
                                thereof.

 02/10/2023   AWC     BL        Emails with Locke regarding tolling, NDHS/SAG           2.90         800.00         $2,320.00
                                (.20); emails with Locke and BRG regarding
                                additional affiliate documents (.20); emails with
                                Locke regarding missing documents and review
                                correspondence (.40); review produced documents
                                to prepare for counsel discussions (.2.10).

 02/13/2023   CHM     BL        Emails with B. Knapp and update Everlaw database.       0.30         800.00          $240.00

 02/15/2023   AWC     BL        Review correspondence and email to JW regarding         0.20         800.00          $160.00
                                privilege log response status.

 02/16/2023   IAWN BL           Exchange emails with certain SCC regarding              0.10         800.00           $80.00
                                meeting.

 02/17/2023   AWC     BL        Emails with JW and BRG regarding additional             0.50         800.00          $400.00
                                information (.20); emails with Locke regarding
                                additional document requests (.30).

 02/21/2023   AWC     BL        Emails with team and committee professionals            0.20         800.00          $160.00
                                regarding investigation.

 02/23/2023   AWC     BL        Read filed motion to extend tolling stipulation and     0.20         800.00          $160.00
                                notice of hearing.

 02/27/2023   GNB     BL        Email with Andrew W. Caine regarding                    0.10         800.00           $80.00
                                pension-related discovery.

 02/27/2023   GNB     BL        Two telephone conferences with Cia H. Mackle            0.10         800.00           $80.00
                                regarding pension-related discovery and document
                                production restrictions.

 02/27/2023   GNB     BL        Research pension discovery issues.                      0.20         800.00          $160.00

 02/27/2023   GNB     BL        Draft email to Matthew K. Babcock regarding             0.10         800.00           $80.00
                                pension-related discovery.

 02/28/2023   AWC     BL        Review correspondence and emails with JW                0.20         800.00          $160.00
                                regarding privilege log issues.

 02/28/2023   GNB     BL        Email with Matthew K. Babcock regarding                 0.10         800.00           $80.00
                                pension-related documents and additional document
                                requests.

                                                                                        12.80                   $10,240.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 138
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                             Page:     7
Archdiocese of New Orleans OCC                                                                Invoice 132063
05067 - 00002                                                                                 February 28, 2023


                                                                                      Hours           Rate        Amount

  Case Administration [B110]
 02/01/2023   MAM     CA        Review dockets and update critical dates               0.30        495.00         $148.50
                                memorandum.

 02/02/2023   MAM     CA        Review dockets and update critical dates               0.20        495.00          $99.00
                                memorandum.

 02/03/2023   MAM     CA        Review dockets, update and circulate critical dates    0.40        495.00         $198.00
                                memorandum.

 02/06/2023   MAM     CA        Review dockets and updates to critical dates           0.30        495.00         $148.50
                                memorandum.

 02/07/2023   MAM     CA        Review dockets and updates to critical dates           0.40        495.00         $198.00
                                memorandum.

 02/08/2023   MAM     CA        Review dockets and updates to critical dates           0.30        495.00         $148.50
                                memorandum.

 02/09/2023   MAM     CA        Review dockets and update critical dates               0.20        495.00          $99.00
                                memorandum.

 02/10/2023   MAM     CA        Review dockets, update and circulate critical dates    0.30        495.00         $148.50
                                memorandum.

 02/13/2023   MAM     CA        Review dockets and updates to critical dates           0.30        495.00         $148.50
                                memorandum.

 02/14/2023   MAM     CA        Review dockets and updates to critical dates           0.40        495.00         $198.00
                                memorandum.

 02/15/2023   MAM     CA        Review dockets and updates to critical dates           0.30        495.00         $148.50
                                memorandum.

 02/16/2023   MAM     CA        Review dockets and updates to critical dates           0.30        495.00         $148.50
                                memorandum.

 02/17/2023   MAM     CA        Review dockets, update and circulate critical dates    0.40        495.00         $198.00
                                memorandum.

 02/21/2023   MAM     CA        Review dockets and updates to critical dates           0.30        495.00         $148.50
                                memorandum.

 02/22/2023   MAM     CA        Review dockets and updates to critical dates           0.30        495.00         $148.50
                                memorandum.

 02/23/2023   MAM     CA        Review dockets and update critical dates               0.30        495.00         $148.50
                                memorandum.

 02/24/2023   MAM     CA        Review dockets, update and circulate critical dates    0.40        495.00         $198.00
                                memorandum.
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 139
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:     8
Archdiocese of New Orleans OCC                                                                   Invoice 132063
05067 - 00002                                                                                    February 28, 2023


                                                                                        Hours            Rate        Amount

 02/28/2023   MAM     CA        Review dockets and updates to critical dates             0.30         495.00          $148.50
                                memorandum.

                                                                                          5.70                       $2,821.50

  Claims Admin/Objections[B310]
 02/06/2023   AWC     CO        Review motions to file claims/orders and emails          0.70         800.00          $560.00
                                with Locke thereon (.30); review claims analysis and
                                emails thereon (.40).

 02/28/2023   AWC     CO        Read new motions for leave to file proofs of claim.      0.30         800.00          $240.00

                                                                                          1.00                        $800.00

  Fee/Employment Application
 02/01/2023   AWC     FE        Emails with Locke and JW regarding rate increase         0.20         800.00          $160.00
                                application, exhibits.

 02/02/2023   AWC     FE        Review revised exhibit and witness list for rate         0.40         800.00          $320.00
                                increase motion and emails with Locke thereon.

 02/02/2023   LFC     FE        Review email and BRG retention agreement and             0.30         800.00          $240.00
                                Bank. Rules re retention of contract employee and
                                notice matters (.2) and draft responsive email (.1)

 02/02/2023   LFC     FE        Telephone call with Matt Babcock regarding               0.30         800.00          $240.00
                                retention of contract employee (.2) and follow-up
                                emails with Matt Babcock and BD (.1)

 02/02/2023   BDD     FE        Emails L. Cantor re supplemental disclosure              0.10         545.00           $54.50
                                declaration for BRG independent contractor
                                retention

 02/02/2023   BDD     FE        Email M. Babcock re supplemental disclosure for          0.10         545.00           $54.50
                                independent contractor retention

 02/03/2023   BDD     FE        Call with M. Babcock re supplemental disclosure for      0.10         545.00           $54.50
                                retention of independent contractor

 02/06/2023   JIS     FE        Call with R. Kuebel in preparation for hearing on fee    0.70         800.00          $560.00
                                increase motion.

 02/06/2023   JIS     FE        Review motion, opposition, reply and exhibits in         1.70         800.00         $1,360.00
                                preparation for hearing on motion re rates.

 02/06/2023   BDD     FE        Email P. Bough re CV                                     0.10         545.00           $54.50

 02/06/2023   BDD     FE        Email K. Barberi re P. Bough CV                          0.10         545.00           $54.50

 02/06/2023   BDD     FE        Prepare Notice of Retention of P. Bough as               1.70         545.00          $926.50
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 140
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                               Page:     9
Archdiocese of New Orleans OCC                                                                  Invoice 132063
05067 - 00002                                                                                   February 28, 2023


                                                                                        Hours           Rate        Amount
                                independent contractor in connection with real
                                property evaluation
 02/06/2023   BDD     FE        Begin working on declaration of P. Bough in support      0.70        545.00          $381.50
                                of retention by BRG as independent contract re real
                                estate valuations

 02/07/2023   GNB     FE        Telephone conference with Beth D. Dassa regarding        0.10        800.00           $80.00
                                Stout retention; Email Barry Trilla regarding same.

 02/07/2023   JIS     FE        Call with R. Kuebel to prepare for hearing regarding     0.60        800.00          $480.00
                                fee motion.

 02/07/2023   JIS     FE        Preparation for fee rate hearing.                        0.50        800.00          $400.00

 02/07/2023   JIS     FE        Attend hearing regarding rate increase motion.           2.10        800.00         $1,680.00

 02/07/2023   BDD     FE        Work on P. Bough declaration in support of retention     0.80        545.00          $436.00
                                in connection with real estate valuations

 02/08/2023   LFC     FE        Review and revise notice of retention of independent     0.70        800.00          $560.00
                                contractor and supporting declaration

 02/08/2023   BDD     FE        Continue working on Dec of P. Bough and email L.         0.60        545.00          $327.00
                                Cantor re same

 02/11/2023   GNB     FE        Review and email to Mark Mintz and Allison               0.10        800.00           $80.00
                                Kingsmill additional Berkeley Research Group, LLC
                                Exhibit 1 certifications regarding protective order.

 02/13/2023   JMF     FE        Review and edit January fee statement.                   1.40        800.00         $1,120.00

 02/13/2023   BDD     FE        Email P. Bough re declaration in support of retention    0.10        545.00           $54.50

 02/14/2023   BDD     FE        Revisions to P. Bough Notice/Declaration and emails      0.50        545.00          $272.50
                                L. Cantor and P. Bough re same

 02/15/2023   BDD     FE        Email N. Brown re P. Bough Declaration                   0.10        545.00           $54.50

 02/21/2023   BDD     FE        Email N. Brown re Notice/Dec re BRG retention of         0.10        545.00           $54.50
                                P. Bough

 02/22/2023   BDD     FE        Email B. Trillia re Stout Jan fee statement              0.10        545.00           $54.50

 02/24/2023   BDD     FE        Email J. Fried re PSZJ Jan fee statement                 0.10        545.00           $54.50

 02/26/2023   JMF     FE        Review fee statement (.4); internal emails re            0.50        800.00          $400.00
                                finalizing same (.1).

 02/26/2023   BDD     FE        Prepare PSZJ Jan fee statement and email J. Fried re     0.70        545.00          $381.50
                                same

 02/27/2023   BDD     FE        Email P. Shields and M. Haverkamp re BRG Jan fee         0.10        545.00           $54.50
                                statement
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 141
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                              Page:    10
Archdiocese of New Orleans OCC                                                                 Invoice 132063
05067 - 00002                                                                                  February 28, 2023


                                                                                      Hours            Rate        Amount

 02/27/2023   BDD     FE        Prepare Rock Creek Jan fee statement and emails C.     0.60         545.00          $327.00
                                Peirce re same

 02/27/2023   BDD     FE        Review/edit Stout's Jan fee statement and email B.     0.30         545.00          $163.50
                                Trillia and K. McNally re same

 02/27/2023   BDD     FE        Work on/review cover letters re PSZJ, Rock Creek,      0.20         545.00          $109.00
                                BRG, and Stout Jan fee statements

 02/27/2023   BDD     FE        Revisions to PSZJ Jan fee statement                    0.10         545.00           $54.50

 02/27/2023   BDD     FE        Email V. Arias re PSZJ Jan fee statement               0.10         545.00           $54.50

 02/27/2023   BDD     FE        Emails N. Brown re PSZJ, Rock Creek and Stout's        0.20         545.00          $109.00
                                Jan fee statements

 02/28/2023   BDD     FE        Email P. Shields and M. Haverkamp re BRG Jan fee       0.10         545.00           $54.50
                                statement

 02/28/2023   BDD     FE        Email to/call with C. Curts re PSZJ Jan LEDES file     0.10         545.00           $54.50

 02/28/2023   BDD     FE        Email C. Curts re FTI Jan LEDES file                   0.10         545.00           $54.50

 02/28/2023   BDD     FE        Review finalized C'tee fee statements (.30); emails    0.70         545.00          $381.50
                                to/calls with N. Brown re same (.20); emails L.
                                Cantor re same (.10); serve notice parties re same
                                (.10)

                                                                                       18.20                   $12,367.00

  General Creditors Comm. [B150]
 02/06/2023   AWC     GC        Call with BRG to prepare for committee meeting         1.80         800.00         $1,440.00
                                (1.60); review agenda for meeting and emails with
                                Locke thereon(.20).

 02/06/2023   JIS     GC        Meeting with BRG regarding presentation to             0.50         800.00          $400.00
                                committee regarding Debtor financial condition.

 02/06/2023   JIS     GC        Call B. Knapp as follow up for meeting with BRG        0.40         800.00          $320.00
                                and late claims issues.

 02/07/2023   AWC     GC        Emails with BRG regarding and review updated           2.20         800.00         $1,760.00
                                information for committee (.30); committee meeting
                                (1.90).

 02/07/2023   JIS     GC        Call with committee regarding financial report.        2.10         800.00         $1,680.00

 02/09/2023   AWC     GC        Emails with committee professionals and team           1.30         800.00         $1,040.00
                                regarding and review reports (.40); emails with
                                committee regarding case options and review
                                underlying documents (.90).
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 142
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                               Page:    11
Archdiocese of New Orleans OCC                                                                  Invoice 132063
05067 - 00002                                                                                   February 28, 2023


                                                                                       Hours            Rate        Amount

 02/10/2023   AWC     GC        Emails with Locke, U.S. Trustee and                     0.40         800.00          $320.00
                                committee /counsel regarding Olivier, committee
                                composition, etc.

 02/15/2023   JIS     GC        Tour of excess property sites/capital expenditure       5.00         800.00         $4,000.00
                                sites with BRG.

 02/16/2023   JIS     GC        Call B. Knapp regarding school loan; mediation          0.50         800.00          $400.00
                                review.

 02/17/2023   AWC     GC        Emails with client regarding professional               0.20         800.00          $160.00
                                reports/use.

 02/27/2023   AWC     GC        Emails with Locke and committee regarding               0.20         800.00          $160.00
                                meeting/agenda.

 02/28/2023   AWC     GC        Committee meeting.                                      1.40         800.00         $1,120.00

 02/28/2023   JIS     GC        Call with Debtor's counsel re case status.              0.70         800.00          $560.00

 02/28/2023   JIS     GC        Committee call.                                         1.40         800.00         $1,120.00

                                                                                        18.10                   $14,480.00

  Mediation
 02/02/2023   AWC     ME        Emails with BRG regarding additional questions for      0.50         800.00          $400.00
                                Debtor for mediation prep and revise questions.

 02/03/2023   AWC     ME        Review and revise additional information request to     0.60         800.00          $480.00
                                Debtor for mediation prep and emails with BRG
                                thereon (.40); emails with BRG and Locke regarding
                                deferred maintenance visits (.20).

 02/06/2023   AWC     ME        Emails with BRG and ANO representatives                 0.40         800.00          $320.00
                                regarding additional financial information (.20);
                                emails with James I. Stang and Locke regarding
                                insurance mediation (.20).

 02/06/2023   IAWN ME           Review Knapp agenda for meeting                         0.10         800.00           $80.00

 02/06/2023   IAWN ME           Review A. Caine and Knapp emails regarding same         0.10         800.00           $80.00

 02/06/2023   IAWN ME           Review and revise Zive email for J. Stang               0.20         800.00          $160.00

 02/06/2023   JIS     ME        Draft email to J.Zive regarding insurance mediation.    0.30         800.00          $240.00

 02/07/2023   AWC     ME        Emails with James I. Stang and JW regarding             0.80         800.00          $640.00
                                additional claims and third party actions (.20);
                                emails with JW, James I. Stang and Locke regarding
                                mediation agenda (.20); emails and discussion with
                                James I. Stang and Locke regarding mediation
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 143
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:    12
Archdiocese of New Orleans OCC                                                                   Invoice 132063
05067 - 00002                                                                                    February 28, 2023


                                                                                         Hours           Rate        Amount
                                issues/strategy (.40).
 02/07/2023   IAWN ME           Review article regarding fees and mediation               0.10        800.00           $80.00

 02/08/2023   AWC     ME        Emails with BRG and Locke regarding mediation             0.50        800.00          $400.00
                                preparation, materials (.30); emails with all parties
                                regarding mediation agenda (.20).

 02/08/2023   JIS     ME        Draft email regarding distribution of information for     0.20        800.00          $160.00
                                mediation.

 02/08/2023   JIS     ME        Call R. Kuebel regarding mediation issues.                0.30        800.00          $240.00

 02/08/2023   JIS     ME        Call A. Kornfeld re distribution of financial reports.    0.20        800.00          $160.00

 02/08/2023   KHB     ME        Analyze LA law on religious liberty issues and            0.60        800.00          $480.00
                                impact on plan confirmation.

 02/09/2023   AWC     ME        Emails with James I. Stang, Locke and JW regarding        0.20        800.00          $160.00
                                mediation.

 02/09/2023   IAWN ME           Review J. Stang email regarding discovery issues for      0.20        800.00          $160.00
                                Zive

 02/09/2023   JIS     ME        Call with R. Kuebel re issues related to mediation        0.70        800.00          $560.00
                                subjects.

 02/09/2023   JIS     ME        Call M. Babcock regarding site visits and financial       0.30        800.00          $240.00
                                presentation at mediation.

 02/09/2023   JIS     ME        Review materials in preparation for mediation.            1.20        800.00          $960.00

 02/10/2023   AWC     ME        Emails with Locke and committee regarding                 0.60        800.00          $480.00
                                mediation (.30); emails with Locke regarding asset
                                issues and review detail (.30).

 02/10/2023   IAWN ME           Review Knapp emails regarding mediation                   0.10        800.00           $80.00

 02/11/2023   IAWN ME           Review Claro email and attachments                        0.40        800.00          $320.00

 02/11/2023   IAWN ME           Respond to Claro email                                    0.10        800.00           $80.00

 02/12/2023   IAWN ME           Traveled to mediation [10.0 @ 50%]                       10.00        800.00         $8,000.00

 02/13/2023   AWC     ME        Meetings with client/counsel and mediation                9.50        800.00         $7,600.00
                                sessions.

 02/13/2023   IAWN ME           Meet with co-counsel for mediation preparation            1.00        800.00          $800.00

 02/13/2023   IAWN ME           Attend mediation                                          9.00        800.00         $7,200.00

 02/13/2023   IAWN ME           Attend post mediation meeting with SCC                    3.00        800.00         $2,400.00

 02/13/2023   JIS     ME        Attend pre-mediation meeting with Locke Lord,             1.00        800.00          $800.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 144
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                Page:    13
Archdiocese of New Orleans OCC                                                                   Invoice 132063
05067 - 00002                                                                                    February 28, 2023


                                                                                         Hours           Rate        Amount
                                committee members and state court counsel.
 02/13/2023   JIS     ME        Attend mediation.                                         8.00        800.00         $6,400.00

 02/14/2023   AWC     ME        Meetings with client/counsel and mediation                7.40        800.00         $5,920.00
                                sessions.

 02/14/2023   IAWN ME           Meet J. Stang for mediation preparation.                  1.50        800.00         $1,200.00

 02/14/2023   IAWN ME           Attend mediation                                          8.50        800.00         $6,800.00

 02/14/2023   IAWN ME           Attend post-mediation meeting                             2.50        800.00         $2,000.00

 02/14/2023   IAWN ME           Review A. Caine BRG emails regarding access to            0.20        800.00          $160.00
                                settlement data

 02/14/2023   JIS     ME        Attend mediation.                                         8.10        800.00         $6,480.00

 02/14/2023   JIS     ME        Pre-Mediation meeting with INasatir to review             1.00        800.00          $800.00
                                insurance issues.

 02/15/2023   AWC     ME        Emails with committee professionals regarding             0.30        800.00          $240.00
                                mediation issues, additional information.

 02/15/2023   IAWN ME           Review A. Caine, J. Stang and Knapp emails                0.10        800.00           $80.00
                                regarding Confidentiality Order disclosures

 02/15/2023   IAWN ME           Review notes regarding follow-up with Claro               0.10        800.00           $80.00

 02/15/2023   IAWN ME           Travel from New Orleans to Oxnard [11.0 @50%]            11.00        800.00         $8,800.00

 02/15/2023   IAWN ME           Email Sparta regarding policy details                     0.10        800.00           $80.00

 02/16/2023   AWC     ME        Emails with Locke and counsel regarding mediation         0.40        800.00          $320.00
                                follow-up information, tasks.

 02/16/2023   JIS     ME        Call with G. Zive regarding letter related to St. Joan    0.20        800.00          $160.00
                                of Arc loan.

 02/16/2023   JIS     ME        Draft email to M. Mintz regarding St. Joan of Arc         0.20        800.00          $160.00
                                loan.

 02/16/2023   JIS     ME        Review insurance report.                                  0.60        800.00          $480.00

 02/17/2023   IAWN ME           Telephone call with J. Stang regarding Claro              0.10        800.00           $80.00

 02/17/2023   IAWN ME           Exchange emails with J. Stang regarding experts           0.10        800.00           $80.00

 02/20/2023   IAWN ME           Review expert work                                        2.30        800.00         $1,840.00

 02/20/2023   IAWN ME           Exchange emails with expert regarding conclusions,        0.30        800.00          $240.00
                                assumptions etc.

 02/23/2023   AWC     ME        Emails with Locke regarding additional                    0.90        800.00          $720.00
                                information/document requests and revise requests
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 145
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                                 Page:    14
Archdiocese of New Orleans OCC                                                                    Invoice 132063
05067 - 00002                                                                                     February 28, 2023


                                                                                         Hours            Rate        Amount
                                (.40); emails with BRG regarding additional
                                information from affiliates, approach (.30); emails
                                with Blank Rome and Iain A. W. Nasatir regarding
                                additional insurance information (.20).
 02/24/2023   AWC     ME        Emails with Locke regarding additional                     1.10        800.00          $880.00
                                non-monetary/abuse information/documents, review
                                prior request and revise request (.70); emails with
                                BRG regarding additional information requests and
                                review updated requests (.40).

 02/27/2023   AWC     ME        Emails with team and BRG regarding produced and            0.60        800.00          $480.00
                                additional documents (.30); review and revise
                                additional document request. regarding child
                                protection and emails with Locke regarding process
                                (.30).

 02/27/2023   IAWN ME           Telephone call with TCC counsel and plaintiffs'            1.30        800.00         $1,040.00
                                counsel regarding mediation

 02/27/2023   IAWN ME           Review SCC list of settlements                             0.30        800.00          $240.00

 02/27/2023   IAWN ME           Forward SCC list of settlements to expert with             0.20        800.00          $160.00
                                comments

 02/28/2023   AWC     ME        Emails with committee professionals regarding              0.40        800.00          $320.00
                                additional information for further mediation,
                                analysis.

 02/28/2023   IAWN ME           Telephone call with TCC regarding mediation                1.50        800.00         $1,200.00

                                                                                         101.50                   $81,200.00

  Plan & Disclosure Stmt. [B320]
 02/07/2023   KHB     PD        Confer with J. Stang re religious liberty issues (.2);     1.90        800.00         $1,520.00
                                emails with PSZJ Team re plan status conference
                                issues (.3); confer with J. Dine re religious liberty
                                issues (1.0); emails with J. Dine re same (.2); confer
                                with J. Stang re religious liberty issues (.2).

 02/08/2023   JIS     PD        Research regarding Louisiana Constitution issues.          0.40        800.00          $320.00

 02/08/2023   JIS     PD        Research regarding prescription and claim valuation.       1.00        800.00          $800.00

 02/08/2023   JIS     PD        Call Ilan Scharf regarding plan issues.                    0.30        800.00          $240.00

 02/10/2023   IAWN PD           Review Knapp email regarding committee member              0.10        800.00           $80.00

 02/21/2023   IAWN PD           Exchange emails with Babcock regarding directors           0.10        800.00           $80.00
                                and officers exposure

 02/21/2023   IAWN PD           Review file regarding directors and officers               0.80        800.00          $640.00
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 146
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                           Page:    15
Archdiocese of New Orleans OCC                                                              Invoice 132063
05067 - 00002                                                                               February 28, 2023


                                                                                   Hours            Rate        Amount
                                exposure
 02/22/2023   IAWN PD           Email Carter regarding directors and officers       0.10         800.00           $80.00
                                coverage

 02/22/2023   IAWN PD           Email Carter regarding excess policies              0.10         800.00           $80.00

 02/28/2023   IAWN PD           Exchange emails with R. Saunders regarding          0.20         800.00          $160.00
                                research regarding abuse exclusion

 02/28/2023   IAWN PD           Exchange emails with expert regarding settlement    0.10         800.00           $80.00
                                list

                                                                                     5.10                       $4,080.00

  Travel
 02/12/2023   AWC     TR        Travel to NO for mediation. (billed at 1/2 rate)    8.50         400.00         $3,400.00

 02/12/2023   JIS     TR        Travel from LA to New Orleans for mediation.        7.00         400.00         $2,800.00
                                (billed at 1/2 rate)

 02/14/2023   AWC     TR        Return travel from NO mediation. (billed at 1/2     8.50         400.00         $3,400.00
                                rate)

 02/15/2023   JIS     TR        Travel from New Orleans mediation to LA. (billed    7.00         400.00         $2,800.00
                                at 1/2 rate)

                                                                                    31.00                    $12,400.00

  TOTAL SERVICES FOR THIS MATTER:                                                                          $139,828.50
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 147
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                    Page:    16
Archdiocese of New Orleans OCC                                                       Invoice 132063
05067 - 00002                                                                        February 28, 2023



 Expenses
 02/07/2023   LN        05067.00002 Lexis Charges for 02-07-23                           87.00
 02/09/2023   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                      3.10
 02/13/2023   AT        Auto Travel Expense [E109] Uber Transportation Services,         34.98
                        JIS
 02/15/2023   TE        Travel Expense [E110] Ground transportation and travel          198.00
                        expenses for travel to ANO for mediation, AWC
 02/16/2023   AT        Auto Travel Expense [E109] Independent Taxi, JIS                 30.30
 02/16/2023   HT        Hotel Expense [E110] New Orleans Marriott, 02/12/23 -           946.74
                        02/15/23, 3 nights, JIS
 02/17/2023   BM        Business Meal [E111] Parkway Bakery, Working Meal, JIS           95.58
 02/21/2023   PO        LA Postage                                                      165.00
 02/21/2023   RE        ( 2040 @0.20 PER PG)                                            408.00
 02/21/2023   RE        ( 2278 @0.20 PER PG)                                            455.60
 02/21/2023   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                       0.50
 02/21/2023   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                      3.40
 02/28/2023   OS        Everlaw, Inv. 76000, Archdiocese of New Orleans database      2,002.00
                        for the month of February
 02/28/2023   PO        LA Postage                                                        2.94
 02/28/2023   RE        Reproduction Expense. [E101] Equitrac                           863.60
 02/28/2023   RE2       SCAN/COPY ( 31 @0.10 PER PG)                                      3.10
 02/28/2023   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                       0.90
 02/28/2023   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                      1.50
 02/28/2023   RE2       SCAN/COPY ( 28 @0.10 PER PG)                                      2.80
 02/28/2023   PAC       Pacer - Court Research                                           28.80

   Total Expenses for this Matter                                                  $5,333.84
 Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 148
                                          of 155

Pachulski Stang Ziehl & Jones LLP                                                         Page:    17
Archdiocese of New Orleans OCC                                                            Invoice 132063
05067 - 00002                                                                             February 28, 2023


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        02/28/2023

Total Fees                                                                                           $139,828.50

Total Expenses                                                                                           5,333.84

Total Due on Current Invoice                                                                         $145,162.34

  Outstanding Balance from prior invoices as of        02/28/2023          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed              Balance Due
 130360                  06/30/2022                $181,667.00             $439.17                      $4,410.00

 131383                  11/30/2022                 $84,054.00            $2,671.92                    $16,810.80

 131548                  12/31/2022                 $91,806.00            $4,938.48                    $18,361.20

 132060                  01/31/2023                 $69,214.00            $5,315.20                    $74,529.20

             Total Amount Due on Current and Prior Invoices:                                          $259,273.54
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 149
                                         of 155



                                     EXHIBIT E

   SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS
              NOVEMBER 1, 2022 THROUGH FEBRUARY 28, 2023




   DOCS_LA:348064.4 05067/002
   Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 150
                                            of 155




                                                                                TOTAL
   NAME OF                             YEAR OF            YEAR OF     HOURLY                  TOTAL
                         TITLE                                                  HOURS
 PROFESSIONAL                         ADMISSION         PARTNERSHIP    RATE                COMPENSATION
                                                                                BILLED
                       Founding       Member of CA
James I. Stang                                              1983      $800.00      54.50         $43,600.00
                       Partner        Bar since 1980

                       Founding       Member of CA
James I. Stang                                              1983      $700.00      30.90         $21,630.00
                       Partner        Bar since 1980

                       Founding       Member of CA
James I. Stang                                              1983      $400.00      14.00          $5,600.00
                       Partner        Bar since 1980

Kenneth H. Brown         Partner      Member of CA          2001      $800.00       2.80          $2,240.00
                                      Bar since 1981

Kenneth H. Brown         Partner      Member of CA          2001      $700.00       9.10          $6,370.00
                                      Bar since 1981
                                      Member of CA
Andrew W. Caine        Partner                            1989/2013   $800.00      83.10         $66,480.00
                                      Bar since 1983

                                      Member of CA
Andrew W. Caine        Partner                            1989/2013   $700.00     105.40         $73,780.00
                                      Bar since 1983

                                      Member of CA
Andrew W. Caine        Partner                            1989/2013   $400.00      17.00          $6,800.00
                                      Bar since 1983

                                      Member of CA
                                      Bar since 1991;
Linda F. Cantor        Partner                              1994      $800.00       1.30          $1,040.00
                                     Member of IL Bar
                                        since 1988

                                      Member of CA
                                      Bar since 1991;
Linda F. Cantor        Partner                              1994      $700.00       1.30           $910.00
                                     Member of IL Bar
                                        since 1988

                                      Member of NY
                                      Bar since 1983;
Iain A. W. Nasatir     Partner                              1999      $800.00      68.00         $54,400.00
                                      Member of CA
                                      Bar since 1990

                                      Member of NY
                                      Bar since 1983;
Iain A. W. Nasatir     Partner                              1999      $700.00      14.90         $10,430.00
                                      Member of CA
                                      Bar since 1990




        DOCS_LA:348064.4 05067/002
   Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 151
                                            of 155



                                                                               TOTAL
   NAME OF                             YEAR OF           YEAR OF     HOURLY                 TOTAL
                         TITLE                                                 HOURS
 PROFESSIONAL                         ADMISSION        PARTNERSHIP    RATE               COMPENSATION
                                                                               BILLED

                                     Member of CA
                                     Bar since 1995;
Joshua M. Fried        Partner                            2006       $800.00      3.70          $2,960.00
                                     Member of NY
                                     Bar since 1999

                                     Member of CA
                                     Bar since 1995;
Joshua M. Fried        Partner                            2006       $700.00      9.70          $6,790.00
                                     Member of NY
                                     Bar since 1999

                                     Member of NY
Ilan D. Scharf         Partner                            2010       $800.00      3.20          $2,560.00
                                     Bar since 2002

                                     Member of TX
                       Of
Judith Elkin                         Bar since 1982;       N/A       $700.00     37.80         $26,460.00
                       Counsel
                                     Member of NY
                                      Bar since 2004
                                     Member of CA
                                     Bar since 1999;
                                       Member of
                       Of
Gillian N. Brown                     Washington D.C.       N/A       $800.00      4.00          $3,200.00
                       Counsel
                                     Bar since 2008;
                                     Member of NY
                                      Bar since 2010

                                     Member of CA
                                     Bar since 1999;
                                       Member of
                       Of
Gillian N. Brown                     Washington D.C.       N/A       $700.00     10.10          $7,070.00
                       Counsel
                                     Bar since 2008;
                                     Member of NY
                                      Bar since 2010

                       Of             Member of FL
Cia H. Mackle                                              N/A       $800.00      2.40          $1,920.00
                       Counsel        Bar since 2006

                       Of             Member of FL
Cia H. Mackle                                              N/A       $700.00      2.60          $1,820.00
                       Counsel        Bar since 2006

Beth D. Dassa          Paralegal          N/A              N/A       $545.00     23.30         $12,698.50

Beth D. Dassa          Paralegal          N/A              N/A       $460.00      33.3         $15,318.00

Mike Matteo            Paralegal          N/A              N/A       $495.00     11.20          $5.544.00

Mike Matteo            Paralegal          N/A              N/A       $460.00     10.70          $4,922.00




        DOCS_LA:348064.4 05067/002
   Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 152
                                            of 155



                                                                         TOTAL
   NAME OF                            YEAR OF      YEAR OF     HOURLY                  TOTAL
                         TITLE                                           HOURS
 PROFESSIONAL                        ADMISSION   PARTNERSHIP    RATE                COMPENSATION
                                                                         BILLED
                       Law
Leslie A. Forrester    Library          N/A          N/A       $450.00       0.80           $360.00
                       Director

Total                                                                      555.10        $384,902.50




        DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 153
                                         of 155



                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

       IN RE:                                                §    Case No. 20-10846
                                                             §
       THE ROMAN CATHOLIC CHURCH                             §    Section “A”
       OF THE ARCHDIOCESE OF NEW                             §
       ORLEANS                                               §    Chapter 11
                                                             §
                      Debtor.1                               §
                                                             §


              ORDER APPROVING EIGHTH INTERIM APPLICATION FOR
        ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
             OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS
       CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
           FOR THE PERIOD NOVEMBER 1, 2022 THROUGH FEBRUARY 28, 2023


            CAME ON for consideration the Eighth Interim Application for Allowance and Payment of

   Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Co-

   Counsel for the Official Committee of Unsecured Creditors for Allowance of Compensation and

   Reimbursement of Expenses for the Period November 1, 2022 through February 28, 2023 [Docket

   No.___] (the “Application”) filed by Pachulski Stang Ziehl & Jones (the “Firm”) for the period

   from November 1, 2022 through February 28, 2023 (the “Application Period”). The Court finds

   that the Application was properly served pursuant to the Federal and Local Rules of Bankruptcy

   Procedure, with proper notice language incorporated therein, and that no objection to the

   Application has been timely filed by any party. The Court, having examined the Application,

   including the voluntary reductions contained therein, and having determined on an interim basis

   whether the services and expenses as outlined in the Application were actual, reasonable and

   necessary in representing the interests of the Committee, finds that just cause exists for entry of the


   1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


   DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 154
                                         of 155



   following order.

           IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

           1.       The Application is APPROVED in its entirety. The Firm is allowed and

   awarded, on an interim basis, fees for services rendered and expenses incurred in the amount of

   $403,161.94 for the Application Period as an administrative expense claim under Bankruptcy

   Code § 503 against the estate of the Debtor (the “Award”). This Award consists of $384,902.50

   in fees for services rendered and $18,259.44 in expenses incurred by the Firm during the

   Application Period.

           2.       The Debtor is further authorized, and directed, to pay the balance of the Award to the

   Firm on an interim basis as an administrative expense claim under Bankruptcy Code § 503 against the

   estates of the Debtor, within ten (10) calendar days after the entry of this Order.

           New Orleans, Louisiana, this ____ day of _______, 2023.




                                                   __________________________________________
                                                   MEREDITH S. GRABILL
                                                   UNITED STATES BANKRUPTCY JUDGE




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   DOCS_LA:348064.4 05067/002
Case 20-10846 Doc 2194 Filed 03/28/23 Entered 03/28/23 18:11:34 Main Document Page 155
                                         of 155




                                   CERTIFICATE OF SERVICE

           I hereby caused a copy of the foregoing Application to be served on March 28, 2023 upon
   all parties by electronic case filing for those parties receiving notice via the Court’s Electronic
   Case Filing system, and on all other parties requiring service under the Court’s Ex Parte Order
   Authorizing the Debtor to Limit Notice and Establishing Notice Procedures through the Master
   Service List via first-class United States mail, postage prepaid, to be sent on March 28, 2023.

                                                /s/ Nancy H. Brown
                                                    Nancy H. Brown




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